Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 1 of 136

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Chadtis Soraf ting Mole,

Write the full name of each plaintiff. CV

(include case number if one has been
assigned)
-against-
COMPLAINT

Vandy butt UnwvidGiy|
v Do you want a jury trial?
CJ Yes XNo

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section Il.

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual's full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

Uilbn¥ 2b I asad

Rev, 1/9/17

Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 2 of 136

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal! court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S. C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
Ky Federal Question
C1 Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?
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= Kuali, \nuwlanee rita’ Wid ang Ponda ly Rotor Ad (tPA)
= ARC Vy or trout Qualnne nar sk Me (ut Yalviry juctopin ghwervind inttrvud pypcisc)
= Falak Qa Rh Gt F0H.19, Hic Sechne TA4— and rapes an ators Bay
Hate Cannes Pilati Aer

B. If you checked Diversity of Citizenship
1. Citizenship of the parties

Of what State is each party a citizen?

The plaintiff , Chant Canad Meeye- , is a citizen of the State of

(Plaintiff's name)

Now Yr

(State in which the person resides and intends to remain.)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

NIA

If more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2

If the defendant is an individual:

The defendant, ,is a citizen of the State of
{Defendant’s name}

or, ifnot lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

If the defendant is a corporation:

The defendant, addy A Ho Unies! Gry , is incorporated under the laws of
J

the State of AWWMMEL

and has its principal place of business in the State of AGAMA

. . . ee
or is incorporated under the laws of (foreign state) N\t

and has its principal place of business in Noghvl in MAM

If more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

TJ. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

Chaise §. N\oa/4,

First Name Middle Initial Last Name
——— | dlp nev Wave & Nome Mt Hhis ene, ——
Street Address
Non Nou, Now Voll Now Vw lool
County, City State Zip Code
Av\-7Ak- 53 (Chad samanrthal wi.me
Telephone Number Email Address {if available}

Page 3
Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 4 of 136.

If the defendant is an individual:

The defendant, , is a citizen of the State of
(Defendant’s name)

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

If the defendant is a corporation:

The defendant, adel bn lr wed , is incorporated under the laws of
J
the State of TNS.

and has its principal place of business in the State of LAME

Nt ———

or is incorporated under the laws of (foreign state)

and has its principal place of business in Naghvil TAM

If more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

Il. PARTIES

A. Plaintiff Information ~ (0 tAL ALAS winston Kita Mont i Law Litt prenc!

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

Lastg “Aye KaFtinddr Nioo/e

First Name Middle Initial Last Name

13436 Radu’ Cow
Street Address .

alan Beyer , Sica Rat Amtaa, SAUD
County, City State Zip Code
Sul B05 WS lane @ Grnatl . owe
Telephone Number Email Address (if available}

Page 3

Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 5 of 136

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the

caption. Attach additional pages if needed. .

Defendant 1:

Defendant 2:

Defendant 3:

hh dul, Ma, ONY, print Be

First Name Last Name

Peyehiachnd Nurua Hoole, Ncw Wacrtrbohel

Current Job Title (or other identifying information)

Wyle mule UniruhA Wewertidin Caangiling Qt W016 iinet Place

Current Work Address (or other address where defendant may be served)

Davissen Crwity, Nushvil, —— “Tnpesied $123
County, City State Zip Code
Aci butt

First Name Last Name

Arup Genie Cable Newwv4 Ro4ueting and WEN.

Current Job Title (or other identifying information)

Ay Nota Date Svar

Current Work Address (or other address where defendant may be served)

Hovis Court, poten abana $4303
County, City State Zip Code
Ryanat, Dutfic Saucy
First Name Last Name

Ving Madar er ened AttAw/s - FOC Nowy

Current Job Title (or other identifying information)

[AV PNgnue OhL Ayicae

Current Work Address (or other address where defendant may be served)

Now! Wve, Now ie Now \ollc- (Dost

County, City State Zip Code

Page 4

Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 6 of 136

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1: Nace . Prd,

First Name Last Name

Qeneiad Pale! \| Cy towiada/ nl:

Current Job Title (or other identifying information)

836 Avec! Waa

Current Work Address4or other address where defendant may be served)

Gp Fannie, Sat Moactto — Calatynirs Aa

County, City State Zip Code
Defendant 2: Gly, Nye
First Name Last Name
Dw, “Favre (y
Current Job Title (or other identifying information)
1330 Ma/wet Seo
Current Work Address (or other address where defendant may be served)
Con Fanart, Yngonnsro  Galitwiria, 4A\0%
County, City State Zip Code
Defendant 3:
First Name Last Name
“Thy Deal Saziet

Current Jéb Title (or other identifying information)

U4 Corl, De To/liee

Current Work Address (or other address where defendant may be served}

bndy_ SWAN SAG UAL dow,

County, City State J Zip Code

Case 1:24-cv-05533-UA” Document1 Filed 07/17/24 Page 7 of 136

Defendant 4: lai Amey’
First Name

Last Name

Ayunct” Pivtedn’~ Prych ogy Neva, Cousrdacttent Unwverrri,

Current Job Title (or other identifying information)

$50) South Wane MWe

Current Work Address (or Sther address where defendant may be served)

Awa, fo Vandel lod 538% Wor

County, City State Zip Code

Ill. STATEMENT OF CLAIM

Place(s) of occurrence: 0 O/lardb , holla; my M, Ceara } Chad, Non COLA, Niw oyu, New Yo
AN Vaude/fue, Roda Keen Fianciser Gabba. Cubun Wound.

Date(s) of occurrence: D4 - eu [ posi Ui aflina wt VW of tial)
FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed:

PlLAcy, ste Ota OALY: ty api Uru Laphop ‘Somer.

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ei dhow Myo dina Reever { pit Wacitna |

— Nacbatahie. Pronetvn) Brugada! vs. Erm petn, a4

— Tang prt Cnvniat madbcs dslinel “Thucapust gait inert TL elle,

Shunt Ilan, dng awl uch 4 Cb plaple-+ tty 1140.

- Owuusmiing ok pottertial Seorown Papnoaho dusty suing ichnivogy WLIG,

And, poo puadatity

Page 5

Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 8 of 136

INJURIES:

lf you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

~ YoWvl Sao ot Silipty tic. a Parhy Dil Pra gala Nancy! [nor reudbayhiy fol Payart lov yliaacel

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Aorncany Sool ups Gielen

Ney HeLin Oha/ladt Nevin Camlncyite A-rrvnicrumn ot Adda of Abo ele

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Sonurlotton Wugeal ony G/N Plan 1092.4 dodenrnt [whch wg aged)

IV. RELIEF

State briefly what money damages or other relief you want the court to order.

Pru Orguinng Euptncd Vom aie + Sonn (eH hma/ in Ht) x Doyo jwepu yea So ital <4 6 naillan
Dynan Paw and Sattorig: 86001000 wo/ raantny v tL tnt pd ya xo yeast 7 Slip neato

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WiViid (5 try, WRB prtal sag Aid Cone’ dacdandtaah ? Hania Lage 1-0
Denn Ind of 809, 010,000 ~

Page 6
Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 9 of 136

V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11. '

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may

result in the dismissal of my case.
Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.
wu tu, 101 [Warnsai ks
Dated Plaintiff's Signature
Crone _ g Monit
First Name Middle Initial Last Name
— \ho nor have a Wont addocy at GUC we
Street Address .
Now ‘aie. Nowl ye. Naw \oriv \0024-
County, City State Zip Code
AYA G16 Orato Gamanna Oydorwa.me
Telephone Number Email Address (if available)

I have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically: ol
Yes OONo |

If you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

Page 7
Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 10 of 136

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' ‘ : ~ . PA Pag :
; | rock g oO , 1 yp po '
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TRANSFORMATION CONSULTANT

HR

415.940-6805

CharisseSM8@proton.me -.

www.linkedin.com/in/ -
charissemoore

New York, NY — oS

HR Strategy

HR Operations

HR Compliance

HR Process Design
Payroll Strategy
Process Improvement
Project Management
Proposal Development
Change Management

Vendor Management

Workday HCM
Workday Payroll
ADP GlobalView
ADP Streamline

ADP Workforce Now
ServiceNow

Microsoft Office Suite

Driven and passionate HR professional who leverages strategy, project management and
communications experiences to design and deliver HR initiatives focused on people, process
and technology. Part strategist and tactician, who applies analytical skills in the interpretation,
development and management of policies and procedures to ensure HR regulatory compliance.
Skilled communicator who thrives in building cross-functional relationships to ensure project
transparency and synergies.

Ye AM MAM AG ER
Stripe, Inc. | May 2022 — July 2023
As Payroll Program Manager, served as an internal Business Partner and cultivating strong relationships
across the Finance Operations, Corporate Tax, People, Corporate Technology, Legal and Mergers &
Acquisitions (M&A) teams.
erguean, Manager rer
= Led the programmatic standup of the Payrall organization, to include strategic planning and
provided guidance to internal and cross-functional stakeholders on Payroll best practices and
operational enhancements
« Established Payroll Governance by identifying key process owners and stakeholders to the
Payroll, Tax, Finance Operations, HR and HR Tech organizations, identifying their upstrearn and
downstream impacts across policy, process and technology to drive key Stripe initiatives
« Leveraged Asana to build out programs, project plans and tasks, identifying key milestones to
drive Payroll, HR and Finance Operations transformational efforts
= Reviewed current state payroll processes and documented current state gaps and future state
process remediation opportunities, to include the US and Canadian Leave of Absence processes
= — Served as Lead on key internal initiatives, such as Global HR, Payroll and Tax data privacy rules
and regulations buildout, M&A wind-down operations and Workday Security enhancements
across Workday US Payroll, Absence and Time (PATT)

SENOR CONSULTANT
Deloitte Consulting LLP | February 2015 - March 2018; April 2019 —- November 2021
Deloitte Consulting LLP, Human Capital leverages research and industry insights to help design and
execute critical business driven HR programs. As Senior Consultant, provide HR and Global Payroll
Advisory services on a diverse scope of project engagements focused on HR and Payroll strategy,
technology service delivery and operational excellence.
Seno y
= Partnered with client teams to design and implement HR and Payroll programs, to support
business strategies focusing on operational effectiveness, technology enablement and employee
experience
» Partnered with 20+ clients to analyze HR and Payroll strategy against leading practices and
maturity model frameworks to identify current state, future state vision, guiding principles and
roadmap initiatives aligned to business drivers
"  Co-authored Global Payroll Risk Assessment, analyzing payroll / payroll tax operations,
processes, data and technology complexity across 23 countries measuring business scalability
and readiness
= Defined and designed Globa! Payroll Operating, Service Delivery and Governance Models,
inclusive of vendor performance metrics — SLAs and KPIs
= Crafted Business Case comparing current operating expenditure against future state
implementation, ongoing, integration and customer success (post go-live) costs
= Developed Roadmap prioritizing key initiatives, identifying cross-functional interdependencies and
phased implementation timelines based on complexity of transformation

Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 11 of 136

415.940.6805

CharisseSM8@proton.me *-.'

www.linkedin.comiin/ <=: - ..
charissemoore ~~ -

New York, NY —

MASTER of SCIENCE
Human Resource Management
Florida International University

BACHELOR of ARTS
Business Management,

minor International Business
Florida International University

ATI) TA THEE\RID
Ae rdLie (ONS

Society of Human Resource
Management

Project Management Institute

CERTIFICATIONS

PROFESSIONAL IN HUMAN
RESOURCES (PHR)

HR Certification Institute
(HRCI)

CERTIFIED PROFESSIONAL
(SHRM - CP}

Society of Human Resource
Management

Workday HCM Certified

Workday Payroll Certified

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Poo AE NE

HR TRANSFORMATION CONSULTANT

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PU EOE Pa pe

« “Enhanced M&A Carve-out and Global Payroll organization stand-up, through accurate and timely
Day 1 payroll runs across 30+ countries executed by the implementation ADP Streamline and
Workforce Now

* — Built Global Payroll Services Catalog conducting deep dive research and analysis of HR statutory
and Payroll tax requirements across 30+ countries across APAC, EMEA, LATAM and NA regions

= Supported Workday US Payroll implementation for ~40K employees across 40 states by
configuring complex payroll calculations in partnership with Compensation, Benefits, Time and
Absence process owners

= — Elicited requirements using interviews, document analysis, requirements workshops, business
process analysis to write concise functional, technical and security requirements and use cases

"Executed communications strategy and plan, to include positioning, messaging, tactics and
sequencing of activities in partnership with HR, Benefits and Payroll across 30+ countries

* Designed and executed knowledge transfer communications deliverables to support change
adoption across Workday Payrall, Benefits and Time for ~40K employees across US and Canada

« — Partnered with Global Process Owner to develop standardized payroll policies, processes, SOPs
and job aid templates to be implemented across 50+ countries

DALLES Mare AAG
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mec Pp fare Sep DT RAD |
Ernst & Young LLP | March 2018 — January 2019
Ernst &Young LLP, People Advisory Services partners with clients to assess and design HR and Payroll
technology strategies, integrating leading practices, processes and technology enablers in support of
organizational transformation. As Senior Consultant, provide Workforce Management Advisory services
on project engagements focused on HR and Payroll service delivery and technology strategies.
Saag
« — Led team of four (4} practitioners to build Global Payroll playbook to enable Payroll
Transformation defining the future state Strategy, Operating & Service Delivery Model and
Technology considerations supporting 70k+ employees across 40 countries
* Conducted Global Payroll, Time and Attendance policy harmonization analyzing and
documenting policies and processes of 32 Payroll and 25 Time and Attendance systems
= Led Current State Assessment, to document HR, Payroll and Time & Attendance systems,
policies, integrations and data governance processes against business requirements
“hia Pacandingy Soparasen Sivaieuy
= Led M&A due diligence of HCM and Payroll technology, across 19 countries within EMEA and NA
regions, analyzing current state systems, policies, processes and future state requirements
* Evaluated current state technology costs, identifying future state consolidation of nine (9) vendor
contracts with potential cost savings of $750K

Texas Tech University | August 2012 - January 2014

Texas Tech University is a public research university focusing on STEM research and initiatives, As

Senior Project Manager, collaborated with professors, department chairs and college deans to identify

and submit strategic proposals aligned with the strategic direction and objectives of the University.

Srgeasey Osyveietan? | Fvajact ade Ny

= Led the development of 10+ Federal large-scale proposals valued at $1M+ through the proposal
lifecycle, by defining strategic win themes, compliance review and submission

« — Led transdisciplinary team to receive $1.5M National Institutes of Health (NIH) grant, increasing
College of Human Sciences funding to engage students in STEM

* — Crafted external / internal communications, by researching and analyzing Federal, State and
Local regulations and distilling key points as part of University messaging

« — Developed detaifed proposal schedules, project estimates, resource plans, and status reports;
tracked key proposal milestones and adjusted project plans to align with submission timeline

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Case 1:24-cv-05533-UA Document 1_

Ic3 Complaint Referral Form

Victim Information

Filed O7/17/24

Page 12 of 136

5/29/24, 2:19 PM

Name:

Are you reporting on behalf of a
business?

Business Name:

Is the incident currently impacting
business operations?

Age:

Is the victim aged 17 or under?
Address:

Address (continued):
Suite/Apt./Mail Stop:

City:

County:

Country:

State:

Zip Code/Route:

Phone Number:

Email Address:

Charisse Samantha Moore
Yes

Snap, Inc. / Snapchat
Yes

40 - 49

140 East 56th Street
Apt 4A

New York

New York

United States of America
New York

10022

4159406805
CharisseSM8@proton.me

Business iT POC, if applicable: Bobby Murphy, https://www.google.com/url?
sa=t&source=web&rct=j&opi-899784498url=https://wwwilinkedin.com
jinfoobby-murphy-558927b4 &ved=ZahUKEwimOerHtbO

Evan Spiegel, https://investor.snap.com/governance/leadership-

team/default.aspx

Other Business POC, if applicable:

Description of Incident

Provide a description of the incident and how you were victimized. Provide information not captured elsewhere in this
complaint form.

My name is Charisse S. Moore, MS and | am the victim of a multi-year stalking scheme. The multi-year stalking scheme
ranges in timelines from 2021 - Present, possibly earlier than the provided timeline, as | met the suspected stalkers in 2011
in the State of Mississippi, 2013 in the State of Florida, 2021 in the State of Georgia and additional timelines are unknown as
of Sunday, April 21, 2024.

Due to the long-term nature of the multi-year Interstate Stalking scheme, the following Federal Complaints have been filed
to support each business:

As of April 13, 2024, an United States Federal Bureau of Investigation (FBI) Internet Crimes Compliant |C3 Form
was filed on behalf of Ant Financial Group.

As of April 13, 2024, an updated United States Federal Bureau of Investigation (FBI) Internet Crimes Compliant IC3
Form was filed on behalf of Stripe, Inc.

As of April 14, 2024, an US Securities Exchange Commission (SEC) Whistleblower Complaint was filed on behalf of
Snap, Inc. { Snapchat.

As of April 15, 2024, an United States Federal Bureau of Investigation (FBI) Internet Crimes Compliant IC3 Form
was filed on behalf of Deloitte Consulting, LLP.

As of April 15, 2023, an United States Federal Bureau of Investigation (FBI) Internet Crimes Compliant IC3 Form
was filed on behalf of Ernst & Young, LLP.

As of April 19, 2024, an United States Federal Bureau of Investigation (FBI) Internet Crimes Compliant IC3 Form
was filed on behalf of RedHat, an IBM Company.

About Me

Between May 2022 — July 2023, |, Charisse S. Moore was a Payroll Program Manager at Stripe, Inc. where, | served as an
internal Business Partner and cultivated strong relationships across the Finance Operations, Corporate Tax, State and Local
Tax (SALT), Employment Legal, HR and HR Technology teams. Stripe, Inc. is a multi-national organization (MNC) with dual
headquarters in San Francisco, California, and Dublin, Ireland. Stripe, Inc. has offices located globally with key market hubs
in Dublin, San Francisco, Seattle, Chicago, New York, London, Bangalore and Singapore.

https://complaint.ic3.gov/# Page 1 of 7

Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 13 of 136

1C3 Complaint Referral Form 5/29/24, 2:19PM

Prior to Stripe, Inc., | was a HR Strategy and Transformation Consultant at Deloitte Consulting, LLP and Ernst & Young, LLP
with eight (8) years of experience across HR and Payroll Strategy, Operations, Technology and Mergers & Acquisitions
(M&As) for Fortune 500 clients.

ACTIVITIES OF INTEREST
While living at Nine12 Gateway from April 2019 - May 31, 2021, | may have been hacked, stalked and/or my personal Wi-FI
was compromised. Below are series of activities that | recall taking place from the time period noted above

January 2020 - May 2021 | CNBC and Bloomberg Asia (Stocks of Interest)

- During the COVID-19 Pandemic, | worked remotely (from home) and had the tv on in the background while working. |
primarily watched and/or the tv was on channels to include, CNBC, MSNBC and Bloomberg Asia. Stocks of Interest that |
watched during the pandemic (2020-2021), primarily on CNBC and Bloomberg Asia

- The following stocks are stocks that | paid significant interest in during the pandemic. Some of the stocks had a
significant run, that resulted in the stock splitting or increase price per share:

- Amazon, Google, Facebook, Snap / Snapchat, MercadoLibre, Palantir, RIOT, MARA, Affirm, Shopify, NVDIA, ARM,
Microstrategy, Cathy Woods Investment ETFs, Renaissance IPOS, specifically, Long Island Pizza Shop, AMC, Gamestop,
Taiwan Semiconductor, Alibaba, JD.com, OpenDoor, OPEC Oil Meeting in April 2020 oil prices went down, Oil stock prices
went up

- OF SIGNIFICANT IMPORTANCE: Initial Public Offering halted: Ant Financial Group

- OF SIGNIFICANT IMPORTANCE: | was a shareholder of the Snapchat stock during the pandemic, multiple interviews
with Snapchat, | believe that Ernst & Young, LLP audits Snapchat, stock price drop Q3 2021 and the fact that | had my
interview with Snapchat during the same time as my interview with Stripe, Inc.

Technology Abuse
- Phone hacking
- NOTE: Per the Lookout App my phone number was included in the following data leaks:
- OF SIGNIFICANT IMPORTANCE:
- NOTE: As of March 30, 2024, Per the Lookout App my phone number was included in the following data leaks:
- November 5, 2016 - Unknown source
- November 6, 2020 - Minted.com
- November 6, 2020 - Minted.com
- Prior to November 19, 2020 | Brianna Smith (my cousin), uncle Anthony Smith (my Uncle) daughter that asked
“Where do live? LOL out of curiosity” See text message screenshot from December 25, 2020.
- NOTE: That Anthony Smith (my Uncle) came to Orlando in January 2020 prior to the onset of the COVIB-19
Pandemic.
Brianna Smith (my cousin) - https:/fwww.linkedin.com/in/briannajadasmith?
lipicurn%3Ali%~3Apage%3Ad_flagship3_profile_view_base_contact_details%3BeBG2xocaSxu0a%2BuhlQ%2F %2FRQ%3D
%3D
Anthony Smith (my Uncle) - https://www.linkedin.com/inftony-cash-G9760674/
- December 14, 2020 - Unknown source
- November 12, 2020 | Ryanne Duffie Saucier texted me and asked whether | would come to her house in Smyrna,
GA, for Thanksgiving. | stated th

Additionally, there was a series of fake interviews and/or real Interviews that were recorded without my permission and/or
the permission of the organizations that | interviewed with during June 2021 through April 2022 at the Elevate West Village
apartment complex in Smyrna, Georgia

Technology Abuse
- Phone hacking
- NOTE: Per the Lookout App my phone number was included in the following data leaks:
- April 23, 2022 - Unknown source
- This is exactly a month after my LinkedIn conversation with Rachel (Fratt) Vargas, Russell Reynolds Associates for a
role based in Atlanta, Georgia
- March 2022 | Russell Reynolds Associates, Executive Search
- Jonly interviewed at this company because a former Deloitte Partner within the Human Capital, Anthony
Abbatiello was working at Russell Reynolds at the time.
- Linkedin Profile: Rachel (Fratt) Vargas, Georgia Institute of Technology In partnership with Ryanne Duffie
Saucier, Terry Duffie, Tara Duffie, Laura Norton, Derek Norton using either Fox News Atlanta and/or the University System of
Georgia
- | distinctly remember Rachel (Fratt) Vargas telling me that she flew down from up north to Atlanta and was

https://complaint.ic3.gov/# Page 2 of 7
Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 14 of 136

C3 Comptaint Referral Form 5/29/24, 2:19 PM

taking the interview from the Atlanta area. There was a one (1) week gap between the scheduling the interview and the
actual interview taking place.

- OF SIGNIFICANT IMPORTANCE: Note that the interview with Rachel (Fratt) Vargas was held at the same
time of the Snap Inc. / Snapchat and Stripe, Inc. interviews.

March 2022 - April 2022 | Snap Inc. / Snapchat Interview
- Interviewed with Snap, Inc. / Snapchat in March 2022 - April 2022
- Snap, Inc. { Snapchat Point(s) of Contact: Jaime John, Clive Kinsella

- OF INTEREST: Followed and traded Snap / Snapchat stock during the pandemic, within TD Ameritrade account.

- OF INTEREST: Clive Kinsella previously worked with my future direct reporting manager — Alessandro Giagodi, Global
Payroll Lead at Stripe, Inc.

- (This was noted in my Interview notes in my laptop that was compromised and also in my external hard drive).

- OF INTEREST: The interview process was held remotely (via Zoom) and may have been filmed while | was a resident at
Elevate West Village in Smyrna, Georgia.

- OF INTEREST: Charisse S. Moore, Snap Interview Prep_2022.03.28 document - #3 - Why Snap? Why are you interested
in this job?

- RESPONSE: “I am interested in Snap and the Payroll Transformation Manager role for three reasons — Snap products,
culture and the role itself. When I think of Snap, | think of the quote, “If you want to go fast, go alone. If you want to go far
go together.” Over the years, | have watched Snap Inc. continue to innovative and grow the platform with partnerships that
have been cultivated with advertising agencies (e.g., WPP), luxury fashion brands (e.g., Dior, Prada}, sports leagues (e-g.,
MLB, Premier League) and travel brands (e-.g., Marriott) amongst others. (Try-on lenses, coupled with the Screenshopper
(personal shopper) is an exciting time.) And | love Bitmaji!"

- See email — Gmail - Smyrna Ladies Holiday Get Together (December 2021), Tess McGoldrick, SVP Revenue Analytics
(Marriott, IHG, Luxury Fashion brands, etc.)

- OF INTEREST: | traded and heavily followed the Snap, Inc. / Snapchat stock within my TD Ameritrade account during the
pandemic.

- OF INTEREST: | have known Dan Saucier(since late 2010) and Ryanne Duffie Saucier, (since 2011). Ryanne Duffie
Saucier,grew up in the Broadcasting industry, as her father Terry Duffie is the Founder of WKMX and Founder of Scenic
Cable Network & Productions.

March 2022 - April 2022 | Stripe, Inc.
- Interviewed with Stripe, Inc. in March 2022 - April 2022

- Alessandro Giagodi, Global Payroll Lead at Stripe, Inc. | February 2021 — Present

- Maggie Gallardo, Finance Program Manager at Stripe, Inc. | February 2021 —- November 2022

- Jen Zale, US Payroll Manager at Stripe, Inc.

- Meredith Kertzman, People Ops Enablement Manager at Stripe, Inc. | November 2016 — Present

- Shannon Herline, People Planning & Strategy at Stripe, Inc. | May 2019 - Present

- Dave Auckland, Finance Operations Leader at Stripe, Inc. | January 2020 - Present

- Point of Contact: Alessandro Giagodi

- OF INTEREST: April 11, 2022: |, Charisse S. Moore was offered the role of Payroll Program Manager
~ OF INTEREST: April 14, 2022: |, Charisse S. Moore received the offer letter for the role of Payroll Program Manager at
Stripe, Inc.
- OF INTEREST: On April 14, 2022, Elon Musk reversed again, offering to purchase Twitter at $54.20 per share.[223] The
acquisition was officially completed on October 27.

OF SIGNIFICANT IMPORTANCE - INTERVIEW SCHEDULE - MARCH 31, 2022

- 9:00am — Snap, Inc. / Snapchat | Clive Kinsella | Kind / Instills Trust / Collaborates

- 12:00pm — Stripe, Inc. | Maggy Gallardo | Functional Expertise

- 12:45pm - Stripe, Inc. | Jen Zale | Resilience

- 1:30pm — Stripe, Inc. | Meredith Kertzman | Collaboration / Cross-Functional Partnerships

- 4:00pm — Snap, Inc. { Snapchat | Emily Vanidestine | Smart / Strategic Mindset / Plans and Aligns

- 5:30pm — Snap, Inc. / Snapchat | Lauren Feinstein | Creative / Manages Ambiguity / Optimizes Work Processes

2022 — 2023 | While a resident at the Lincoln at Dilworth apartment complex in Charlotte, North Carolina, | strongly believe
that there were HIDDEN CAMERAS installed in my apartment and the following activities took place:

2022 - 2023 | Stripe, Inc.
- October 2022 | As Payroll Program Manager, my personal phone was used to conduct business on behalf of Stripe, Inc. to
include, but not limited to, calls to the following organizations:

- Ultimate Kronos Group (UKG) - United States Payroll

https://complaint.ic3.gov/# Page 3 of 7

Case 1:24-cv-05533-UA Document Filed 07/17/24 Page15of136

{C3 Complaint Referral Form 5/29/24, 2:19PM |

_ OF INTEREST: Asked my boss Alessandro Giagodi, Global Payroll Lead, to reach out to Pat Wadors, former Chief Human |
Resource Officer (CHRO) at LinkedIn now Chief People Officer UKG - Board Member for assistance with UKG and Stripe,
Inc. matters.
- OF INTEREST: Contacted Gusto Payroll to gain access to Stripe, Inc. subsidiaries reports |
- OF INTEREST: Partnered with Finance Operations, Corporate Tax and SALT to resolve State of Maryland Payroll |
Employer Quarterly taxes, Baltimore County and City of Baltimore taxes for Helm Services

Information About The Subject(s) Who Victimized You |

Name: Ryanne Duffie Saucier |
Business Name: Fox News
Address: 3335 Hidden Trail Road SE

Address (continued):

Suite/Apt./Mail Stop:

City: Smyrna
Country: United States of America |
State: Georgia |
Zip Code/Route: 30080 |
Phone Number: 6013175858

Email Address:

ryanne.saucier@gmai.com

Website: https://www.linkedin.com/in/ryannedsaucier
IP Address:

Name: Daniel (Dan) Saucier

Business Name: Keller Knapp Realty

Address: 3335 Hidden Trail Road SE

Address (continued):

Suite/Apt./Mail Stop:

City: Smryna

Country: United States of America
State: Georgia

Zip Code/Route: 30080

Phone Number: 6016240283

Email Address:

dssaucier@gmail.com

Website: https://www.linkedin.com/in/dan-saucier-064a4246
IP Address:

Name: Terry Duffie

Business Name: Scenic Productions
Address: 416 North Oates Street
Address (continued):

Suite/Apt./Mail Stop:

City: Dothan

Country: United States of America
State: Alabama

Zip Code/Route: 36303

Phone Number:
Email Address:

kim@scenicproduction.com

Website: https:/Awww.linkedin.com/in/terry-duffie-65062035
IP Address:

Name: Fani Willis, Emory University School of Law
Business Name: Fulton County District Attorney

Address: 141 Pryor Street SW

Address (continued):

Suite/Apt./Mail Stop:
City:

https://complaint.ic3.gov/#

Atlanta

Page 4 of 7
IC3 Complaint Referral Form

Country:

State:

Zip Code/Route:
Phone Number:
Email Address:
Website:

|P Address:

Name:
Business Name:
Address:

Address (continued):

Suite/Apt./Mail Stop:
City:

Country:

State:

Zip Code/Raute:
Phone Number:
Email Address:
Website:

IP Address:

Name:
Business Name:
Address:

Address (continued):

Suite/Apt./Mail Stop:
City:

Country:

State:

Zip Code/Route:
Phone Number:
Email Address:
Website:

IP Address:

Name:
Business Name:
Address:

Address (continued):

Suite/Apt./Mail Stop:
City:

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Zip Code/Route:
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Business Name:
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Address (continued):

Suite/Apt./Mail Stop:
City:

Country:

State:

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Case 1:24-cv-05533-UA Document1 Filed 07/17/24. Page 16 of 136

United States of America

Georgia
30303
4046124000

customerservice@fultoncountyga.gov
https;//fultoncountyga.gov/districtattorney

TD Jakes
The Potter's House
6777 W. Kiest Blvd

Dallas

United States of America

Texas
75236

https://www.thepottershouse.org

Ashley Herd, Emory University School of Law
@ManagerMethod, "HR Besties" Podcast Co-Host

Atlanta

United States of America

Georgia

http://linkedin.comjinjashleyherd

Ingrid Jones, Adjunct Professor

Broward College

5850 Coral Ridge Drive

Suite 314

Coral Springs

United States of America

Florida
33076

ingrid@changetogrow.com
https://fwww.linkedin.com/injingridjonesImhc

Tara Roseanne Duffie, MA, DNP, PMHNP-BC

Vanderbilt University
2015 Terrace Place

Nashville

United States of America

Tennessee

5/29/24, 2:19 PM

Page 5of7
Case 1:24-cv-05533-UA Document1_ Filed 07/17/24

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Zip Code/Route:
Phone Number:
Email Address:
Website:

IP Address:

Name:
Business Name:
Address:

Address (continued):

Suite/Apt./Mail Stop:
City:

Country:

State:

Zip Code/Route:
Phone Number:
Email Address:
Website:

IP Address:

Name:
Business Name:
Address:

Address (continued):
Suite/Apt./Mail Stop: —

City:

Country:

State:

Zip Code/Route:
Phone Number:
Email Address:
Website:

IP Address:

Other Information

37203
6153222571

https:/Avww.vanderbilt.edu/ucc/person/2356/

Brenda Gecelia Duenas Hill
KPMG
290 Weaver Street

Larchmont

United States of America

New York

10258

3057250494

brendacd1121@gmail.com
https://www.linkedin.com/in/brendaceciliahill

Reginald Lionel Lewis McNair
Broward County Government

Fort Lauderdale

United States of America
Florida

33319

Page 17 of 136

5/29/24, 2:19 PM

https://Awww.linkedin.com/i nfreginald-menair-6b077b4

It an email was used in this incident, please provide a copy of the entire email including full email headers.

[No response provided]

Are there any other witnesses or victims to this incident?

March 2023 | As Payroll Program Manager, | made
EDD) for Payroll Employer Quarterly Tax purposes,

crash

- Silicon Valley Bank’s Abrupt Closure Leaves Venture Ca
(https://www.forbes.com/sites/alexkonrad/2023/03/1 O/silicon
- Federal Deposit Insurance Corporation {

10, 2023

- What Happened to Signature
- “Signature Bank was shut d
collapse of Silicon Valley Bank (

Bank to try to contain the panic.’
- Federal Deposit Insurance Corporation

2023

- Federal Deposit Insurance Corporation

2023

- SVB, now First Republic: How it all started

all-started)

https://complaint.ic3.gov/#

Bank? (https://www.investopedia.com/what-happened-to-signature-bank-7370710)

own on March 12, 2023, after depositors withdrew

calls to the State of California Employment Development Division (CA
this occurred during the same time of the Silicon Valley Bank (SVB)

pitalists And Founders Scrambling

-valley-bank-closure-vc-startups-reaction/)
FDIC) | Failed Bank Information for Silicon Valley Bank, Santa Clara, CA - March

large sums of money on the heels of the
SVB). Regulators feared continued contagion in the banking sector and closed Signature
(FDIC) | Failed Bank Information for Signature Bank, New York, NY - March 12,
(FDIC) | Material Loss Review of Signature Bank of New York - October 24,

(https://www.npr.org/2023/0 5/01/117317509 B/svb-now-first-republic-how-it-

Page 6 of 7
ICS Complaint Referral Form 5/29/24, 2:19 PM

- Federal Deposit Insurance Corporation (FDIC) | Failed Bank Information for First Republic Bank, San Francisco, CA -
May 1, 2023

- Jaime Dimon, JP Morgan Chase rescues First Republic Bank
- During this time | also made calls to the United States Department of Treasury and/or the Internal Revenue Service (

If you have reported this incident to other law enforcement or government agencies, please provide the name, phone number,
email, date reported, report number, etc.

Secret Intelligence Service
- MIG, newsdesk@fcdo.gov.uk
March 21, 2023 | Called Charlotte-Mecklenburg Police Department for Help
- Again, contacted the Charlotte-Mecklenburg Police Department to perform a search of may apartment due to possible
hidden cameras, break-ins and to discuss mischievous behavior within my side of the apartment complex.
- Tuesday, March 21st - Case Number 20230321155300

March 23, 2023 | Called Charlotte-Mecklenburg Police Department for Help
- Again, contacted the Charlotte-Mecklenburg Police Department to perform a search of may apartment due to possible
hidden cameras, break-ins and to discuss mischievous behavior within my side of the apartment complex. The Responding
Officer was Officer Jackson, and it took Officer Jackson two (2) hours te come to my apartment after the initial call to the
Charlotte-Mecklenburg Police Department.

- Thursday, March 23rd - Case Number 20230323101700

Check here if this an update to a previously filed complaint: 0

Who Filed the Complaint

Were you the victim in the incident described above? Yes
Name:

Business Name:

Phone Number:

Email Address:

Digital Signature

By digitally signing this document, | affirm that the information | provided is true and accurate to the best of my knowledge. |
understand that providing false information could make me subject to fine, imprisonment, or both. (Title 18, U.S.Code, Section
1001)

Digital Signature: Charisse Samantha
Moore

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13 Compluint Referral Form

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ive TIOATION OMPLAINT ALERTS ALERTS FRAUD SCAMS

Victim Information

Name: Charisse S. Moore

Are you reporting on behalf of a Yes

business?

Business Name: Stripe, Inc.

Is the incident currently impacting Yes

business operations?

Age: 40-49

is the victim aged 17 or under?

Address: 140 East 56th Street

Address (continued): Apt 4A

Suite/Apt./Mail Stop:

City: New York

County: New York

Country: United States of America

State: New York

Zip Code/Route: 10022

Phone Number: 4159406805

Email Address: CharisseSM8@proton.me

Business IT POC, if applicable: Dave Auckland, dauckland@stripe.com

Other Business POC, if applicable: Elissa Port, eport27@gmail.com

Description of Incident

Provide a description of the incident and how you were victimized. Provide information not captured elsewhere in this
complaint form.

My name is Charisse S. Moore and | am the victim of a multi-year stalking scheme. The multi-year stalking scheme ranges
in timelines from 2021 - Present, possibly earlier than the provided timeline, as | met the suspected stalkers in 2011 in the
State of Mississippi.

| believe that my personal therapy sessions have been recorded, published and distributed, without my expressed
authorization, in addition to my phone, email, home Wi-Fi, and/or other technology platforms being compromised.
Additionally, there was a series of fake interviews and/or real Interviews that were recorded without my permission and/or
the permission of the organizations that | interviewed with during June 2021 through April 2022 in Smyrna, Atlanta, GA.

March 2022 | Russell Reynolds Associates, Executive Search

| only interviewed at this company because a former Deloitte Partner within the Human Capital, Anthony Abbatiello was
working at Russell Reynolds at the time.
o _ LinkedIn Profile: Rachel (Fratt) Vargas, Georgia Institute of Technology (In partnership with Ryanne Duffie Saucier, Terry
Duffie, Tara Duffie, Laura Norton, Derek Norton using either Fox News Atianta and/or the University of Georgia
o ‘distinctly remember Rachel (Fratt) Vargas telling me that she flew down from up north to Atlanta and was taking the
interview from the Atlanta area. There was a week gap between the scheduling the interview and the actual interview taking
place.
o OF SIGNIFICANT IMPORTANCE: Note that the interview with Rachel (Fratt) Vargas was held at the same time of the
Snap Inc. / Snapchat and Stripe, Inc. interviews.

March 2022 - April 2022 | Snap Inc. / Snapchat
Interviewed with Snapchat in March 2022 - April 2022
Point of Contact: Jaime John
o OF INTEREST: Followed and traded Snap / Snapchat stock during the pandemic, within TD Ameritrade account.

March 2022 - April 2022 | Stripe, Inc.
interviewed with Stripe, Inc. in March 2022 - April 2022
Point of Contact: Alessandro Giagodi, Global Payroll Lead
o OF INTEREST: Accepted role as Payroll Program Manager with a start date of Monday, May 8, 2022.

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May 2022 | Temporary Move to Charlotte, North Carolina

Week of Monday, May 9, 2022: An initial swarming event took place at the Elevate West Village apartments in Smyrna,
Georgia, after a therapy session with Ingrid Jones in which | mentioned the names Ryanne Duffie Saucier and Laura Norton.
o Thursday, May 12, 2022: Had a therapy session with Ingrid Jones of Change to Grow, Coral Springs, Florida.
o Saturday, May 14, 2022: The Tops Friendly Markets shooting occurred in Buffalo, New York. This mass shooting
occurred after my personal therapy session with Ingrid Jones which took place on Thursday, May 12, 2022.

OF HIGH INTEREST: My Mother, Leslie-Anne Haffenden Moore was born in Buffalo, New York.

Week of Monday, May 16, 2022: Temporarily moved to Charlotte, North Carolina where my cousin Andre Gilgeous lived
due to swarming and stalking as noted above by Ryanne Duffie Saucier, Dan Saucier and Laura Norton.

October 2022 | Use of Personal Phone for Stripe, Inc. Business

As Payroll Program Manager, my personal phone was used to conduct business on behalf of Stripe, Inc. to include, but
not limited to, calls to the following organizations:

Ultimate Kronos Group (UKG) - United States Payroll, Stripe Inc. subsidiaries
o OF INTEREST: | asked Alessandro Giagodi, Global Payroll Lead, to reach out to Pat Wadors, former Chief Human
Resource Officer (CHRO) at Linkedin now Chief People Officer UKG - Board Member for assistance with UKG and Stripe,
Inc. matters. Note that Alessandro Giagodi previously worked at Linkedin where Pat Wadors was CHRO.

Gusto — United States Payroll, Stripe Inc. subsidiaries
o OF INTEREST: Partnered with leadership across Finance Operations, Dave Auckland, Corporate Tax, Kristen Bauer,
State and Local Taxes (SALT), Paul Klopping and Mindy Mayo, KPMG, to resolve the State of Maryland Payroll Employer
Quarterly taxes, Baltimore County and City of Baltimore taxes for Helm Services.

Military Tactical Hold within the Lincoln at Dilworth apartment complex

For months and months (December 21, 2022 through March 31, 2023), every time that | took Jax out for a walk, people
lined their cars up in the driveway at Lincoln at Dilworth, stood in the garage at Lincoln at Dilworth, lined up on the walking
path for Jax and/or followed down the elevator. There was an unknown social media frenzy to me.

_ The elevator episodes were of particular interest as, each time that | pushed the button for the elevator, the elevator went
up to the fifth (5th) floor prior to coming to the fourth (4th} floor. | sensed that the men that were in the elevator were
following me and/or watched me take a shower and watched the video of me showering. '

As Payroll Program Manager at Stripe, Inc. | had full access to HR master data, Payroll master data, Financial data and
Benefits data for all of Stripe, Inc. and its subsidiaries, to include, but not the following:
httos://aspe.hhs.gov/sites/default/files/documents/24827567 2affa2035cccfbcdaa3670d2/aspe-working-paper-data-
terms.pdf

Personal Identifiable Information (PI!)

Personal Health Information (PHI)

Business Identifiable Information (BIl)
o Trade secrets, commercial or financial information that is privileged or confidential.

Confidential Information (Cl) to include Mergers & Acquisitions

March 2023 | Mergers & Acquisitions (M&A) Payroll Wind-down Operations
As Payroll Program Manager, | made calls to the State of California Employment Development Division (CA EDD) for Payroll
Employer Quarterly Tax purposes, this occurred during the same time of the Silicon Valley Bank (SVB) crash.

Silicon Valley Bank's Abrupt Closure Leaves Venture Capitalists And Founders Scrambling
https://www.forbes.com/sites/alexkonrad/2023/03/10/silicon-valley-bank-closure-vc-startups-reaction/

“On Friday, Silicon Valley Bank's rich 40-year history came to an abrupt, ignominious end as regulators closed the bank
and appointed the Federal Deposit Insurance Corporation as its receiver. And for the startups and investors that SVB has
financed and served as a bank — spanning the entire venture capital-backed ecosystem - it’s raised new questions about
when deposits and financing will be returned, if at all."

o March 10, 2023: Federal Deposit Insurance Corporation (FDIC} | Failed Bank Information for Silicon Valley Bank, Santa
Clara, CA

What Happened to Signature Bank? https:/Awww.investopedia.com/what-happened-to-signature-bank-7370710

“Signature Bank was shut down on March 12, 2023, after depositors withdrew large sums of money on the heels of the
collapse of Silicon Valley Bank (SVB). Regulators feared continued contagion in the banking sector and closed Signature
Bank to try to contain the panic.”

o March 12, 2023: Federal Deposit Insurance Corporation (FDIC) | Failed Bank Information for Signature Bank, New York,
NY
SVB, now First Republic: How it all started https:/fwww.npr.org/2023/05/01/1173175098/svb-now-first-republic-how-it-

https://complaint.ic3.gov/# Page 2 of 7
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all-started

“The turmoil in the banking industry isn't over yet. Today, First Republic Bank was seized, following the failures of
Signature Bank and Silicon Valley Bank back in March. How did we get here? And how do we prevent banks from failing in
the future? A show-stopping mea culpa from the Federal Reserve provides some answers.’
o May 1, 2023: Federal Deposit Insurance Corporation (FDIC) | Failed Bank Information for First Republic Bank, San
Francisco, CA

March 1—- March 10, 2023: During this time | also made calls to the United States Department of Treasury and/or the
Internal Revenue Service (IRS), to recover and/or seek a refund on behalf of Stripe, Inc. with the Bureau of the Fiscal
Service, Treasury Offset Program (TOP) and could audibly hear a call drop in the background, this occurred in March 2023
(on my phone 917-386-5745).
o = The call was dropped after the recorded statement of “This is a recorded line of the United States Department of
Treasury and/or the Internal Revenue Service."

During this time, | also made calls to the State of Maryland, Baltimore County and/or City of Baltimore related to Helm
Services and/or Patrick Mahoney, President of Helm Services, a subsidiary of Stripe, Inc.

March 2023 | Stripe, Inc.: Navigating a Tender Offer in 2023 | Stripe, Inc. https://www.harnesswealth.com/articles/stripe-
ipo-tender-offer-what-to-know-for-2023/

Current reports fram insiders suggest that Stripe, Inc. tender offers will begin in April 2023 before settling one month
later in May.

OF INTEREST: As Payroll Program Manager, this coincided with the Stripe Tender Offer scheduled for March 2023.
Additionally, | made calls with the State of California attempting to recovering ~$500K on behalf of Stripe, Inc., the State of
Maryland in partnership with Kristen Bauer, Corporate Tax, Paul Klopping, State and Local Tax (SALT) and Dave Auckland,
Finance Operations and Jeremy Gordon, Real Estate ~$3.0M and the City of Baltimore.

OF INTEREST: | reviewed the US Department of Treasury - Electronic Federal Tax Payment System® tax payment
webpage or the Internal Revenue Service (IRS) - EFTPS: The Electronic Federal Tax Payment System, as part of the Tender
Offer next day payment requirements to the Internal Revenue Service (IRS).

April 2023 | Temporary Transition to Seattle, Washington

March 31, 2023: Upon arrival at Seattle-Tacoma Washington (SEATAC) airport, a teenage girl with blonde hair video
recorded Jax and | while riding the airport tram to get my luggage. | made a hotel reservation at the Hotel Pineapple and
then a reservation at Sentral South Lake Union (SLU) through the Airbnb application.

April 1, 2023: After Charlotte, North Carolina, | went to Seattle for the month as there was a Finance Operations
Leadership Conference scheduled the week of Monday, April 17th. When | opened by Google Maps on April 1, 2023, there
was a map of Tulsa, Oklahoma. At the time, | had no clue what to think of the map, as | knew that | was doxxed and hacked
in Charlotte.

April 4, 2023: Had a meeting with Dan Johnson, Stripe, Inc. Corporate Security to discuss at a super high-level stalking
in Charlotte, North Carolina and hidden cameras within my apartment at Lincoln at Dilworth.

o OF SIGNIFICANT IMPORTANCE: As Payroll Program Manager, | was aware and initially involved in the Stripe, Inc. Tender
Offer process scheduled for March 2023.

April 4, 2023 | Purchased new Apple iPhone from Verizon

Apple iPhone 14 ProductRed from Verizon near Nordstrom in Seattle, Washington. My first call to Ingrid Jones was
hacked as in the middle of the call when Ingrid said that | could come to Colombia the call was dropped and went into SOS
Mode.
0 OF SIGNIFICANT IMPORTANCE: In April 2024, |, Charisse 5. Moore became aware of Verizon as a client of Peachtree
Relations, where Laura Norton is employed.

Unauthorized Publication of Personal Therapy Sessions

The continued stalking by Ryanne Duffie Saucier, Dan Saucier, Terry Duffie, Tara Duffie, Laura Norton, Derek Norton, Mayor
of Smyrna, Georgia and additional known / unknown co-conspirator has severely impacted my life, to include but not limited
to:

May 2023 | Leave of Absence (Relocation Strategy)

As a result of continued stalking by Ryanne Duffie Saucier, Dan Saucier, Terry Duffie, Tara Duffie, Laura Norton, Derek
Norton, Mayor of Smyrna, Georgia and additional known / unknown co-conspirators, | partnered with my former therapist to
implement a Relocation Strategy from Charlotte, North Carolina, to New York, New York, in May 2023.

May 4, 2023 | While meeting Ingrid Jones, Licensed Mental Health Counselor, in person at the Sawgrass Mills Mall, on
May 4, 2023, my birthday, Ingrid Jones noted that | was “helping people”.

https://complaint.ic3.gov/# Page 3 of 7

Case 1:

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Information About The Subject(s) Who Victimized You

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Name:
Business Name:
Address:

Address (continued):

Suite/Apt./Mail Stop:
City:

Country:

State:

Zip Code/Route:
Phone Number:
Email Address:
Website:

IP Address:

Name:
Business Name:
Address:

Address (continued):

Suite/Apt./Mail Stop:
City:

Country:

State:

Zip Code/Route:
Phone Number:
Email Address:
Website:

IP Address:

Name:
Business Name:
Address:

Address (continued):

Suite/Apt./Mail Stop:
City:

Country:

State:

Zip Code/Route:
Phone Number:
Email Address:
Website:

IP Address:

Name:
Business Name:
Address:

Address (continued):
Suite/Apt./Mail Stop:

City:

Country:

State:

Zip Code/Route:
Phone Number:
Email Address:
Website:

IP Address:

https://complaint.ic3.gov/#

Ryanne Duffie Saucier
Fox News
3365 Hidden Trail Road SE

Smyrna

United States of America

Georgia

30080

6013175858

ryanne.saucier@gmail.com
https:/Avww.linkedin.com/in/ryannedsaucier

Daniel (Dan) Saucier
Real Estate Agent at Keller Knapp Realty
3365 Hidden Trail Road SE

Smyrna

United States of America

Georgia

30080

6016240283

dssaucier@gmail.com
https://www.linkedin.com/in/dan-saucier-064a4246

Terry Duffie
Scenic Productions
416 North Oates Street

Dothan

United States of America
Alabama

36303

3347932722

https://sceniccable.com

Tara Roseanne Duffie, MA, DNP, PMHNP-BC
Vanderbilt University

University Counseling Center

2015 Terrace Place

Nashville

United States of America
Tennessee

37203

6153222571

https://www.vanderbilt.edu/ucc/person/2356/

Page 4 of 7

Case 1:24-cv-05533-UA © Document 1

|€3 Complaint Referral Form

Name:
Business Name:
Address:

Address {continued}:

Suite/Apt./Mail Stop:
City:

Country:

State:

Zip Code/Route:
Phone Number:
Email Address:
Website:

IP Address:

Name:
Business Name:
Address:

Address (continued):

Suite/Apt./Mail Stop:
City:

Country:

State:

Zip Code/Route:
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Email Address:
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Name:
Business Name:
Address:

Address (continued):

Suite/Apt./Mail Stop:
City:

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Zip Code/Route:
Phone Number:
Email Address:
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IP Address:
Name:

Business Name:
Address:

Address (continued):

Suite/Apt./Mail Stop:
City:

Country:

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Zip Code/Route:
Phone Number:
Email Address:
Website:

IP Address:

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Suite 675

United States of America

Alabama

30309

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Page 5of7
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1€3 Complaint Referral Form

Other Information

If an email was used in this incident, please provide a copy of the entire email including full email headers.
[No response provided]
Are there any other witnesses or victims to this incident?

As a result of stalking by Dan Saucier, Ryanne Duffie Saucier, Terry Duffie, Tara Duffie, Skip Duffie, Laura Norton, Derek
Norton, Mayor of Smyrna, GA and additional unknown co-conspirators between 2020 - Present, the following activities have
taken place - Moves in state and/or out of state, direct contact with police departments, changes to technology hardware
and software, published (and potentially distributed) therapy sessions with Ingrid Jones, Licensed Mental Health Counselor,
my former therapist.

| have moved and/or traveled across multiple countries and state lines, whether as a direct result of stalking or traveling for
work (domestically and internationally), as noted below:

Orlando, Florida

Smyrna, Atlanta, Georgia

Charlotte, North Carolina

San Francisco, California (to include Stripe United States Headquarters)

Seattle, Washington (to include the Stripe Seattle office and Airbnb stay)

New York City, New York (to include the Stripe New York office, Airbnb stay and my apartment)

In June 2023, | move from Charlotte, North Carolina to New York, New York as part of Relocation Strategy due to Stalking.
This Relocation Strategy was documented as part of the Stripe US Leave of Absence process and administered by The
Larkin Company of Atlanta, Georgia, in which stalking cases, which are closely aligned to domestic violence cases and are
covered under the Family Medical Leave Act (FMLA), the State of New York Paid Sick Leave Program and the City of New
York Paid Sick (and Safe) Leave Act.

Organizations that | have worked for include the following:
Stripe, Inc.
RedHat, an IBM Company
Deloitte Consulting, LLP
Ernst and Young, LLP

If you have reported this incident to other law enforcement or government agencies, please provide the name, phone number,
email, date reported, report number, etc.

February 2022 | Cobb County Police Department

- In February 2022, | originally reporting the initial instance to stalking or following to Officer Glenn Meyer, Cobb County
Police Department in the Atlanta, Georgia metropolitan area. At the time of speaking to Officer Glenn Meyer, | noted that the
potential stalkers were the same people that called the Cobb County Police Department to perform a wellness check on me
Ryanne Duffie Saucier and Dan Saucier.

January 15, 2023 | Called Charlotte-Mecklenburg Police Department for Help

Contacted the Charlotte-Mecklenburg Police Department to perform a search of my apartment due to possible hidden
cameras located within the fire alarms.

March 21, 2023 | Called Charlotte-Mecklenburg Police Department for Help

Again, contacted the Charlotte-Mecklenburg Police Department to perform a search of my apartment due to possible
hidden cameras, break-ins and to discuss mischievous behavior within my side of the apartment complex.
o NOTE: Tuesday, March 21st - Case Number 20230321155300

March 23, 2023 | Called Charlotte-Mecklenburg Police Department for Help

Again, contacted the Charlotte-Mecklenburg Police Department to perform a search of my apartment due to possible
hidden cameras, break-ins and to discuss mischievous behavior within my side of the apartment complex. The Responding
Officer was Officer Jackson, and it took Officer Jackson two (2) hours to come to my apartment after the initial call to the
Charlotte-Mecklenburg Police Department.
o NOTE: Thursday, March 23rd - Case Number 20230323101700

https://complaint.ic3.gov/# Page 6 of 7
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1¢3 Compiaint Referral Form 4/13/24, 5:48PM

Check here if this an update to a previously filed complaint:

Who Filed the Complaint

Were you the victim in the incident described above? Yes
Name:

Business Name:

Phone Number:

Email Address:

Digital Signature

By digitally signing this document, | affirm that the information | provided is true and accurate to the best of my knowledge. |
understand that providing false information could make me subject to fine, imprisonment, or both. (Title 18, U.S.Code, Section
1001)

Digital Signature: Charisse S. Moore

https://complaint.ic3.gov/# Page 7 of 7 |

Case 1:24-cv-05533-UA “Document Filed 07/17/24 Page 26 of 136:

Hi Officer Glen Meyer,

Thank you for taking the time to connect this afternoon and discuss the issue with my former
friends here in Atlanta. As discussed, | have documented some of the things that have occurred
which either gave me concern and/or tead up to the issue between myself, Ryanne Saucier and
Dan Saucier.

This document is separated into four (4) sections to provide additional insights and points of
clarity — Background, Things Are Changing, Interpretation and Points of Contact. Updates to the
document have been called out in red.

Please review the information below and look forward to discussing further in the coming days.
BACKGROUND

| met Dan Saucier in 2010 during an interview at the Mississippi Development Authority (MDA).
| hired Dan in January 2011, as a Project Manager under the Energy Efficiency grant program
that | ran. Later in 2011, | met Ryanne Saucier, Ryanne is Dan’s wife. From 2011 through 2021,
the Sauciers have consistently invited me to spend the holidays with them in Mississippi and
Atlanta. We've spent Thanksgiving, Christmas and New Year’s together over the years. While
living in Orlando, they have also invited me to come to Atlanta to just hang out. In 2020, during
the pandemic, Ryanne asked me multiple times if | wanted to come up for Thanksgiving. |
declined, but was thankful for receiving the invitation. Ryanne and Dan have always been
welcoming, hospitable and just good people (good people to do life with).

In 2021, | decided to move to Atlanta and let Ryanne and Dan know. As usual, they were more
than welcoming and Dan picked me up from the airport and provided guidance with the
neighborhoods in Atlanta (e.g., do not move to Buckhead due to crime). In June 2021, |
completed my move to Atlanta and below are some of the changes that have occurred
between June 2021 — February 2022.

THINGS ARE CHANGING

Saturday, July 3, 2021 — Friday, July 10, 2021 — Housesat for Ryanne and Dan and took care of
their dog Belle (older Shih Tzu). Belle and Jax have known each other since 2011 in Mississippi.

August, September, October 2021 — Spent multiple Saturdays and/or Sundays at Ryanne and
Dan’s house watching football, watching Elias (their son) play baseball and barbequing. Ryanne
and | would also go to get our nails done and hot yoga.

Saturday, October 30, 2021 — Halloween trick-or-treating in Ryanne and Dan’s neighborhood.
There was a moment, when we walked to a house for Elias to go trick-or-treating where Ryanne
knew that the guy had a big confederate flag in his house. She mentioned this as Elias was
getting the candy from the guy. | remember the guy looking at our group, with a strange look.

Which of course makes sense, if he has a big confederate flag, you know his stance. Why would
you have a Black woman come to his house?
= Ryanne spoke in the context of being shocked that there was a big confederate flag in
the house when she was asked to cat sit. It seemed like it did not occur to her that a
Black woman is coming to the guy’s house to trick-or-treat with her child and her child’s
friends. The focus was only on her,

Saturday, November 13, 2021 — Sunday, November 14, 2021 — Ryanne stated that she was
going out to town for a girls weekend celebrating a friend’s (Jenny) upcoming cancer
reconstruction surgery. Ryanne asked, and Dan jumped in, if | wanted to come over that
weekend and watch football with Dan and Elias. | thought nothing of the ask, because | had
come over for several weekends prior to watch football (College / NFL).

Tuesday, November 16, 2021 — Phone call 28 minutes — Ryanne calls and states that one
weekend she saw Dan drink 24 beers over the weekend. She continues by stating that given
Dan’s father’s history of being an alcoholic that she is concerned. She adds that she wonders
what happens with Elias when she is not at home. Further, she told Dan that if he does not
stop drinking that she will take their little boy and leave. (Major boundary issue)

Thursday, November 18, 2021 — Phone call 29 minutes — Ryanne called stating that Dan’s friend
texted Ryanne saying that since Dan does not work and that Ryanne has to make all the
decisions on Dan’s behalf, can Dan talk.
= {n Ryanne and Dan’s relationship, Ryanne works and Dan has stayed home to take care
of Elias.
= Apparently, the friend is an alcoholic and takes out his rage on Dan. Dan recently
stopped talking to the friend.

Friday, November 19, 2021 — Spent time with Dan and Elias watching Disney movies and the
ABC Special on the Turpins family and left after the special at 11pm EST. Arrived at 4pm EST.

Saturday, November 20, 2021 - Spent time with Dan and Elias watching football arrived around
4pm EST.
= | said nothing to Dan about Tuesday's conversation and nothing to Ryanne about
whether or not Dan drank that weekend. For the record, Dan drank one (1) non-
alcoholic beer that | was aware of that weekend.

Thursday, November 25, 2021 — Spent Thanksgiving at Dan and Ryanne’s. | brought drinks,
charcuterie items and pies. Great day! Lots of good fun, friends and football.

Sunday, November 28, 2021 — December 3, 2021 — Housesat for Ryanne and Dan and took care
of their dog Belle, while they took their son to Disney.

Case 1:24-cv-05533-UA Document 1 Filed 07/17/24 Page 28 of 136

Friday, December 24, 2021 (Revised) — Ryanne’s parent arrive from Dothan, Alabama. |
received news from Deloitte that | was able to return to the Firm and told Ryanne and Dan that
| would be returning to Deloitte.

« Ryanne had a look of absolute disgust after telling her that | was going back to Deloitte.
The look on her face was so strong, that | turned to the side and made a joke, saying
that | would not become pretentious after going back to Deloitte. (Even though I’ve
already worked for Deloitte for six years.) The joke was not enough to wipe the look of

disgust off of her face, she continued to wash dishes and put them in the dishwasher.

= Prior to Ryanne’s parents arrival, Ryanne and Dan went on a diatribe about Ryanne’s
brother and how the brother is not able to have children due to a sperm issue.
Apparently, Ryanne’s brother has been trying to have kids for years and unfortunately
has not been able too.

« Shortly after Ryanne’s parents walk into the house, they (Ryanne and Ryanne’s parents)
start talking about how Ryanne’s brother did not come because of Covid-19 testing and
that Ryanne’s brother wanted to be there is person to let Ryanne know that him and his
wife are pregnant.

o There were no kind words from Ryanne or Dan about the expectant new niece or
nephew. No words of congratulations from Ryanne to her brother. Although no
words were expressed, you could feel the seething rage from Ryanne.

= Later in the evening, Ryanne, Dan, Elias, Ryanne’s parents and myself were at the dining
table eating Christmas Eve dinner. There were some talking points between Ryanne and
her parents in which Ryanne starts to say, “Charisse is like me, Charisse is like me.”

o The way that Ryanne kept saying “Charisse is like me” was off-putting. | did not
understand where the comment was coming from and what the comment
meant to her parents. However, | can see the look of consternation from her
parents, particularly Ryanne’s mom.

o Still not knowing what Ryanne was referencing, Ryanne’s mother and I have had
a conversation later in the night and started to talk about being the oldest sibling
and having to take care of the little ones. Jax and | headed home shortly after
8:30pm.

Saturday, December 25, 2021 (Revised) —Merry Christmas! Spent the day with Ryanne, Dan,
Elias and Ryanne’s parents. There were lots of presents for Elias, along with interesting
comments from Ryanne.

« When | arrived, | had two bags of presents — one for Elias and another one for Dan and
Ryanne. When Elias pulled out one of the presents that | had for him, Ryanne noted
that the gift wrapping was a concern way because | worked in retail. This comment
immediately struck me as odd, because | never told Ryanne that “I worked in retail”. |
kept the comment to myself and continued watching Elias open his presents.

o The way that Ryanne said that “I worked in retail” was reminiscent of marking
something off of a checklist. She is the type of person that has a checklist for
everything, under the cover of being a Type A personality.

© Further the look on Ryanne’s face when | walked in with presents, was of shock.
She stated that she was thankful for receiving gifts from me to her and Dan and
Case 1:24-cv-05533-UA Document 1 Filed 07/17/24 Page 29 of 136

that | did not have to do that, that the presents for Elias were more than enough.
| bought them a Christmas present for the house, because that is what | wanted
to do. | stuck to my budget for their present but went over for Elias, because
Flias is a kid (only once).

Thursday, December 30, 2021 — Phone call 14 minutes — Ryanne states that if she and/or Dan
get COVID-19 that she will not tell Elias (their son) the truth, because Elias has flashbacks from
when Dan had a serious case of COVID-19 in the summer of 2020.

Friday, December 31, 2021 (Revised) — Ryanne provided details to the events that led up to her
parent's arrival on Christmas Eve. Apparently, her parents where not going to come to Atlanta
because Ryanne did not want her brother to come with them (parents) unless he and his wife
took COVID-19 tests. Per Ryanne, she had a heated exchange with her parents in which she
talked about her sister's drug addict, her brother having multiple marriages and having a
drinking problem, when her mother and sister got into a fight and ended up in jail and that she
has not had any issues and Ryanne ended with “When will | ever be enough for you people.”
Ryanne stated that the reason why she is Type A and a perfectionist is because of her parents.

» Ryanne also went ona rant, stating that she “does not have to do this, she can always
do something else...” This sounds eerily (exactly) the same language that | used during a
conversation with Ingrid. | do not share this type of th ought process or super directness
with anyone but Ingrid. Was there a listening device in the house when | was
housesitting?

o She finished her rant saying that her psychiatrist and psychologist were going to
have a lot of work to due next month (Jan 2022) dealing with her parents and
family stuff.

» Ryanne also said that she was also conflicted on whether or not she wanted to have
children due to her upbringing. Which is something that | always talk to Ingrid about.

« Aswe watched the ABC New Year’s Eve broadcast, | asked the group (Ryanne, Dan and
Cyndi) if they ever watched the CNN broadcast with Anderson Cooper and Andy Cohen?
| joked / explained that one year Andy Cohen and Anderson Cooper got super drunk and
that they were hilarious.

o In anunder the breath remark, Ryanne stated that “we watch the traditional
New Year’s Eve broadcast here.” | heard her remark but said nothing. | thought

it was interesting that she could not ask questions about what they said or laugh.

it was all about controlling the situation.

o There were other times throughout the night were Cyndi laughed and joked that
Ryanne was so controlling and the look in Dan’s eyes spoke volumes. Dan just
mumbled that yet, “she is so controlling.”

«  Dan’s sister Cyndi notes that they did not wear masks at Disney, unless they were
attending the nightly fireworks display. This is direct contrast to Dan telling me that
they wore masks.

Between Saturday, January 1, 2022 — Sunday, January 16, 2022 - Radio silence from Ryanne
and Dan. | texted them to see how they are doing and if it was snowing on their side of town.
Case 1:24-cv-05533-UA _ Document 1 Filed 07/17/24 Page 30 of 136 -

Ryanne responded, “We are good!” and then sent a picture of her, Elias and Belle (caption —
“All after a nap.”). | immediately noticed that Elias was sticking his tongue out in the picture,
which was unusual.
» Ryanne then sent another text, “E and Belle seriously had their hair sticking up in the
same way.” The text comes across as a backhanded way to pay attention to the child’s
face.

Thursday, February 3, 2022 — In preparation for my interview on Friday with Thought Logic,
updated my LinkedIn profile to add an end for Deloitte to November 2021. Previously, left the
Deloitte experience without an end date, as there is a significant drop in LinkedIn presence
without an active employer on detailed on your profile.

Friday, February 4, 2022 — Phone call; | saw the incoming call and did not put up the phone. |
instantly intuitively knew that Ryanne was now aware that | did not return to Deloitte. The
missed call occurred at 11:10am EST.

= At5:37pm, | reached out to Ryanne and stated, “I missed your call earlier...how are you
doing?

» Ryanne’s response: “We are doing ok. Hectic weeks. | was calling to check on you. E’s
class was quarantined for a few days a week or SO ago. Then he’s been home sick past 2
days. Seems like he’s definitely better today but I’m going to home test him again
tomorrow to be safe. How are you? | miss you!”

» Myresponse: “Sorry to hear that Elias has been sick. Glad that he is feeling better, but
can understand that it makes for stress (stressful — sic) times with him being sick. 1’m
fine. Miss you all.” (Note - My response is to mirror Ryanne.}

« Ryanne’s response: At 8:26pm, “We miss you! We'd love to see you. How is going back
to Deloitte been?”

Friday, February 4, 2022 — At 12pm had an interview / phone screen with Katie Van Ewyk,
Thought Logic. interestingly, Katie did not ask me to introduce myself or ask for a copy of my
resume. She talked about the company, not a specific role; more of a what do you want to do
next. She asked for my email address to send me a PowerPoint with details about Thought
Logic verticals and business development.

« Asof Monday, February 7, 2022 — | have not heard back from Katie. | have been racking
my brain on how Ryanne would have picked up on me not being at Deloitte. The only
thing that I can think of is Katie. There is no record of Ryanne looking at my Linkedin
profile, and my profile is not public, so you have to look at my profile in order to see
that | am not at Deloitte.

o. Katie is a Recruiter / Talent Acquisition Manager and on Linkedin, recruiters have
a different view (level of access) to profiles that individual users have. The
recruiters view is more detailed, highlighting target companies, keywords, years
of experience, etc.

o. Katie is a graduate of Kennesaw State University. If | remember correctly,
Ryanne and Mechel Hoffman had a sorority meeting at Kennesaw State
Case 1:24-cv-05533-UA Document 1 Filed 07/17/24 “Page 31 of 136

University in the Fall (August / September 2021). | hung out with Dan and Elias,
watching NEL football while Ryanne and Mechel were at the sorority meeting.
o | googled the phone number that Katie called me from to do the interview /
phone screen, it is her personal phone number. Google also listed that she is 37,
check and verify.
o If Ryanne asked Katie to look at my LinkedIn profile and then conduct a fake
interview with me, Ryanne has some seriously deep deep issues.
« Asof Tuesday, February 8, 2022 —! have not heard back from Katie. Given the current
talent market, opportunities available at Thought Logic and my previous consulting
experiences, something is not adding up here.

WELL, JUST WHEN WE THOUGH THE STORY ENDED HERE..-HERE IS AN UPDATE.
Additional context has been added to Christmas Eve, Christmas Day and New Year's Eve details.

Wednesday, February 9, 2022 — Spoke with Ingrid and shared that | strongly believe that
Ryanne recorded my therapy session during the time when | housesat for Ryanne and Dan
when they went to Disney after Thanksgiving.

» {spent the week of Saturday, February 5 and Sunday, February 6, reflecting on my
friendship with Ryanne and Dan. Thinking about the last 10+ years and how things
seemed to have changed suddenly. And then it dawned on me, like a puzzle falling into
place, Ryanne listed to my session with Ingrid. Ryanne recorded my conversation
without permission. Not only did she record the conversation, she has listened multiple
times to be able to recite the conversation to me and Cyndi.

o Going back to Christmas Eve, saying that | work in retail.

o. Christmas Day, saying that Charisse is like me.

o New Year’s Eve, saying that she does not have to do this (be an attorney) or does
not have to do that. From Ryanne’s Linkedin profile, she proudly proclaims that
she is a second generation Media attorney. She has never stated that she does
not like her work. In fact, during the Deloitte dinner that | took her to in October
2021, she proudly proclaimed to the table that she loves her work and that she is
a “gunioader” (strategist).

Thursday, February 10, 2022 — Given the circumstances noted above, on the night of February
10° | blocked the following individual from LinkedIn and on my iPhone. The goal is to cease and
desist all forms of communication, ability to connect / stalk with the individuals noted below:

» Ryanne Saucier

» -Daniel Saucier

« Katie Van Ewyk

Thursday, February 17, 2022 — At 10:59am | received an email from Dan with the subject
“Checking in”. To quote the email, “Hi Charisse! Ryanne and | have been trying to contact you
for more than a week and haven't received a response. Are you ok? 1s there anything you need?
We are worried about you. We consider you family and love you very much. Please respond.”
_ Case 1:24-cv-05533-UA §Document1 Filed 07/17/24 Page 32 of 136

« Asageneral rule, | typically read emails and then wait at least an hour before
responding. After receiving this email, | read the email a couple of times and thought
Dan sent the email because he wanted to hang out for Super Bowl. At this time, | did not
believe that Dan was aware of what Ryanne is up too. | also thought that the email was
weird...almost like there is a level of perceived dependency in the friendship in the email
(i.e., we consider you family).

« At1:30pm, | received a visit from Officer G.C. Meyer of the Cobb County Police
Department to perform a wellness check.

o lasked Officer Glen C. Meyer to come into my apartment for privacy reasons
(neighbors}. After Officer Meyer entered my apartment, he briefly noted that he
was there to perform a wellness check and said that he intuitively knew that
nothing was wrong with me. | asked if Dan and Ryanne asked for the wellness
check, in which Officer Meyer did not confirm nor deny, but Officer Meyer did
state that he figured that | just did not want to talk to him (assuming Dan)
anymore.

o told Officer Meyer that Dan and Ryanne may be having marriage problems in
which Ryanne told me things about their marriage that | did not want to know. |
am their friend, | do not need to know personal things about their marriage. |
told Officer Meyer that Dan is in a codependent relationship and | do not want to
be involved.

o. Further, | explained to Officer Meyer my process of waiting to respond to emails
and that | prepared a response to Dan’s email in which | asked Officer Meyer to
read. Officer Meyer read the email and said that it was a good response, so |
copied the message and sent it to Dan while Officer Meyer watched.

0 lalso told Officer Meyer, that | suspect that somethings are happening to me but
cannot prove it. | talked about the crime occurring on a spectrum on one end
serious violent crime and on the other end, things that are happening to me.
Officer Meyer stated that he previously worked in the stalking, domestic
violence and special victims unit departments and in his experience most things
start “small”. | continued and stated that | had to trust my intuition that things
were happening and put an immediate distance from Ryanne and Dan.

WELL, JUST WHEN WE THOUGH THE STORY ENDED HERE...HERE 'S ANOTHER UPDATE.
(NET NEW SECTION)

Sunday, April 20, 2022 - Received multiple emails from Ryanne and Dan Saucier stating Happy

Easter, in addition to a voicemail message from Dan Saucier. Per the email thread on Thursday,

February 17, 2022, the same day that they Dan and Ryanne called Cobb Country Police

Department to perform a wellness check on me, | have not reached out (i.e., call, email, text,

sent a voicemail message) to Dan and Ryanne nor do | intend to — they continue to cross

boundaries.

» At9:04am | received an email from Ryanne with the subject “Happy Easter.” To quote

the email “Happy Easter, Charisse! Hope you have a wonderful day. Lots of love,
Ryanne.”
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At 7:10pm | received an email from Dan with the subject “Happy Easter.” To quote the
email “Happy Easter! We love you! Dan”

Additionally, | received a 52 second voicemail message from Dan on Easter Sunday.
Reflecting on prior experiences, Dan and | did not speak on the phone, primary mode of
communication was through group text with Ryanne in the group. So not sure why he is
calling me, | have not listened to the message.

This is the HOOVER (Special Occasion Hoover and Hoover by Proxy).

This is completely distressing to me.

Thursday, April 15, 2022 - On my LinkedIn profile, | removed the Open to Work banner, as |
have accepted a job offer. | find it ironic / coincidental that Ryanne and Dan would reach out on
Faster Sunday after the last email communication on Thursday, February 17, 2022, where |
stated, “no need to continue to reach out. | will reach out to you all when the time is right.”

Most people would read through the message and understand, do not reach out, this
person does not want to talk with you. They are both oblivious to boundaries and it is
really weird that they cannot acknowledge and accept that | want space. They called
the cops to do a wellness check and | explicitly stated that that crossed a boundary and
that | would reach out to them if lam ready to talk. They just do not get it or do not
care that | no longer want to be in contact with them.

| am not sure what they are up to, but it is weird and is a HUGE RED FLAG. The “we love
you” love bombing and constantly asking if! want to spend the night.

o Manipulation — They know that | do not have a lot of family, so they use “We
love you” to get me to reengage with them.

o Control / Weirdness — Why would you continuously ask another adult to spend
the night at your house? | just never knew what to say, when this would happen,
because it was so weird. This is not the movie Get Out, part 2 the female
version.

o Plausible Deniability - While | cannot prove definitively that Ryanne and/or Dan
is cyberstalking me, there are too many coincidences. Remember, both Ryanne
and Dan have juris doctorate degrees and lawyers live and die by plausible
deniability — all the shades of grey / prove it mentality.

But this is what they do, one sends a text message asking to hang out and if | say no,
then the other one sends a text message asking if | want to hang out. | did not really
think about it before, until New Year's Eve —| just seemed like their marriage was on the
rocks and that when someone else is there, then everyone is on their best behavior.
Now, | do not know what they are up too.

Tuesday, April 19, 2022 — Put LinkedIn account in Hibernation mode. Given that Ryanne and
Dan have both reached out after | made changes to my LinkedIn profile, | am not sure in Ryanne
and/or Dan are continuing to monitoring my Linkedin profile. Strong coincidence from making
an update to my profile and them reaching out. Linkedin Hibernation — my profile won't be
visible to anyone, even your connections while your account is hibernated.
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@ 1:24-cv-05533-UA Document1 Filed 07/17/24” Page 340f136

INTERPRETATION (Revised)

| have spent a good amount of time reflecting on my friendship with Ryanne and Dan. | have to
say that Ryanne recording me during the times that | housesat for her and Dan and particularly
listening to my {therapy} sessions without permission, that is astounding bou ndary crossing
behavior. Further if she had someone reached out to me on LinkedIn to conduct a fake
interview, again that is astounding boundary crossing behavior. If this holds true, this is not the
first time that Ryanne has done this before (you don’t start this type of behavior at 42 years of

age).

Further, having an officer perform a wellness check because | have not returned texts or calls,
again profound boundary crossing behavior. In general, | can 60 for weeks, months and in
some cases, years not speaking with a friend and then pick up the relationship from where we
left off. Ryanne and Dan both know where | live. Ryanne’s yoga studio parking lot is literally
across the street from my building (I can see the lot from my window). Dan has come here to
help with the movers and help me setting up My dresser (it super heavy). This wreaks of
manipulation on Ryanne’s part, she knows that | know what she is up too and is afraid. And
Dan maybe oblivious or may not be. | do believe that Dan would have a hard time facing the
truth of the situation he isin, a psychologically abusive marriage.

in regards to the sudden call from Ryanne and the potential fake interview, | have no concrete
evidence that Ryanne knew about me not returning to Deloitte or that Katie Van Ewyk is her
friend. However, | do have my gut and my gut reaction to both of this situation was very
strong. Every other time that my intuition was that strong, | was never Wrong. And that is a
fact.

Going back to the details for Saturday, November 13, 2021 — Sunday, November 14, 2021 —
Ryanne stated that she was going out to town for a girls weekend celebrating a friend’s
upcoming cancer reconstruction surgery:

«The friend with the upcoming cancer reconstruction surgery is named Jenny. Jenny is
one of Ryanne’s best friends and works within the Marketing function of Coca-Cola in
here in Atlanta. Jenny has lived in Atlanta for a long time, prior to Ryanne and Dan
moving to Atlanta six years ag0- Why bring Jenny up? Well, in reviewing Thought Logic
Consulting’s website, Our Expertise > Supply Chain, there are two case studies noted
Change Management: Beverage and Automotive. The case study for Change
Management: Beverage is Coca-Cola.

o 'do not recall Jenny’s last name, however, there is a Jenny Hale, Manager,
Connected Commerce for Coca-Cola that may align with Ryanne.

» Forabitofa background, boutique (small) consulting firms typically work on a localized
basis (within the metro area). Based off of the email thread and discussion with Katie,
Katie confirmed that Thought Logic does their work locally. Coca-Cola is a key account
in which any consulting firm (e.g., MBB, Big Four and boutique firms) would use as 4
‘qualification’ to obtain new clients. Why? Coca-Cola is one of the strongest brands
globally, you can say Coca-Cola in any country in the world and people know exactly

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what you mean. This same mindset / premise (brand awareness / affinity) is used to
obtain new clients and new employees.
o Check out Uday Joshi, Thought Logic, Linkedin profile and you will see Coca-Cola
explicitly called out.

if | think back to the last couple of months, Ryanne talked about the following:

Her dad gaslighting her about her weight when she was young and saying that people in
the family were big boned (even though her brother is average weight)

Her parents questioning her about losing weight, asking if she had an eating disorder
Parentification, having to raise her brother and sacrificing for her sister

Having trauma from her childhood

Her mother not raising her and instead being raised by soap operas

Having birthday parties that did not focus on her but instead focused on what her
mother liked, such as the Gone With the Wind movie; or focused on what her father
liked, The Egg Bow! (college football game)

Her sister getting all of the attention, such as her parents building a pool for the sister
Receiving bad gifts for her birthday, Christmas and special occasions

That it was a great time to join Fox News after all the sexual harassment stuff

That Fox likes their people to be fit or keep up their appearances, including non-TV staff
She has called me asking me thoughts on her and Dan's situation, she works and Dan
does not work

co My Response: Whatever works for your family is all that matters

She has called talking about what Dan’s friends say about him not working and Ryanne
being the breadwinner, with Ryanne adding | don’t know what is wrong with Dan that
he would like people talk to him like that

o In September 2021 — Dan mentioned that his friends were making fun of him
because he does not work and care Elias and that Ryanne is the breadwinner.
Dan stated that he was okay with taking the verbal abuse from his friends
because one was an alcoholic and may not be the greatest father himself. |:
asked Dan if his friends knew of the life principle that you never make a nice
person angry, that even nice people had their limits. Why not just walk away
from the friendship instead of taking the verbal abuse? Dan stated that the
words that did not mean anything to him and he was able to brush it off.

o Friday, October 1, 2021 — Sent Dan a text about the Joel Osteen podcast The
Generational Blessing, as a way to build his spirits due to his friends making fun
of him not working and Ryanne wearing the pants in the family. Asked Dan to
listen from the 20 minute mark onward. However, he said that he did not listen
to the podcast

o 1donot believe that Dan’s friends actually sent the text messages, ! think that
Ryanne just needed attention and an opportunity to show some strength

Ryanne is new to therapy and in late 2020 / spring 2021, Ryanne partnered with Wendy West
LPC to complete Eye Movement Desensitization and Reprocess (EMDR) therapy. Is it possible
that undergoing EMDR therapy brought forth an underlying personality disorder? Did EMDR

10
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bring forth repressed memories that when hidden allowed Ryanne to function in a normal
manner? Did Ryanne’s psychiatrist and psychologist (she has both) mistake a lack of symptoms
for health? Or is this behavior consistent with who Ryanne truly is?

| think of the stories that she would tell of her old co-worker Andrew “andy” Kersting, General
Counsel Cumulus Media. Did Ryanne bug his office? Ryanne was never happy that Andy
worked there and was quite happy when he got fired. Ryanne always told the story of going to
church on Ash Wednesday and seeing Andy and being afraid and then leaving church. | guess
even the devil goes to church to repent their sins on Ash Wednesday.

« Reflecting on the some of Ryanne’s talking points of Andy over the years, she was quite
judgmental of him being a single man, that focused heavily on work and he had no
family. That always stuck with me, as |am no different that Andy, single woman,
focused heavily on work and does not have a lot of family.

To be honest with you, | had no idea that Ryanne had this in her. Ryanne and | were friends
because Dan and | worked together in Mississippi. | was Dan’s boss for almost two (2) years.
During this time, | got to know Dan and Ryanne. |! could always tell how much Dan loved
Ryanne, and | thought that was such a valuable trait (reverence for your spouse).
Unfortunately, something is profoundly off. \f Ryanne recorded my session, God knows how
many of Dan’s sessions she has recorded. Dan and Ryanne share the same psychologist, Dan’s
psychologist for the past twenty years (John / Jon from Jackson, MS).

» After reviewing a text message from Ryanne on Wednesday, December 1, 2021 — “Are
you up? Wanted to hear your voice. But just realized it is late” provides a bit of clarity.
Ryanne and | did not talk on the phone a lot, primary mode of communication was via
text and/or in person. Perhaps subtle projection of what Ryanne was up to — recording
me without permission while | watched her home.

As noted in passing comments by Dan and Dan’s sister Cyndi, Ryanne is very controlling. Funny
that Cyndi can see this clearly, as Cyndi lives in Alabama. Ryanne mentioned some time in
November 2021, “what if the therapist says that I'm not good for Dan.” Perhaps that
conversation has already occurred.

UPDATES APRIL 20, 2022 (NET NEW SECTION)

Between January 2022 — February 2022, there were three (3) instances in which there was a
white guy that | believe was following me as | walked Jax between 7am — gam. The first time |
saw this guy was in January 2022, he initiated a conversation as we were in a tight area
(crossing paths) while walking dogs (Jax is a Maltipoo and his dog was a German Shepard). The
second time, | crossed paths with the guy again, however, this time | felt his aggression but
smiled and maintained my cool. The third time was on Friday, February 4, 2022, | noticed that
he parked by Starbucks and walked in the opposite direction of me to cross paths. This time we
crossed paths but not on the same side of the street. When we crossed paths, he purposely
made his presence known but saying “Hello, hello, hello”. | did not verbally respond to the guy,
instead | stared at him intensely, until he repositioned his dog from a training stance and _
continued to walk. Once he continued walking, 100 ft he looked back and saw me continuing to

11
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stare at him. Once he rounded the corner from the Alexander dentist office, | quickly walked
home. Something was a completely off here, | felt scared.

« Description of the white guy noted above (same guy all three times)

o White male — mid / late 40s

Balding with hair on the sides of his head
Hair brown with red undertones
Eyes hazel / green mix
Height 510
Average build
Wears a Navy Blue jacket similar to the Marmot Echo Featherless jacket; no
hoodie (size possibly M / L); wears regular blue jeans, think Levi’s; with sneakers
o Car maybe a Hunter Green Toyota 4 Runner, older version not the latest model

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| have not seen this guy again (face-to-face) since, Friday, February 4, 2022. On March 17,
2022, | was a person that may have been this guy, but | was too far away to definitively confirm.

Going back to the details for Thursday, February 17, 2022 - Going back to calling the police to
perform a wellness check was all a matter of manipulation and control. In November 2021, |
shared with Ryanne and Dan an experience in which | quickly discovered that another person’s
behavior was deceptive, manipulative and toxic. As quickly as | uncovered the person’s
behavior, was as quickly as | left that situation. | have been consistent with telling Dan that he
should walk away from the verbal abuse that he was receiving from his friends, even though
Dan stated that “he could handle their behavior and that they have always been this way.” 5o,
while there may have been some genuine concern on Dan’s part in calling the police; from
Ryanne’s perspective, it may have been a matter of whether or not | realized what was going on
and if | would tell Dan. Since control absolutely paramount for Ryanne, my silence may have
caused her to spin (mentally / emotionally) on which is going to happen next.

Couple Dan’s perspective with Ryanne’s, two unknown differing standpoints, this time lead to
one conclusion — call the Cobb County Police Department to perform a wellness check. The
impact on me, is that this has been registered in the police system — leading to unknown
reputational impacts, particularly for a woman of color.

My thoughts...

Ryanne paid someone to impersonate Mickey Mouse when they took Elias to Disney World
after Thanksgiving 2021. She paid the actor, who actually acts as Mickey in the Disney park
$400 for a five minute call with Elias. | have the video of when the guy called Elias on Sunday,
November 28, 2021. Using this as a baseline, it would not be hard to infer that Ryanne hired
Katie Van Ewyk, Thought Logic to conduct a fake interview with me.

| still do not understand why Ryanne would always ask me to sleep over? If you do not like
someone, why befriend them, why ask them to spend the night? We are not children, we are
grown adults in our 40s. What type of example do you think that that sets for your five year old
son? It even got to the point that Elias would ask, “Is Reesie going to spend the night?” That

12
Case 1:24-cv-05533-UA Document 1 Filed 07/17/24 Page 38 of 136

was okay, when | would come up from Orlando to visit for Thanksgiving, but why would | spend
the night there when | live ten minutes down the road? | like my own place, my own bed, and
no matter the break ins in the complex, | do feel safe here.

it’s like she had some mind control / brainwashing craziness planned. Like Get Out the movie. |
don’t know. It’s weird. Particularly weird for a married couple. And when Dan asked if | was
spending the night on New Year's Eve, it was absolutely and profoundly weird, It’s
inappropriate. Why ask?

In the words of Ryanne from October 2021, see screenshot below. While this has been my
previous experience, this is also a form of projection; possible preview of upcoming plans from
Ryanne.

As much as we try to understand the madness of betrayal, especially betrayal in this phase of
life and length of friendship, sometimes we just have to accept what has happened and let

things go.

i’m loyal as they come, as long as my loyalty to you doesn’t disrupt my loyalty to me.

This is God’s battle.

13
Case 1:24-cv-05533-UA Document 1 Filed 07/17/24 Page 39 of 136 ~

POINTS OF CONTACT
Ryanne Duffie Saucier

Senior Counsel / intellectual Property Attorney — Fox Network

Former Employment, Contract and Intellectual Property Attorney — Cumulus Media
Degree: Juris Doctorate

601-317-5858 __

Daniel (Dan) Saucier

Realtor — Keller Knapp Realty
Degree: Juris Doctorate and Bachelors in Psychology
601-624-0283

Katie Van Ewyk,

Talent Acquisition Manager — Thought Logic
404-421-5628

Wendy West, LPC

Licensed Professional Counselor (EMDR) for Ryanne
https://wendywestipc.com
404-218-8141

Officer Glen C. Meyer

Cobb County Police Department, Precinct #3
Formerly of the Special Victims Unit (SVU), Domestic Violence and Stalking units
Precinct Number 770-499-4183

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INTERVIEW PREPARATION QUESTIONS

When you hear “tell us about a time when” or any similar request for a real-life example of how you’ve
handied an issue in the past, it’s time to implement the SAIL method. The SAIL method gives you a way
to provide a fitting example in a straightforward, compelling manner. SAIL stands for:
x Situation: What is the background? What problem needed to be solved?
« Action: What was your role? What actions did you take?
- = Impact: What were the results? What impact did it have?
= Learning: What did you take away from the experience?

GENERAL QUESTIONS
1. Tell me about yourself.

lam a HR transformation consultant with seven years of experience across Payroll and HR strategy,
technology service delivery and communications for Fortune 500 clients. Over the course of my career,
I’ve been driven by the opportunity to take on new challenges. | built my HR foundation at Deloitte
partnering with clients to design and deploy HR and Payroll initiatives focused on people, process and
technology. | have collaborated with clients to craft a Current State Assessment of their Payroll and HR
organization, laying the foundation to support follow-on initiatives such as technology vendor selection,
technology implementations and process optimization. | spent the first four years of my consulting
career focused on Payroll and HR strategy and operations. Most recently, | spent time focused on
Workday US Payroll implementations to further develop my strategic and tactical skillset. That all
brings me to today and why | am here.

i'm really excited about the Payroll Operations Program Manager role at Stripe and the opportunity to
be a part of the next phase of growth for an innovative and fast-growing company. | admire Stripe’s
mission to increase the GDP of the internet and am truly excited about what the future holds for the
organization. After speaking with Alessandro, | think that the Payroll Operations Program Manager role
is a great opportunity to support the expansion and growth of global payroll at Stripe.

I’m really excited about the Payroll Transformation Manager role and the opportunity to be part of the
next phase of growth for Snap, an innovative and fast-growing company. I’ve long admired Snap and am
truly excited about what the future holds for the organization. After speaking with Jay about the
position, | think that the Payroll Transformation Manager role would be great fit to leverage my
consulting experiences to support the multi-year global payroll implementation journey at Snap.

2. Walk me through some of your experiences from consulting.

During my time in consulting, | have worked with clients on a broad range of engagements, to include:
« Current State Assessments — Review current state Payroll and HR policies, processes, and
technologies, while conducting stakeholder interviews to identify what is going well, what are
the pain points, where are the process improvement opportunities and what are the
stakeholders expectations of HR and Payroll in the short-term and long-term
» Technology Vendor Selection — Partnering clients to develop functional, technical and security
requirements and build use cases / scenarios in the development of a technology RFP. As the

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Wi pw,

|
As | look forward to the'next chapter in my career, | am looking to work with organization as part of |

their transformational efforts. The ability to leverage my payroll consulting experiences to help with the |
expansion and growth of Stripe is exciting opportunity. And | would love to be a part of the that growth. |

‘4. Why Snap? Why are you interested in this job& |

lam interested in Snap and the Payroll Transformation Manager role for three reasons — Snap products,
culture and the role itself. When I think of Snap, | think of the quote, “if you want to go fast, go alone. If
you want to go far go together.” Over the years, | have watched Snap Inc. continue to innovative and
grow the platform with partnerships that have been cultivated with advertising agencies (e.8., WPP),
luxury fashion brands {e.g., Dior, Prada), sports leagues (e.g., MLB, Premier League) and travel brands
(e.g., Marriott} amongst others. For example, when | look at the partnership with Gucci and the sneaker
try-on lenses, this is functionality that is innovative, engaging and is a great business opportunity for
both companies. And | love Bitmoji!

As an outsider looking in, the theme of partnership is echoed through Snap’s values — kind, smart,
creative. If you think about the values as a braid, three values coupled together lay the foundation for a
strong community of individuals that can go far together. However, if one piece of the braid (or values)
is missing, the community is weakened, is less effective. In my experience, working with kind teammates
provides the ability to stretch, grow, and tackle complex activities. There are no limits to have far you
can go.

As | look forward to the next chapter in my career, tam looking to work with organization as part of
their transformational efforts. The ability to leverage my payroll consulting experiences to help with the
expansion and growth of Snap is exciting. And | would love to be a part of the that growth.

STRATEGIC MINDSET / PLANS AND ALIGNS

5. Whatare your biggest accomplishments related to this job? Please be specific, describing your
role in achieving the accomplishment and key outcomes, quantified when possible. Or Tell me
about the best innovative project that you have worked on.

Situation: We were engaged by a Technology client who was undergoing a M&A Divestiture to stand up
a Global Payroll organization, with a priority focus on managing the Payroll technology implementation
across 30+ countries within six months.

Action: My role was to serve as the ADP Streamline PMO Lead for +30 countries and support the ADP
Workforce Now implementation for the US and Canada. | partnered with the ADP Streamline
Implementation Project. Manager to align project plans, key milestones, and in country provider (ICP)
requirements. My approach was to:
«Partner with HR, Benefits, Legal and Finance to setup legal entity, social insurance, and payroll
registrations and benefit vouchers
» Maintain the daily Global Payroll RAID log, identifying project risks and issues potentially
impacting TSA exit timing, technology implementations, and change management activities
= ed and managed the Global Payroll process design documentation, reflecting current state ‘as
is’ processes (RemainCo) and future state end-to-end payroll process activities (NewCo}
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» Provide an overview of the organization's maturity level (current and future} based on five
dimensions
o Developing — Little or no maturity
o Basic Out-dated or inadequate with no evidence of ongoing corrective action
o Progressive — Most of the “table stake” practices are in place and there is a strategy
to incorporate some leading practices
o Advanced — Incorporates some leading practice with a clear strategy to continuously
improve
o Market Leading — Almost all known leading practices are implemented or in process
of being implemented
» Leveraging the Maturity Model leading practices, we are able to craft recommended
initiatives to move the client from their existing placement on the maturity model to the
desired / future state maturity level
o Example
» Current State — TA is cumbersome from both a candidate and HR manager
‘perspective (high abandon rate)
= Lead Practice — xX
= Recommendation — Streamline TA in a way that is engaging, mobile-friendly
and focused on the candidate experience
« Creating a Roadmap highlight the recommended initiatives, prioritized based on the
o Recommendation Prioritization
» Level of Effort — Project Duration, Degree of Change
» Compliance Priority — Organizational Benefit, Payroll Efficiency /
Effectiveness Improvement

Learning: The takeaway is that each current state assessment provides 4 window in the organization,
organization practices and the way in which Payroll and the cross-functional workstreams work
together. Data quality, data integrity, integrations and exception management are topics that seem to
emerge consistently across organizations and industries.

7. Tellme abouta project you initiated. What did you do? Why? What was the outcome? Were you
happy with the results?

Situation: The client was a spin-off subsidiary of a business process outsourcing (BPO) provider. At the
time of the spin-off, the client chose to retain the existing Payroll and Time & Attendance systems,
providers, policies and process — 32 payroll and 25 time & attendance systems globally. We were
engaged to enable Global Payroll Transformation, by analyzing the current state organization, designing
the future state organization, selecting the global payroll technology vendor and initiating the project.

Action: My role was to lead the current state assessment documenting HR, Payroll, and Time &
Attendance policies, systems, integrations, and data governance processes against business
requirements. We identified key stakeholders of the initiative, that would either need to approve of the
project, would be directly impacted, who would have significantly influence and could serve as Change
Champions. We held Regional Payroll Service Delivery workshops to review the current state and align
stakeholders to the future state vision. Crafted recommendations, roadmap and supported the business
case for Payroll, Time and Case Management implementations. As well as supporting the
Implementation planning, budget, governance enablement and kickoff activities
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The ability to influence people and/or teams is not something this is given with a job title, nor is it
something that is created overnight. Influence is built on the ability to create relationships with others
through authenticity, active listening, being consistent, and creating trust.

» Authenticity ~One of the first steps in building relationships includes sitting down and talking with
someone one-on-one (or ina small group setting), and sharing stories. Within small setting, there is
an opportunity to get to know someone and find shared likes / dislikes (commonality).

» Active listening — Listen to people’s point of view / opinion, and encourage people to speak Up,
especially those who often don’t voice their opinions. Take the time to respect and acknowledge
everybody's opinion, and let people know that | value them.

= Being consistent — As humans we are hardwired to look for safety, which can often be found in
consistency. In the workplace this can look like, | know that! can depend on Samantha because
even if she is not familiar with the subject matter, she will do the research, put together the
materials and set up time to walk through the knowns and the unknown knowns —i.€., this is notin
my wheelhouse but we could be onto something, what do you think? Essentially, it is consistency in
our actions and our words which can lead to trust.

«Trust — How do teammates know that they are safe with you? Do they believe that they can take a
risk with you? Trust is built over time, through building relationships, being authentic, being flexible
to differing opinions / approaches and being consistent.

10, How do you move forward with a project where multiple people have opposing views?
UPDATE WITH ANSWERS

Situation: We engaged by a Consumer Products client on a large-scale HR transformation engagement
to include the implementation of Workday HCM, US Payroll and ServiceNow. The HR transformation
journey will occur in conjunction with a global Finance transformation journey.

Action: My role on the project was to lead the Workday US Payroll workstream and facilitate the Local
Design US Payroll workshops.

Learning: Key takeaway here is that conflict is not always a bad thing and can actually strengthen
relationships.

Address the conflicting views

Listen to the differing points of view Don't close communication channels because you don't like what
you hear. Try to see where difficult stakeholders are coming from and put yourself in their shoes to
better understand their motivation and goals.

Make an effort to understand their point of view. If what they're saying is frustrating, ask yourself: Do
their needs align with your project's objectives? Do they simply want things done a different way? Try to
find common ground.

Meet them one on one

Determine their motivation —is there pressing business needs, do they understand the scope of work,
change resistance

Keep the team moving forward Listen to your stakeholders and strive to meet their needs — difficult or
not. Ensuring they're feeling heard, valued, and appreciated grows trust and support. Building
relationships and understanding motivation takes time and effort but will make your job easier in the
long run.
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calculated risks. Yet, she also is a Pioneer — who is spontaneous and loves to brainstorm on the fly,
while I’m a Guardian — reserved, | like to think things through and am detail-oriented.

Impact: With this understanding, we used our Business Chemistry results to our advantage, by dividing
work based on our personality types. For example, during client workshops she would facilitate leading
the client teams through discussion points, while | partnered with clients capturing missing talking
points / stakeholders who were quieter and handle their cards close to their chest. Our working
relationship worked quite well and clients noticed and were complementary of our style as well.

Learning: Key takeaway with Business Chemistry, it is one of the fastest ways, that | have seen silos
breakdown and for people to start to get to know each other. It helps with knowing the best way to
communicate with someone as well. Once you know someone’s Business Chemistry, you know whether
they like communication short and sweet or if they need all of the details.

13. Describe a time when you had to interact with a difficult client. What was the situation, and how
did you handle it?

Situation: We were engaged by a Technology client, as part of a M&A spinoff to standup a Global
Payroll organization. The scope of the project included management of Payroll Technology
implementations and to support the Operational Readiness and Change Management activities across
30+ countries within six months.

Action: My role was to manage the Technology implementation and support operational readiness /
standup activities across 30+ countries within six months. The scope and scale of the project was
complex and the timeline was ageressive. Difficulties on this project laid on the relationship between
the Finance Director and Payroll Director, particularly with their level of communication and trust.

Impact: The Payroll Director was new to this role, level of responsibility and the speed of M&A
activities. The Finance Director was a seasoned executive who was happy to give the Payroll Director a
chance, but was unnerved when the Payroll Director did not meet the Finance Director’s expectations. |
partnered with the Payroll Director to try to upskill their capabilities on project management, risk
identification, vendor management and cross-functional relationships. As well as partnering with the
Payroll Director that when an issue arises, to present the Finance Director with the issue, root cause and
viable remediation options to review prior to moving forward. Given the aggressive timeline and
activities, | stood as a proxy for the Payroll Director to support the implementations, cross-functional
relationships and mitigate issues as they arose.

Learning: Key takeaway here is that there were continued challenges over the course of project, as
tensions amongst the Finance Director and Payroll Director persisted through the entirety of the project.
Unfortunately, enterprise leaders were aware of the tensions and it may have been better to transition
the Payroll Director off of the project once they realized the Payroll Director could not handle this level
of work. Versus keeping the Payroll Director on the project from end-to-end and maintain a high level of
frustration.

14. Tell me about your best collaboration experience.

Situation: We were engaged by a Technology client, as part of a M&A spinoff to standup a Global Payroll
organization. The scope of the project included management of Payroll Technology implementations
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o Utilize the daily stand up meeting to lead with focus on the vision, key objectives,
milestones and activities to move us to the defined ‘North Star’. Use this time to ensure
that priorities are clear, blockers are addressed and questions are answered.

» Empowerment — People want to feel as though they have some level of control over the
project’s success — and that they have an impact. Knowing they are empowered to make
decisions within specific guidelines enables motivation and engagement.

« Appreciation - A simple thank you can g0 4 jong way! It is amazing how much of an impact being
appreciated has on a project team member's level of engagement.

» Bakein Psychological Safety — Create the space for team members to fee| heard, valued and
respected. The team members are encouraged to take risks as there is a broader team there to
support them.

47. What to do if a team member is not participating?

From a high-level, | see this as an issue that has the potential to impact the overall team and project
deliverables. It is always important to understand the root of the issue, before jumping to conclusions.

Situation: While working on a long term Payroll engagement, there was a team member who was
noticeably distracted — there was a lack of detail within their deliverables, they missed internal
meetings. They were just off their usual game.

Action: | approached the team member on a one-on-one basis and asked them how they were doing.
initially, there were quiet and apologized for missing meetings and for the deliverables not being up to
par. | asked if there was anything that | could help them or if they needed to take the afternoon off to
relax. The project was intense, So | could total understand needing a break. They stated that they
appreciated the opportunity to take the afternoon off. And continued with stating that their mother
had recently received a cancer diagnosis. To put it simply, they were stunned.

Impact: We had a long conversation about life and what to expect next. We focused on controlling the
controllables — workload, being present for their mother and self-care. We reviewed the Firm’s benefits
‘materials and developed an action plan fora reduced work schedule, self-care and staying connected.
The team member took a leave of absence to be with their mother. Eight months later the team
member returned toa full-time work schedule.

Learning: Key takeaway here is that you never know what people are going through. Kindness goes a
long way.

18. How you describe a good work relationship.

A good work relationship requires open communication, respect, trust and personal integrity.
» Open communication: all good relationships depend on open and honest communication.
Whether you're sending emails or IMs, or meeting on video calls, using direct communication

helps you connect better with others.

«» Respect: teams working together with mutual respect value one another's input, and find
solutions based on collective insight, wisdom, and creativity.

«Trust: when you trust your team members, you can be open and honest in your words and
actions. And you don't have to waste time or energy "watching your back."
Case 1:24-cv-05533-UA Document 1. Filed 07/17/24 Page 46 of 136

Nino. agar UAnelcAty

process documentation and contacted the Business Transformation Senior Manager to discuss what was
noted in the valuation report.

Impact: After a series of escalation calls, we discussed in detail the HR Technology architecture of the
client, as well as the multiple components included in the HR technology landscape. | partnered with
the business team to update the HR and Payroll technology inputs as a whole and the valuation report
was amended.

Over the next 36 hours, we continued to partner together to review the valuation report virtually prior
to the report being sent to the client and/or potential buyers (equity firms).

Learning: Key takeaway here is that this was my first M&A engagement at a new firm, the ways of
working from one firm to another was similar with noted differences. In working with this Business
Transformation team, the Senior Manager noted they had not worked with HR before and did not have
insights in HR technology. Hence the default to ADP Payroll. We talked through the fact that the
Finance technology systems used throughout the company was Oracle EBS; so, their initial
understanding was that there was only one HR and Payroll system to support the organization. They
were shocked to understand the number of different systems used to support the HR and Payroll
functions. Good lessons learned on information silos.

21. Tell me about a time when you were asked to do something you had never done before. How did
you react? What did you learn?

Situation: My first four (4) years in consulting were focused on HR and Payroll strategy and operations,
however, | wanted to learn the configuration of a leading HR technology platform to become a stronger
HR / Payroll strategist and engage with clients on a deeper level. So, | began a journey to learn and
implement Workday US Payroll which is quite technical in nature, deeply contrasting with previous
strategy projects.

Action: | attended Workday HCM and Workday Payroll training and became certified in both functional
areas. Shortly thereafter, | was staffed on my first Workday Payroll implementation, in a Payroll Lead
role. Over the next eight months, | configured and implemented US Payroll earnings, deductions,
ledgers, account posting, rules, payslip configuration, dashboards, etc. And also reconfigured Workday
Expense items, expense item groups and account posting rules for US population

Impact: My first Workday US Payroll client successfully went live! The client was happy with the overall
implementation, appreciated the knowledge and skillset that | brought to the project from a strategy,
configuration, and project management perspective.

Learning: Key takeaway here is that through this project, | was able to immerse myself into the Workday
Payroll and Expense modules, as well as Time, Absence and Benefits. It was a tough, but great learning
opportunity and solidified my career goals of managing projects from strategy, execution and
operations.

22. Tell me about a situation where you had to solve a difficult problem. What did you do? What was
the outcome?
Case '1:24-cv-05533-UA Document1 Filed 07/17/24 Page 47 of 136

Ng Varden is

Moore’s law states that technology doubles every two years. Recently, it seems like technology doubles
within 12-16 months. There is a quote that while it may not be proper English, it states the reality of the
world that we live in today — “Always be learning.”

| prioritize being open, learning about areas of interests and new areas to stretch myself. Most recently,
this has shown up in career by working on both strategy and technology configuration projects. In my
earlier career, this showed up by work in Energy / Renewable Energy and Hydro Fracturing projects.

Today, | challenge myself by working in fields that demand continuous self-improvement and growth.
Payroll is heavily based on global labor laws that are every evolving, in conjunction with country-specific
data privacy laws. Technology that is the engine to run payroll is constantly evolve as well. Users of
Workday will attest to the biannual releases of new functionality across the platform. In addition to the
use of Machine Learning embedded in the product.

| have a goal of setting aside four (4) hours of learning during the work week, in addition to four (4)
hours of learning over the weekend. | bake in time to learning materials that are directly related to work
or my career, in addition to new areas (taking an Artificial Learning class on LinkedIn).

25. Tell me about a time that you failed.
To me, failure is about not meeting expectations — others’ as weil as my own.

Situation: We were engaged by a Manufacturing client to perform an assessment of their HR
operations, specifically within the Supply Chain organization. Our work included an end-to-end HR
process assessment and an HR Work Activity Analysis to understand how time is spent to support the HR
organization and which processes require the most inputs from various stakeholders.

Action: My role on the project was to lead the HR Work Activity Analysis. The project team consisted of
five (5) team members including myself; three team members located in the US and two team members
located in India. Each of the team members were new hires to Deloitte and new to consulting. And
none of the team members went to Consulting training prior to joining the project.

Impact: For this engagement, | did my best to conduct on the job training with the new consultants, and
led the majority of the work on the project. Unfortunately, one of the new consultants struggled to
complete tasks that were assigned to them. Over the course of two weeks, | partnered one-on-one with
the consultant. At first, | partnered with the consultant to see if ] was explaining the task incorrectly and
checked for their overall level of understanding. | then assigned the consultant tasks that aligned with
their previous job experience. The consultant was not able to get up to speed.

Given the constraints of working with other new team members and client deliverables, | spoke to the
Senior Manager about the new consultant's challenges. 1 suggested that the new consultant attend
Consultant training instead of working the project. The goal for the consultant to be able to set up for
success in the long run. The Senior Manager was aware of the challenges and agreed, transitioning the
consultant to training versus the project.

Learning: Key takeaway here is that right thing to do, can often be the hardest thing to do. | did not
want to crush someone’s spirit. As a coach, | felt like a failure because this time | was not able to work
with this consultant enough to get them up and running. | prioritized working with the other new
Case 1:24-cv-05533-UA © Document 1 ‘Filed 07/17/24 Page 48 of 136

Nita, v: Varddln runny

For small HR strategy projects, we use Excel to create project plans, RAID logs, RACI charts (when
needed).
Amongst Deloitte teams, we utilize Teams, One Note and internal tools to manage client project.

We use Teams as a project repository.
» For each project there is a naming convention for deliverables
o Work In progress deliverables: Client X_Current State Assessment_2022.04.01
o. Finalized deliverables: Client X_Current State Assessment_vF
« Deliverable creation follows the path of creating and storing draft deliverables on Deloitie
Teams
= Finalize deliverables are stored on Deloitte Teams, in addition to storing the deliverable on the
client’s Teams / SharePoint / Box site

| hold daily stand up meetings scheduled for 30 mins Monday — Friday. Typically, stand up meetings are
15 mins; however, | add extra time to give the team time to communicate with each other given
conflicting time zones. We look to give back time where we can.

= What did | work on yesterday?

« What am | working on today?

« What are my blockers?

| keep detailed notes from each Daily Stand Up meeting, which is also stored on Teams.

Managing the project budget is typically performed at the Senior Manager level. However, | do have
experience creating Business Case deliverables which include the current state OPEX and future state
CAPEX and OPEX expenditures.

28. How do you prioritize tasks?

| manage projects and my workload by reviewing the Project Plan on a daily basis to understand what
are the critical project milestones, review where we are in the project, what are the tasks and activities
that need to be performed to move us from point A to point B. Are there dependencies that needed to
be reviewed, are others dependent on us for information. Look to identify and address potential risks
and stakeholder concerns, as a project priority.

Then I look for quick wins in the morning, so any task or activities that can be accomplished in the
morning | work on that first. Tasks or activities that include a team member from a different time zone
(e.g., EMEA, India) are also pushed to the morning.

For larger tasks or activities, | block off time on my calendar and swallow the frog, so they say. | am
heads down working on tasks and activities to completion. During this time, | am still available;
however, you may notice that my Outlook availability is set to busy, vs. available.

29. Tell me about the invisible work that you work on.

Invisible work defined by socialist Arlene Kaplan Daniels, describes women’s unpaid labor that while
integral to the functioning of work, is not regard as work and is culturally and economically devalued.
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Filed 07/17/24

124 Page 50 of 136

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1-cv-05533-UA Document 1. Filed 07/17/24 " Page 51 of 136

Potential Trigger for 2021 Oxford Mass Shooting
noallav 80, WU

| am the victim of a multi-year hes scheme, my name iGo ee with
timelines from 2021 - Present, possibly earlier than the provided timeline.
Charisse S. Moore - "i" hake te! copofinah sat of EE ES

— Charisse S. Moore is a UNITED STATES O AMERICA CITIZEN

Scenic Productions
— Ryanne Duffie Saucier, Dan Saucier, Terry Duffie, Sharon Duffie

Vanderbilt University
— Tara Duffie

Nova Southeastem University and/or Broward College
— Ingrid Jones

Overview
2019 - 2021 | Charisse S. Moore - Orlando, Florida resident

— November 12, 2020 - Texted me and asked whether | would come to her house in Smyrna,
GA, for Thanksgiving. | stated that | would not come to Thanksgiving due to the COVID-19
pandemic. | stated that | was considering moving to Atlanta, GA.

— April 2021 - Visit to Atlanta, Georgia, to look for apartments in the Buckhead area Dan and
Ryanne (maybe more Dan). Ryanne Duffie Saucier spoke of Dan Saucier having COVID-19 in
March 2020 and not being able to get into hospital at Emory, 45 the focus was on Black
patients. .

2021 - 2022 | While a resident at the lense fhe 4). apartment complex in Smyrna,
Georgia, | believe that there were HIDDEN CAMERAS installed in my apartment and the following
activities took place:

_— June 1, 2021 - Ryanne Duffie Saucier and | (1! dayiei sent me text messages when | moved
to Smyrna, Georgia, that if | ever needed anything to please feel free to reach out.
mei ah ian resides in Smyrna, GA with her two children and her husband, Derek, who
serves as the Mayor of Smyrna.
— Contact AT&T to obtain text messages from June 2021
— June1, 2021| Welcome to Smyrna, Georgia (Atlanta, Georgia)
— [spent the weekend at Ryanne Duffie Saucier and Dan Saucier, as they were out of

town. Their babysitter for Elias was at their home in Smyrna, Georgia for the weekend,
with her boyfriend. The babysitter and her boyfriend (unfortunately, | do not remembe
—

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their names) slept upstairs and | sle
room.
— The babysitter was a student at the

pt where | usually slept, downstairs in the guest

University of Georgia, in Athens, Georgia. Dan

Saucier has a sister and nephew that also live in the Athens, Georgia area.

— The babysitter and | had multiple conversations about her attending a friends wedding

that celebrated the indian culture. At this same time, | may have shared a vision that |
had for a multi-cultural show to help people see that we have more in common than we

do differences.
June 2021 | Time at the pool with The Sa

uciers

— Dan Saucier invited me over to his and Ryanne Duffie Saucier'’s home, as they
(including Elias Beaux Saucier) were going to the pool and were going to hang out at

the house after the pool.
couple stating that they were going
comment gave me pause as they sa

| remember a couple with children coming to the pool and the

to Jamaica on vacation. At the time (June 2021), it
id “Jamaica”.

— Note: This comment may be nothing or there is much more to the story that | do not
know, because | do not understand a couple of scenarios that happened that lead up to

Charlotte.
June 2021

— : ut t w

ae, - Ryanne Duffie Saucier invited me to and picked me up to go and get a

manicure and pedicure at Nail Fever in the Vinings Commons.
— There was a particular issue with using OPI Infinite Shine products.

June 30, 2021 - In the Target parking lot,

an African guy named Charlie backed into my car

while reversing out of his spot. Charlie was driving a White Honda Accord, late edition with a

Georgia License Plate RYH7179.
— |did not call the Police Department

due to the limited damage to my vehicle and felt

okay. | reasoned with him that given everything that happened during the pandemic,
that this is not as big of a deal (compared to the death of all the people in the US and

around the world).

— Location: Target, 2201 Cobb Parkway SE, Smyrna, GA 30080 (:::-

. ij Layiyii ayy if )

[potrced vet peek ey

June 30, 2021 - An African man named Charlie backed into my car in the Target parking lot.
— White Honda Accord, late edition - Georgia License Plat RYH7179
— Did not call the cops, due to the limited damage and I'm okay

— Location: 2201 Cobb Pkwy SE, Smyrna,

1

— Professional website: i). .//
june 30, 2021 - Had a session with +" ui

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cypaad dbs

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bet te AP oy fib byes

bate, }oteved yey ha BYES pia pea hadith st

Week of July 4th, 2021 - Ryanne Duffie Saucier referenced “Mariposa”, which is the logo for

hang bb bah ed pect hadiu ttc

jy otar, business |

ehqnirp te de

August 2021| Conservation about Ryanne Duffie Saucier joining Fox News
-— Ryanne, Dan and | hada conversation about Ryanne Duftie Saucier joining the Fox

News team and how Fox News has changed.

| was happy for Ryanne to join the Fox

News team and told her about an old friend that worked at Fox News and how

successful that person looked from

her Linkedin. Ryanne and | then talked about
“Case 1:24-cv-055: IA Dor 7/0, Dana ua
24-cv-05533-UA Document1 Filed 07/17/24 Page 53 of 136 :

clothes that we wore at work. | specifically noted that | like to wear crew neck tops, SO
that “there is no funny business”. Meaning focus on the work and be respecttul of
myself and people's families. Ryanne looked at me kinda of strange, but | understand
because the comment came out of nowhere. | then switched the subject to tv shows
and movies and talked about the movie <4 | showed Dan and Ryanne have
pictures of my family (Sir Patrick Allen's family) and my Mom's home in Boca Raton,
Florida. My intention was to show the diversity of family, as Dan mentioned a couple of
times that he has no-racial siblings that he would like to meet from Mississippi.
October 3, 2021 - Prggities LU: 8 be invited me over to watch College Football with her,
Dan and Elias. All of a sudden, a gentleman came to the backdoor of their home at 3335
Hidden Trail SE, Smyrna, GA, with beers ready to watch football. | noticed the gentleman
immediately and told Dan. Dan met with the gentleman outside, talked to him and the
gentleman gave Dan a beer.

October 7, 2021 - Ryanne attended a Deloitte-hosted team dinner for the |: project with
me in Atlanta, GA. thls Cemanhing, ae team leaders in attendance - Kelly Taylor, oii:
— Ryanne seems to get into a bit of a conflict with oo i dae wife at the dinner,
which was embarrassing. For some reason Ryanne started to talk about getting married
at Disney and comparing beauty products, cleaning and washing clothes schedule with

pore ihtre wife.

— From Ryanne's Linkedin profile, she proudly proclaims that she is a second generation
Media attorney. She has never stated that she does not like her work. In fact, during
the Deloitte dinner that | took her to in October 2021, she proudly proclaimed to the
table that she loves her work and that she is a“gunloader” (Attorney Strategist).

— See the picture which bytes Pee ee was the photographer.
October 9, 2021 - Based on Facebook research, Ryanne in the blue dress did not look like
Ryanne from the «i. dinner.
October 15, 2021 - Received 2 ii ee oy es Job Offer - Global Payroll Program
Manager
Fall 2021 - Spent the holidays with «your pri ih eh and toc eegorai in Atlanta, GA, to

include, Halloween, Thanksgiving, Christmas and New Year's Eve.
_— Late October 2021 - Ryanne Duffie Saucier encouraged me to come to their house for
Halloween.

Halloween 2021

—

October 31, 2021 | On Halloween, ivente! retype glia mentioned housesitting for
neighbor's cat with the Confederate flag - ye Pe eh uy neighborhood in Smyrna,
Georgia right in front of her neighbor's house and the neighbor's house was located near the
playground in the neighborhood.

Dan spoke with their next door neighbor who is a Tax Manager at Publix outside for an hour. |
started to walk over and talk tobe 8b their neighbor, and Dan and Ryanne’s friend from
Be et aes (they had two children - a boy and a girl) but decided not to

" interrupt their conversation.
Case 1:24-cv-05533-UA Se
ov-05533-UA Document 1. Filed 07/17/24 Page 54 of 136

-_ Note that -ovowe in

mots actively highlighted her son wearing Minnie Mouse slippers

to be “just like his mom”, in addition to Ryanne and Dan allowing their son to come down the

stairs and outside unclothed.

— NOTE: During this time, Ryanne Duffie Saucier mentioned “iriki “grooming” child

abuse. Ryanne may have been referencing something to this nature, | am not sure, as ! did not

ask and was not interested in the talking point.

November & December 2021 | Spent the holidays with tiy vie Fee Soypee and trie} ce bs i

Atlanta, GA, to include, Thanksgiving, Christmas and New Year's Eve.

— Between October 31, 2021 - November 2, 2021 - Ryanne invited me to spend the night at
their house (3335 Hidden Trail SE, Smyrna, GA) for unknown reasons. | finally spent the night
at their house on the last game of the Atlanta Braves and Houston Astros World Series playoff

game. We fell asleep downstairs on the sofa in opposite positions. | woke Ryanne up around
2am EST, so that she could go upstairs and fall asleep with her husband, |i ooh bs: | went

into the guest room downstairs and fell asleep.

-— November 3, 2021 - Woke up and saw the good news that the Atlanta Braves won the World

Series.

— November 5, 2021 - Hung out with joist obey Paygi es DUDE eG eriee foal Meus
Holden Realtor and her husband at 1. Ve! to celebrate the Atlanta Braves winning the

World Series

— OFINTEREST: ie” babes bee Free epy EO TEC ih a DM eg bons EEN De hyde

aS i eafsay CTA dae ES } 1

_ November 9, 2021 | Ryanne Duffie Saucier sent a text message to Charisse S. Moore.

— OF SIGNIFICANT IMPORTANCE: Prior to sending this text message, Ryanne stated
that she had twenty (20) pages of homework to do in The Dialectical Behavior Therapy
Skills Workbook prior to her next therapy appointment with bi vor Wee, Ryanne
knew that she was not able to get all of the homework done and was afraid of getting in

problem.

— November 10, 2021] «:"” les or TAT ti! reached out to me (out of nowhere) and
shared that she had Stage 3 Breast Cancer, tcried and did not understand why she did not

reach out to me earlier. | stated that | would have dropped everything to help Brenda and
Michael out with the boys - James, Alexandet and William.

-— During this call, Brenda stated that she does not talk to any of her friends from

Miami - Linda, Suzie Riccardi, Rosemary Rosas, Stephanie Moyers, Maria and

Annie Kozikowski.

_ |was shocked, as they are some of her strongest friendships that | knew of off

the top of my head.
— November 11, 2021| Could coc Be The Celebrity Behind Jester mask? | Season 6
Episode 9

— oipige fives: I pik AMV bee Suse |p s

_ OF SIGNIFICANT IMPORTANCE:
_ ee to ee

spoke to bes pat cd

Ppt ges ba about the movie -.. L specifically said, don't
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ever jet me get to the point of becoming |." ~ , We talked about Mr.
Robot, Shutter Island and other movies
Mid-November 2021 -iecivial yu then it reached out to me (out of nowhere) and

shared that she had Stage 3 Breast Cancer, | cried and did not understand why she did not
reach out to me earlier. | stated that | would have dropped everything to help Brenda and
Michael out with the boys - James, Alexander and William. I
— OFINTEREST: During this call, Brenda stated that she does not talk to any of her
friends from Miami - Linda, Suzie Riccardi, Rosemary Rosas, Stephanie Moyers,
Maria and Annie Kozikowski.
— |was shocked, as they are some of her strongest friendships that | knew of off

the top of my head.

“Remember, yOu can't make new old friends. Brenda Cecelia Duenas Hill.
November 16, 2021 - Submitted Letter of Resignation to Ji re eo Ye Although,
| provided two (2) weeks as part of the resignation process, | was let go immediately.

— NOTE: ! went to Dan Saucier and Ryanne Duffie Saucier’s house for dinner and shared

with them the news that Lleft ley es angie and Ryanne Duffie Saucier
smiled, while Dan Saucier said “Wow, | wish that we could communicate like that”.
November 24, 2021 - Spent Thanksgiving Day with orator eb joyce, and
Elias Beaux Saucier in Smyrna, GA. We watched the Macy's Thanksgiving Day parade starting
at 9am and had Mimosa’s with Veuve Clicquot. | brought Veuve Clicquot, iinet! monary
olives, and pies from the i Hiairt Whey | oun ny (in the Vinings).

— Note: | asked Dan Saucier what Ryanne Duffie Saucier's Love Language was in
November 2021, aS part of her birthday present. | ended up purchasing Ryanne Duffie
Saucier a’ i885” (pS esuatn ie! idaee in the shape of a bow from fen tte ie

Coors Baan, in addition to a biblical inspiration book focused on women
November 28, 2021 - December 3, 2021 - | offered to housesit for !faie. Sidi Sal hl
and Dan Saucier at their home 3335 Hidden Trail SE, Smyrna, Georgia, as there was a series
of issues at Elevate West Village in Smyrna, Georgia
— November 28, 2021 - Ryanne played the voice recording of the Mickey Mouse
impersonator for Elias with directions that they are going to‘ Wi osa ay Wu in
Orlando after Thanksgiving 2021. She paid the actor, who actually acts as Mickey in
the Disney park $400 for a five minute call with Elias. | had the video of when the guy

called Elias on Sunday, November 28, 2021.

yi LYE Saino? 1S obsessed with all things ii rns. woobland applied
for a job at Disney and did not get it.

— November 30, D021 - font Peis ee 4 asked to me text jghtbey pat eks when | was
ready to head over to i ee rate ah aes “to pick up the Christmas Wreaths
that Ryanne texted multiple times to order.

_— Review text messages toffromi wife related to Christmas
Wreaths from > Go decaptete 0 on / faut, Laura Norton noted that

the pickup location was 4115 Concord Rd SE, Smyrna, GA. | picked up the
Christmas wreaths for myself, as well as the Sauciers.
— NOTE: © for the payment of the Christmas Wreaths and this was on
Case 1:24-cv- 5533-UA es :
05533-UA -Document1 Filed 07/17/24 Page 56 of 136.

of the few times that | have used PayPal (this may have been the first time
that | used PayPal).

— December 1, 2021 - After reviewing a text message from ee Te
coer 7 ON Wednesday, December 1, 2021 - "Are you Up? Wanted to hear
your voice. But just realized it is late” provides a bit of clarity. Ryanne and
| did not talk on the phone a lot, primary mode of communication was via
text and/or in person. Perhaps subtle projection of what Ryanne was UP
to — recording me without permission while | watched her home.

mH iyi babes eh Be strongly encouraged me to use her bathroom because |
was not feeling well after taking the Moderna COVID-19 vaccination.

— Dan told me that they (Ryanne, Lan, Elias and Cyndi - Dan's sister) wore masks
at ah hat Pint te

— Cyndi rth! 's sister)later told me that they did not wear masks at all.

Potential Trigger for Oxford Mass Shooting

November 30, 2021

Per Wikipedia, The Free Encyclopedia, “On November 30, 2021, aire wees occurred at)!» J
rich oo hoolin the | peck naan of fpiois rene Ty Mictacdany United States. Ethan Robert

Crumbley, age 15, armed with a 9mm oo ypeptoyiadedes CHT hue, murdered four students and injured
seven people, including a teacher.
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Talk about recruiting experience, excitement about joining Stripe ~ Za Nia, Peed “Tel, Pi Kap
Talk about Ryanne and Dan, play the message from Dan |
Talk about what has been uncovered |

Chronic complex dissociative disorders and borderline personality disorder: disorders of |
emotion dysregulation?

Dissociation is a process that provides protective psychological containment, detachment from, |
and even physical analgesia for overwhelming experiences, usually of a traumatic or stressful |
nature. Dissociation is conceptualized as analogous to the “animal defensive reaction” of
freezing in the face of predation, when fight/flight is impossible [1, 2]. Dissociation is defined in
the DSM-5 as a disruption of the usually integrated functions of:
« consciousness (e.g., trance states, non-epileptic seizures, pseudo-delirium);
» memory (e.g., impairment of autobiographical memory, that is, dissociative amnesia);
= awareness of body and/or self (depersonalization; e.g., feeling numb, watching oneself
from a distance as if in a movie};
« environment (derealization; e.g., world appears far away or “foggy”; familiar
places/people seem unfamiliar or strange; tunnel vision);
« identity (e.g., confusion about one’s identity; experiencing discrete and discordant
senses of self-referred to as “identities”, which we refer to here as “dissociated self-
states”.

Etiology
One of the strongest predictors of dissociation is antecedent trauma, particularly early
childhood trauma, as well as difficulties with attachment and parental unavailability

Exposure to multiple types of trauma over multiple developmental epochs is associated with a
wide range of clinical problems including emotion dysregulation (numbness, dissociation
alternating with hyperarousal and emotional flooding); behavioral dysregulation (impulsive,
self-destructive and aggressive behavior); identity problems including difficulties with body
image and eating disorders; disruption in meaning (e.g., feeling life has no purpose);
interpersonal problems; and somatization and medical problems including chronic fatigue,
heart disease and autoimmune disorders. These disorders are also common co-morbidities of
patients with chronic complex DD

Epidemiology

Dissociation during and after the repeated episodes of abuse allows the child to psychologically
detach from the emotional and physical pain, in turn potentially resulting in alterations in
memory encoding and retrieval [58]. Over time, this leads to fragmentation and
compartmentalization of memory, as well as difficulty retrieving memory (13, 23, 59]. Exposure
to early, typically chronic, trauma results in the elaboration of discrete physiological,
psychological, and behavioral states that can persist and, over later development, become
increasingly developed, ultimately resulting in dissociative emotional/behavioral/memory self-
states [13].
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Clinical presentation and comorbidity

The vast majority of DID patients have subtle presentations characterized by a mixture of
dissociative and PTSD symptoms embedded with other symptoms such as posttraumatic
depression, substance abuse, somatoform symptoms, eating disorders, personality disorders, .
and self-destructive and impulsive behaviors [23, 61]. i

Research indicates that DD patients show greater ability to be logical, reflective, and reality-
based than BPD patients

Neurobiology of dissociation: common underlying neural pathways in PTSD, BPD, and chronic
complex DDs

Two subtypes of acute trauma response have been found in a range of neurobiological studies,
one primarily involving dissociative symptoms and the other predominantly intrusive,
hyperaroused symptoms, these symptoms may underlie some forms of emotion dysregulation
in trauma-related disorders, including PTSD, chronic complex DDs, and BPD [68-70]. These two
subtypes of dissociation have been described as primary and secondary dissociation [16].
Primary dissociation refers to the re-experiencing/ hyperaroused type of dissociation and
includes the classic PTSD symptoms including intrusive recall, flashbacks, and nightmares. In
contrast, secondary dissociation is characterized by such symptoms as numbness,
depersonalization, derealization, and analgesia responses.

Rorschach

The Rorschach Comprehensive System RCS; [133] has documented distinctive personality traits
of DD patients [134-137]. Two studies compared DD patients’ protocols to published BPD
norms [138] to determine which features distinguished the disorders [134, 137). DID patients
demonstrate a heightened capacity for introspection {FD} and cognitive complexity (blends)
when compared with Exner’s norms for BPD patients | 134).A sample of DID patients showed a
tendency to become caught up in inner experience (lower Lambda scores) and significantly
higher capacity for intellectual self-reflection (high FD and V scores) when compared to BPD
patients [137]. Scroppo et al. suggested that a fundamental difference between DID and BPD
was the tendency among dissociative individuals to “alaborate upon and imaginatively alter
their experience” (p. 281) in contrast to BPD patients, who simplify experience and respond in
an affectively driven manner. This lead Scroppo et al, to the conclusion that DID is a relatively
distinct diagnostic entity from BPD, one that is more “imaginatively based” and relies upon a

“cognitively complex response style”.

s Key Insight: | did a Rorschach test when | was five years old and in the second grade.
The test was taken as part of an iQ requirement, as the second grade teacher wanted to
put me back a grade. Instead | was given the opportunity to move to the fourth grade,

my parents (i.e., mom) let me decide for myself. | told my mom, that | did not want to
move to the fourth grade because the kids were so much bigger than me.

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Compared to the BPD group, the DID group showed greater: self-reflective capacity (higher FD),
ability to modulate emotion (lower CF + C — FC), social interest (higher Sum H), accurate
perception and logical thinking (lower X- and WSUM6)}, and ability to see others as potentially
collaborative (higher COP). individuals with DID also produced an unusual degree of |
introspection (FD = 2.72), suggestive of “self-consciousness and soul-searching” [139], p. 160. |
The large between-group effect size in FD suggests that this trait may helpful in differential
diagnosis. The greater capacity for or tendency toward introspection in individuals with DID
versus BPD may allow DID patients to reflect on their behaviors and feelings in relationships,
including the therapeutic relationship, possibly enabling them to benefit more easily from

insight-oriented therapy.

Although DD are associated with tremendous suffering including the loss of a continuous sense
of one’s self and one’s memory, theorists suggest that dissociation provides some protection
from the overwhelming danger and tumultuous emotions [13, 141). Perhaps BPD patients could
not find as ready an escape as could DD patients from early adverse experiences. Armstrong
[1.41] theorized that their greater ability to dissociate places DD individuals on an atypical
developmental pathway, rather than leading to developmental arrests that are theorized to
occur with BPD individuals [142]. Due to having periods of amnesia for some of the trauma they
experienced, often perpetrated by the caregivers they loved and were dependent upon @.B.,
[53], DD individuals may have been able to, despite being maltreated, continue to view others
as potentially caring, at least in some self-states. Their increased ability to compartmentalize
and “not fully know," thereb artly avoiding feelings of betrayal and awareness of the

to DD patients’ rtive relationships. Findings of personality
strengths, especially in relational capacity, are in line with research showing that dissociation
preserves attachment even in the face of betrayal and abuse by caregivers

Most of the current research suggests that treatment for complex trauma individuals with
moderate and severe dissociation should be staged such that emotion regulation skills and
management of dissociative symptoms are taught before trauma processing begins.

DD patients are often extraordinarily fearful of inner and external reminders of trauma and
the related emotions that such reminders trigger €.B., [174]. According to the structural model
of dissociation, there is a core phobia in DD individuals who avoid the full realization of trauma
and its effects. Steele and colleagues conceptualized the staged treatment of DD as overcoming
various phobias, including of dissociated self-states, emotions, attachment, traumatic material,
and intimacy. This phobia of trauma and emotion, often structuralized into dissociated self-
states that often vary by emotional and traumatic content, must gradually be understood and
resolved during therapy, along with overcoming fundamental skill deficits in affect regulation,
among other treatment tasks.

netos://wwwow.nebi.nim.nih.gov/pme/articies/PMICAS79934/

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Page 61 of

Crate 8. Niet Nt a Danni ley !

When | have a problem, big or small, I'll have to face it alone, don’t ever ask for help.

Showing my vulnerabilities, my likes and dislikes, can be dangerous, can be used against me, it’s
better to always put up a cheery face and not talk about it.

Robert Torbay, Self-Identified Narcissist, Quora - The philosophy | have when it comes to
narcissistic abuse is this —to overcome this experience, you will need to become the mirror
image of the narcissist, their inverse, you must develop a healthy grandiosity.

You are someone special

You are ona mission

You don’t associate with people below you

You don’t have empathy for those who seek to sabotage your quest

Unlike the narcissist, you can use grandiosity to make the world a better place. The difference
between the nightmare dreamscapes and the reality you will create is that you're not afraid to
work. You know that no one else can validate your vision, because you don’t even know what it
is yet. You're here to bring something new into the world, which can be lonely at times.

The narcissist never left their childhood grandiosity, Vm asking you to return to yours. You bring
the wealth and wisdom of your adult experience, the narcissist reawoke your desire to be a
hero.

You are exceedingly precious and valuable whether in relationships or on your own. You
deserve relationships with people who see your value, love you for it, and do not regard you aS
an object to possess. You deserve to be honored, cherished, and respected as an equal in every
relationship.

'm loyal as they come, as long as MY loyalty to you doesn’t disrupt my loyalty to me.

When we know that something hurts, and we know why, trauma is avoided, for example, in
things like falling off bicycles, or touching hot objects, even getting hit by other people. But
when we have absolutely no idea why something hurtful happened, or that it was even
supposed to hurt, we get confused.

And it is this deep, deep, pervasive cognitive dissonance that lies at the heart of the severity of
covert narcissistic abuse.

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They make you into a very very confused puppy: Confusion and pain creates trauma, the more
confused, the worse the trauma.

The covert narcissist meanwhile had been busily pleasing people, helping them, donating
money, helping out at church, educating children, saving lives, and the world, and secretly
accumulating their day's resentments and frustrations. But they won't allow themselves to
discharge their toxins outside. SO when they finally arrive home, all that saved up toxin from
being such a covertly negative person boils over into malice that gets reserved for the select
few individuals in their lives they dare inflict upon. SO their children get the distilled,
concentrated, condensed dosage of their toxic discharge. And that’s why mysterious
punishment suddenly takes place. They have been busting to 60 home the whole day, waiting
to finally discharge.

Success is something that you attractive, by becoming an attractive person. Control your
environment.

Changing my identity. Identity and values drive behavior. So if you want to make a change, yOu
have to change your vision of who you are. You have to begin telling yourself a different
narrative and the narrative you tell yourself about yourself is everything.

| am a learner. | can do anything without limitation. Look at my track record, by the grace of
God and profound humility, | have accomplished a lot.

No zero day

The three yous (past You, present you and future you)
Gratitude and favor

Exercise and books

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if you listen carefully enough, the past whispers to you

Sophia Bell, Quora - The narcissist lacks self-awareness. They’re not be aware of their
disordered thought processes and behavior. You can’t heal or help a narcissist for thai reason.
Their state of mind is programmed, it’s their hardware, driven by NPD. You, nor anyone else,
can reprogram that.

Almost all narcissists are convinced of being normal, that’s also why they resort to projection
and blameshifting. Nothing can ever be their fault and their flaws are actually yours.

A kid behaves the least for you because you are their safe place. Remember that is an honor,
not a burden. Makes me think of Elias and how he knew to hide bad behavior from me. He
would tell Ryanne, not to tell me what he did so that he would not be embarrassed.

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Manipulative, learned behavior. This is part of the reason why | thought the picture that |
Ryanne sent in January Was completely off. Ryanne nor Elias would never let me see that kind |
of typically little boy behavior. Maybe this is why Dan called Elias a little narcissist. WOW - |
That is so completely wrong. Dear God... Now, | do not if that was true or not.

Ryanne and Dan sleep in separate rooms and Elias will go into the master bedroom and sleep
with Ryanne in the middle of the night. It almost seems like Ryanne has transferred the :
relationship she should have with Dan to Elias. Flias is five (5) years old. Ryanne was pretty

interested in the Michael Jackson documentary and particularly the grooming part of the

documentary. | have not seen the documentary so cannot provide a reference example.

Ryanne’s grandiosity is related to Disney all things Disney and Taylor Swift. She is a 42 year old,
intellectual property lawyer and she literally went to Disney for her birthday and had meals
with princesses.

The control, manipulation and created codependency of Dan, is domestic violence. Physical
abuse in their relationship, | have not witnessed; however, ij have heard and seen emotional,
psychological (psychological warfare) and there is a strong basis for financial control, as Dan
does not work.

Sophia Bell, Quora - Narcissists start doing their thing, long before they explicitly show you that
they are. They have no attachment to you, feel zero responsibility, commitment or loyalty
towards you. And they really don’t like you at all.

Cluster B typically represents with overtly emotional and unpredictable behavior.

Adults are equipped by the maturation of their brain and their life experience to have the
capacity to understand that not every bad thing that happens to them is personal and about
them. When adults have a pervasive problem separating out the personal from the impersonal,
they are reacting similarly to children. This may cause some people to label them as
emotionally immature.

Feeling Good: The New Mood Therapy CBT

Why should you not be afraid to let people go?

lf you are disrespected in a relationship or friendship or abused verbally, emotionally, or
physically, and when it causes more pain than pleasure or when trust has eroded to the point
that they are bringing you down, there is no doubt to let it go. \t may often be very difficult but
it’s necessary tO let go in order to unlock the life you deserve. You never know, you may meet
someone tomorrow who has way better intentions for you than someone you have known for
years. Time means nothing, character does.

They say love is the best investment, the more you give, the more you Bet in return.

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Elegance is the only beauty that never fades
| believe in being strong when everything seems to be going wrone.

People make mistakes. Classy people are careful to their enemies but do not waste their time in
catfights or insults. They know is not good for them. They cut the relationships without looking
for revenge.

Nothing is impossible; the word itself says 'm possible

| believe that happy girls are the prettiest girls. Classy people try to not be negative. They smile
most of the time helping themselves witih positive thoughts. This can only happen if they find
their own way in life. This awareness helps them to look more attractive and positive.

Topics for Discussion
» Disclaimer - When } mention that ! think that someone has a personality disorder or is
fucked up, }am not fishing for confirmation from you. , \
will Smith slap — Narcissistic Control L4figngutlaron (puipraey (Gwyn) or ype oto oF myatttaror
« Ryanne- Stalking (cyberstalking, fake interview, projection calling the cops to doa
wellness check and that white guy)

o Weare alike but have two different paths

» Me Complex PTSD utilize Dissociation / Depersonalization more that !
fully realize .

« Ryanne Covert Narcissist, she is 100% aware of what she is doing, but
may not understand the reasoning why she is doing it. She does have the
capacity to reflect — all narcissists that | have encountered do
Brenda, Brian, Se Ryanne) They all mirror behaviors

» Healing framework approach

o Access the incident — Understand the full impact of what just happened to you.
Get in touch with your emotions, no matter how intense the emotions are

o Understand your role in the incident — At each of these steps accessed in the
incident, | recognized the craziness / weirdness, but gave her the benefit of the
doubt. Why did ! do this? | think that the coping strategy that | have used
consciously / subconsciously used to get through life works against me in some
situation. Coping strategy of delayed reaction and process when | can, does not
work.

o Accept what has happened — By the Grace of God, this situation did not get any
more.out of control to harm me that |am aware of. | guess this was the wakeup
call that was needed both for myself and for Dan.

o Forgive myself — | forgive myself for putting myself in that situation. | thought
they were good level headed couple. | really thought that they were God fearing
people and a couple that { could use as guidance for healthy relationships.

« Path to new job at Stripe”

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rial § inl Now: sngecintt Wand

© Talk about interviewing with six (6) different people last Thursday (feels like #
lifetime ago)’

The longer you wait for something, the more you appreciate it when you get it, |
Because anything worth having is worth waiting for. |

Our willingness to wait reveals the value we place on the object we're waiting for.
Charles Stanley

if a thing is worth doing, it is worth doing well. if it is worth having, it is worth waiting for.

if it is worth attaining, it is werth fighting for. if it is worth experiencing, it is worth putting aside
time for.

Oscar Wilde

And it’s a reminder that no matter how bleak your story looks, you cannot give up on the
happy ending. You control the story you tell about yourself — even the parts of yourself that
seem most painful.

That’s why it’s critical we reimagine life transitions. Instead of viewing them as miserable
periods we have to grit and grind our way through, we should see them as healing periods
when we take the wounded parts of our lives and repair them.

The narcissist wants attention, SO even bad attention is better than no attention at all.
Narcissists followers (who has been lied to and manipulated, but do not know it yet) will go
after anyone who exposes a narcissist. These people are ready to do the narcissist dirty work.

The person that the narcissist has manipulated the most is themselves. They believe the lies
that they tell themselves. If you shame them, expose them, they will pay you back in epic
portion.

Insights

“Narcissist know right from wrong. They have received all the same societal lessons in morality
as everyone, including many in their home life. They have had relatively the same exposure to
hypocrisy, at home and in general, as those who go on to live lives of upright ethics and morals.
They see the rewards of doing the right thing and living in truth, and they see the consequences
of doing Wrong. However, NPD directs them to choose justification and rationalization in their
actions, when necessary, in order to avoid shame, which would destroy their delusion of
perfection — so this how they so easily make wrong choices. They justify, rationalize and
minimize the wrong doing, but they also understand the potential consequences, and for
specific reasons, a5 follows, that compound each time it happens.

| firmly believe that the entitlement which narcissist exhibit is the natural evolution of
practicing the justification and rationalization of their poor, Wrong choices over time. It is
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similar to a starving person being driven to steal bread to feed himself and his family in the time
of famine or war _the comprehension that theft is wrong and carries consequences in present
— but the more urgent need to preserve life overtakes the moral concerns. Now, if the food
thief becomes SO accustomed to stealing food, and theft becomes so accustomed to stealing
food, and theft becomes sO second nature that it becomes the easier option even after the
famine or war ends, the thief might well decide that his ability to steal enables him to feed
himself and family at a higher, better level than by any other means, and he might rationalize |
the continuation of the food theft. He will likely find may excuses to justify and rationalize this

choice.

Combine ‘practice makes perfect’ with ‘repetitious vice becomes addition,’ add ina good heap
of lack of empathy, and ramp up each moral choice to the level of life or death — and you will
have some understanding of the justification / rationalization used by narcissists in approaching
their self-serving choices. It’s the evolution of self-preservation becoming self-seeking, self-
serving self-entitlement.

Narcissist don't believe that what they do isn’t objectively Wrong. They simply feel entitled to
invoke themselves as the exception to the rule each and every time. This doesn’t mean that
they wish to have argue their position, however! Therefore, in addition to justification and
rationalization, they lie, blame shift, gaslight, and deflect in order to avoid the exposure of
responsibility.”

» Arn Price, Quora

jn you is a tiny overlord which bullies and commandeers you into toeing the line. The narcissist
takes control of this, and intensifies it’s call for you to conform to those things which you
loather.

The narcissist has come to you to strip you of your remaining superficiality, your cowardice,
your desire to people please.

Let that old self burn slough off that grey skin suit, and embrace your weirdness, dive into your
unpopular but marvelous dreams. Thank our narcissist for burning away your dross

Why did you abandon yourself? You are beautiful person, YOu just need a little investment of
time and energy.

Rebuild with vigor, stronger fences, 4 brighter and better roof. Return to yourself, and promise
your weeping heart that you're back, and this time it’s forever.

Your strategy should hurt. You should say no to things

The best people are good at what they do, are passionate about it and make a big impact.

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238 U. Document 1. Filed O7/17/24 Page Cay gee 4
Nor of don

Wednesday, April 27, 2022

Dan,

| listened to your voicemail.

My intention was never to hurt Elias. 1am sorry that Elias is hurt.

While | enjoyed the times that were spent together. Unfortunately, this relationship no longer
works for me.

Do not contact me again by any means or in any way, to include Ryanne.
Wish you all the best.

Charisse

Monday @12:15pm

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2023 Stripe, Inc. | Unauthorized Non-Consented Business Show

My name is Charisse S. Moore, MS and | am the victim of a multi-year stalking scheme. The multi-
year stalking scheme ranges in timelines from 2021 - Present, possibly earlier than the provided
timeline, as | met the suspected stalkers in 2011 in the State of Mississippi, 2013 in the State of
Florida, 2021 in the State of Georgia and additional timelines are unknown as of Sunday, April 217,
2024. (2 i iietess Sygkowiines Spink hacen)

Due to the long-term nature of the multi-year Interstate Stalking scheme, the following Federal
Complaints have been filed to support each business:

- As of May 29, 2024, an United States Federal Bureau of Investigation (FBI) Internet Crimes
Compliant C3 Form was filed on behalf of Snap, inc. / Snapchat.

. As of April 25, 2024, an United States Federal Bureau of Investigation (FBI) internet Crimes
Compliant IC3 Form was filed on behalf of Stripe, Inc.

. As of June 2, 2024, an United States Federal Bureau of Investigation (FBI) Internet Crimes
Compliant 1C3 Form was filed on behalf of Apple and AT&T.

About Me

Between May 2022 — July 2023, |, Charisse S. Moore was 4 Payroll Program Manager at Stripe, Inc.
where, | served as an internal Business Partner and cultivated strong relationships across the
Finance Operations, Corporate Tax, State and Local Tax (SALT), Employment Legal, HR and HR
Technology teams. Stripe, Inc. is a multi-national organization (MNC) with dual headquarters in San
Francisco, California, and Dublin, Ireland. Stripe, Inc. has offices located globally with key market
hubs in Dublin, San Francisco, Seattle, Chicago, New York, London, Bangalore and Singapore.

Prior to Stripe, Inc., | was a HR Strategy and Transformation Consultant at Deloitte Consulting, LLP
and Ernst & Young, LLP with eight (8) years of experience across HR and Payroll Strategy,
Operations, Technology and Mergers & Acquisitions (M&As) for Fortune 500 clients.

Prior to consulting, | worked in the Public Sector - Government on end-to-end Grants Management
at Texas Tech University (TTU) and the Mississippi Development Authority (MDA).

At Texas Tech University (TTU), | served as a Senior Project Manager in the Office of the Vice
President for Research (OVPR), where | was part of the Senior Leadership Team, led and managed
multiple (10+) federal grant proposal submissions, to include submissions to the Department of
Energy (DOE), Environmental Protection Agency (EPA), National Science Foundation (NSF), National
institutes of Health (NIH), United States Department of Agriculture (USDA) and the Department of
Education (DOEd).
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Page 69 of 136

At the Mississippl Development Authority (MDA), as 4 Program Manager, | served at the "will and
pleasure" of Governor Haley Barbour and Governor Phil Bryant and key members of the agency's
leadership team with direct responsibility for policies and strategies to enhance fiscal management,
energy efficiency improvements, and regulatory compliance within the Energy and Natural
Resources Division and on behalf of the State of Mississippi.

Technology Abuse | Phone

- My personal phone number's) 6 0 oot, was under contract with AT&T

- NOTE: Per the Lookout App my phone number was included in the following data leaks:
_ November 5, 2016 - Unknown source

- November 6, 2020 - Mice as

- November 6, 2020 - fie ee

-~ December 14, 2020 - Unknown source

- April 23, 9022 - Unknown source

- April 6, 9024 - AT&T Data

Technology Abuse | Wi-Fi
— Wi-Fi hacking was under contract with AT&T
_— AT&T Password 2022 - SolisMoonDior9!
— The targeting, stalking, hacking and harassment of me |S so profound that Elon

Musk and the House of Christian Dior partnered together to create the 7°"!
Jajge Cogeniivek ea teary. that sat on top of the Saks Fifth Avenue store during
November 2023 - January 2024.

vognans PMS vices and eg bed Gap oe a) initiate the hacking of © tor nares, ~ personal

laptop and work laptop with Deloitte Consulting, LLP due to the failed Acquisition at Cumulus Media,

where Ryanne Duffie Saucier was part of General Counsel. Ryanne Duffie Saucier is an Intellectual

Property and Employment Lawyer who has worked at the Mississippi Public Broadcasting, Cumulus

Media, Fox News Stations in Atlanta and whose father Is prominent in the Broadcasting industry.

Charisse Samantha Moore was unaware of the technology abuse, technology hacking by Ryanne
Duffie Saucier, Dan Saucier, Terry Duffie, Tara Duffie and possibly Skip Duffie (Terry Duffie, Jr.) and
moved to the Smyrna, Georgia within the Atlanta, Georgia area in June 2021.

2022 - 2023 | While a resident at the Lincoln at Dilworth apartment complex in Charlotte, North
Carolina, | strongly believe that there were HIDDEN CAMERAS installed in my apartment and th
following activities took place:
Case 1:24-cv-05533-UA Document1. | | >
33-UA Document 1.- Filed 07/17/24 / Page 70 of 136

— September 2022: | drove from Charlotte, North Carolina to Atlanta, Georgia to go to an
invisalign appointment at Cohen Orthodontics at A721 Chamblee Dunwoody Rd #200,
Dunwoody, GA 30338. | purposely went to this location, to avoid being ANYWHERE near »

Ryanne Duffie Saucier, Dan Saucier and Laura Norton.

— OF INTEREST: A Black Jeep Wrangler with dark tinted windows (limo tint) pulled in
front of my vehicle, in front of the McDonala's near the Perimeter Mall located at 4540
Ashford Dunwoody Rd NE, Dunwoody, GA 30346. This is while | was headed to

Ce aT yal Vint oo! to purchase Keratase Curl Manifesto and Youth
to the People - 15% Vitamin C Clean Caffeine and Energy Serum.

— October 2022 | | stopped taking calls with wel Caos pa PEALE ity are oe
as igre eae Was not helpful during on going stalking. Surprisingly, ingrid Jones offered
absolutely no support.

— NOTE: |! am not sure if there were hidden cameras in my apartment for the entirety of
my lease in Charlotte, North Carolina.

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November 4-7, 2022 | Trip to Larchmont, New York - The Hills

Brenda Cecelia Duenas Hill: Brenda is a Sector Executive in the Technology, Media, and Telecom
(TMT) practice at KPMG. | have known Brenda Cecelia Duenas Hill off-and-on for 24 years and was
her college roommate. We shared many important life events together, to include: being 4 maid of
honor at Brenda's wedding to Michael Hill, and Brenda was 4 maid of honor at my wedding to Brian
A. Temple, MD.

Michael Hill: Michael is the Head of Portfolio Trading at Santander, focused on Latin America
(LATAM), including Argentina, Brazil, Chile, and other countries within LATAM. | have known
Michael Hill, Brenda Cecelia Duenas Hill's husband for twelve (12) years. My relationship with
Michael is an informal distanced relationship, due to Michael and Brenda living in New York, while \
lived in the U.S. Southern States, such as Mississippi, Texas, Florida, Georgia, and North Carolina.

— November 4 - 7, 2022: 1 went to New York to visit 1! Poi edig Pstiets - yi, Michael Hill

and their boys in 290 Weaver Street, Larchmont, New York. Note that Brenda Cecelia Duenas
Hill is of Hispanic descent with her family roots from Peru, Argentina and Italy.

— November 4-7, 20222 niiiely Pere a pyey dha talked about!) oy cela a preth y's
marriage to Serg (Sergio) Savoury and that the fact, that Serg (Sergio) Savoury May be
cheating on ir pocaticbonys a rt due to her controlling ways.
— November 4-7, 20222 whee) ai asked where | was working, and when | stated Payroll at

Stripe, Inc., he looked a bit shocked. He asked if | was working in HR, and | clarified that |
worked in Global Payroll at Stripe. That was the scope of our conversation (proper
pleasantries - Hello! How are you? How is your Father doing? How is work at Santander?).
— OF SIGNIFICANT IMPORTANCE:
— Michael Hill oreviously worked for !tau, Society Generale
— Michael Hill holds the following Securities Licenses ~ Series 7, Series 63
Case 1:24-cv-05583-UA Documen Se

“64 3-UA Document 1~ Filed 07/17)

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Page 71 of 136

— |was talking to Brenda and Michael, and Michael asked me if my family was @ member
of the Sieh nic, inthe United Kingdom. Michael made a specific to ask
that question and then there was a hard stop. Michael may have just walked away from

Brenda and | to help the boys.
— November 10, 2022: Brenda Cecelia Duenas Hill sent me a text message that discussed the
FBI. .
— OF INTEREST: | was stunned and did not know how to reply. | attempted to state that |
was watching the EB] shows - 200! pyc Ep ne GF Es Brenda and |! talked on the
phone, while | watched the Law & Order show - Organized Crime for about an hour.
— Technology Abuse J Hacking
— Continued blocking access to applications and/or utilities within my Apple iPhones
after utilizing Lockdown Mode in November 2022 - present
— November 11, 2022: Two Hispanic men exited my neighbor's apartment (Apartment 477) at
Lincoln at Dilworth. | instantly knew that something was not right. These individuals then
followed me down the elevator and studied me. .

— November 14, 2022: | asked my cousin jet Fee to install Grey Velvet Blackout
curtains in my apartment, as | wanted privacy and was trying to recover from stalking and
swarming activities in Smyrna, Georgia (Atlanta, Georgia area).

— November 24, 2022: | participated in the Thanksgiving Day - ." Cabot: Gk fb) near

South Park Mall. When | returned to my apartment at Lincoln at Dilworth from the
Thanksgiving Day - Charlotte Turkey Trot, Jax had a bloody eye-

CRITICAL BUSINESS INFILTRATION

Military Tactical Hold within the Lincoln at Dilworth apartment complex:

For months and months (December 21, 2022 through March 31, 2023), everytime that | took Jax out
for a walk, people lined their cars Up in the driveway at Lincoln at Dilworth, stood in the garage at
Lincoln at Dilworth, lined up on the walking path for Jax and/or followed down the elevator. There
was an unknown social media frenzy to me.

The elevator episodes were of particular interest as, each time that | pushed the button for the
elevator, the elevator went Up to the fifth (5th) floor prior to coming to the fourth (4th) floor. |
sensed that the men that were in the elevator were following me and/or watched me take a shower
and watched the video of me showering.

VEHICLES OF INTEREST:
— arly November 2022: re iro, t saw this vehicle near the Lincoln at Dilworth
complex, twice in early November 2022 and possibly early December 2022.
— Early November 2022:
— Flashy Gold 4 door vehicle abruptly sped through the Lincoln at Dilworth Parking
Garage onto E Morehead Street, the car had “air time”.
Case L24-cv-0 UA Docur 1 je
: ‘05533-UA Document 1. Filed 07/17/24 Page 72 of 136

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_— Pearlized White Infiniti 130 that saw Me walking Jax on Morehead Street, came to an
abrupt stop and quickly reversed into the Parking Garage drive through.

Late December P0222 For ets (this vehicle was in the Lincoln at Dilworth parking
garage in December 2022)
Early March 20231 ie a, (this vehicle had rap music playing and was near the little

bridge to get onto the path near Lincoln at Dilworth March 2023)

Lincoln at Dilworth - Community Map

(ir poy ppinpkens fipee

shorn ths onnfinagnin oF dee TA Ge)

December 2022: | read the book Wn Nee lithe Pot: degen da judg) 2»
as a way to understand why Ryanne Duffie Saucier, Dan Saucier and additional unknown CO-
conspirators targeted me in smyrna, Georgia.

December 7, 2022 || received my OliverGal AdoreMe Geo artwork with the frame cracked
upon opening the box. See photos

— OF INTEREST: Oliver Gal | Ador

"

eMe Geo order placed on Cyber Monday, November 28,
fi : boo yeas i ved

DODD (oie ifwnngne its tek ote Logie oP boy
vee yo Penn JAR, es vas ay we ES jie)
— OF INTEREST: In November 2021, | shared with Ryanne Duffie Saucier that | was going
to or bought the OliverGal Fashion Galore Diamond Dust artwork (1 ai
OL A gigas fae TORE TY
ee An hil LS Green ind ites)

December 10, 2022: A black gentleman in a Honda Accord holding a neon green iPhone at
the Starbucks at 8:30am may have been watching me.
Mid-December 2022: Vanessa Lowe-Garcla, Jackson, Mississippi, texted me asked me for
my address in Charlotte, North Carolina to send me a Christmas card.
December 18, 2022: After walking around the exterior perimeter of the Lincoln at Dilworth
complex, | walked toward the leasing office and saw a Charlotte-Mecklenburg Police
Department vehicle (Ford Explorer) parked outside of the leasing office. When | walked
closer to the officer's vehicle, t made eye contact with the dark-skinned Black officer male
and he promptly hit the gas and took off. | believe that this officer, is the same officer (Officer
Jackson) that took two (2) hours to arrive when | called the Charlotte-Mecklenburg Police
Department from Lindsey Dewhurst, Lincoln at Dilworth Property Manager's cell phone.
— Constant surveillance by the following apartments - 579, 477, 485, 432, 433, 499, 450,
451, potentially 476
— Apartment 579: Apartment above my apartment, responsible for laser pointers
in my apartment
- Apartment A77: Turned on the dryer every time that my Apple phone alarm
clock when off to alert the apartment either above Or below that (577 and 377)
that | was wake and getting ready to walk the dog.
_ Of Latin descent from Mexico, they (man and woman) love Lululemon.
— Apartment 485: Placed bright orange sneakers that were placed outside
whenever | left the apartment to walk Jax.
— Apartment A83: Sat empty for months, with no one moving into the apartment.
Case 1:24-cv-055 3 oo : ™
33-UA Document1 Filed 07/17/24 Page 73 of 136
6

— Apartment 433: Was a lookout whenever | took the elevator down to walk Jax
and/or to get MY car from the vehicle.

— OF INTEREST: This individual may have also broken into my apartment, as
there were highly coordinated efforts each time that | left my apartment
for an extensive period of time.

— Apartment 432: Was a lookout whenever | took the elevator down to walk Jax

and/or to get MY car from the vehicle.

— Apartment 499: Was a lookout whenever I came up the elevator from the

Leasing office after walking Jax at night and going down to walk Jax in the
afternoon.

— Apartment 450: Was a lookout whenever 1 took the elevator down to walk Jax.

This is of particular interest as it sometimes lead to a closed garage door in the
loading dock.

— Of Interest: There were times when there were 20+ people waiting in the
loading dock for me to come down. {held my card - The Armor of God, as
| was afraid.

— Apartment 451: Was a lookout whenever | took the elevator down to walk Jax.

This is of particular interest as it sometimes lead toa closed garage door in the
loading dock.

— Apartment 476: This apartment was located directly across from me.
December 18, 2022: Purchased the following items for Paci Ms fo La ayia i's SON
for Hanukah / Christmas on Amazon and there were challenges as the shipping address was
changed from Rachel's address in Plantation, Florida to Charlotte, North Carolina.

— Mah ales ALS Peo guadh FtTAMES hoe ba: PAA ae Cig Ve eu PES Age Marks
Fla dicd ik poy av bk i poling obs ey Loy fat Voi folie ayn Sado Vieye poy
4 itl
_ Mili rh iy proqeyees boygrgtphe te tb. ME ehee We a4 sie Apa atlas | Hak i valid sd ii tray
bee tangy ted vf pea oa abh ps pele Poe BA yee fos Fell yvp ii bow sods
Htc Ciba ye it Ay fut ONES mad
December 19, 202222 he pean el invited me to her house in Larchmont, New

York for the holidays (Christmas and New Years) and her sons birthdays (James, Alexander
and William). | declined the invitation to go to Brenda's house, aS } wanted to be alone after
being swarmed | attacked in Smyrna, Georgia by Ryanne Duffie Saucier, Dan Saucier and
unknown co-conspirators.

December 21, 2022: | saw a young woman walking backwards into the wind across the stree
from Lincoln at Dilworth apartment complex.

December 25, 2022: | had an hour long conversation with Felicia Gilgeous, Wells Fargo and
talked about the weather, watching tv and reading over an Ware eo" seege  Uep be nde

pAiy (oye, tibor +

December 26, 2022: | lived in Ap rtment A479 and | noticed that the patio door of Apt 487
(located directly across from me) was wide open.

December 26, 2022: The water mains at Lincoln at Dilworth broke due to the Hard Freeze
Case 1 24+0v-055 , a ane
: 33-UA Document 1 ° Filed 07/17/24 Page 74 of 13
of 136

that occurred, the City of Charlotte, Fire Department was called to the apartment complex
and | stood outside with other residents for hours.
— OF INTEREST: There was a Black gentleman that made constant eye contact with me
as we (all residents at the complex during the holidays) stood outside. The Black i
gentleman and | walked by each other in the mailroom and two oF three (2-3) times.
This Black gentleman did not pose a threat, he had the “gpportunity to inflict ohysical |
violence” and did not take advantage of the “opportunity to inflict ohysical violence”. |
think that he was in Apartment 483 in early January, but | never saw him again after
December 26, 2022. |
December 27, 2022: There were four (4) vehicles that surrounded the exit of Lincoln at
Dilworth, when { went to walk Jax. VEHICLES OF INTEREST:
— Black Ferrari (this vehicle was in the Lincoln at Dilworth parking garage in December
2022)
- NOTE:A resident, white woman with blonde hair and a little Poodle stared at me in the
elevator and did not say 4 word.
December 28, 2022: Ulta Beauty at 7314 Waverly Walk Ave, Charlotte, NC 28277
— poxxed while paying for Dolce & Gabanna - Light Blue. The cashier asked for my
phone number and screamed my phone number across the entire store.
December 28, 2022: For unknown reasons, | placed my phone near the TV and started the
i yh Saas) Os thie dos tpetcgyen als
January 13, 2 23: Received Notice from Lincoln at Dilworth Property Management
4\e have noticed there is a significant number of vehicles parked without a parking
sticker or a temporary pass. Parking Permits are required if you are parked behind the
gates.
— Any vehicle parked in Lincoln at Ditworth gated parking lot THAT DOES NOT
PROPERLY DISPLAY a parking sticker or temporary tag WILL BE BOOTED or TOWED
with no further notice. A properly displayed Parking Permit means that the Permit
(sticker) is either attached to the windshield.
_ MODIFICATIONS OF PERMITS ARE NOT ACCEPTABLE. Any vehicle that does not
properly display a parking permit will be booted or towed. Parking permits are not valid
if parked on p2; parking on pP2 with a permit will result in being pooted or towed"
January 15, 2023: Contacted the Charlotte-Mecklenburg Police Department to perform a
search of my apartment due to possible hidden cameras located within the fire alarms in the
apartment. There was a noted uptick of visitors to the Lincoln at Dilworth apartment complex
at multiple points of the days to coincide with my walks with Jax (7:30am, 42:30pm, 4:30PM,
7:30om and sometimes 9:30pm) Remember > Shelley private citizen.

Pvrag ty Wii eM

January 2023 - February 2023: There were several loud parties in Apartment 579 above Mm
in which | strongly believe that a large portion of stalking was taking place, in addition to the
apartments identified above.

January 25, 2023 - | met Lyna Alfaro for lunch at | 9818 Gilead Road, Huntersville, N'
28078
— Question of the afternoon by Lyna Alfaro “Are you sure you want to eat that?”
— After lunch, | went with Lyna Alfaro to her house and saw her husband Christian Alfaro
(US Army Veteran) and their children. We talked briefly about life stuff, moving to
California and my thoughts on how expensive California is as 4 single person but | still |
dream of California. We also joked about like in South Florida, the need to keep UP and |
“needing to be skinny” but that was for a point in time, like our early 20s. | talked about fp
my Dermatologist and how he stated that | needed to lose weight during a visit to his |
office. 1
— NOTE: Dr. Attica Chang, Dermatologist of og Hebe c ah ott Was !
and is an excellent Dermatologist. He cared enough to tell me to stay in shape - |
lose weight, as | was under his care for health issues. Dr. Attica Chang is the :
same doctor that held my hands and looked me directly in the eyes, as | cried
while having 4 medical procedure performed.
— OF SIGNIFICANT IMPORTANCE:
— Discussion of the death of my Father, Winston Alexander Moore, Sr. and my Brother,
Winston Alexander Moore, Jr.
— Winston Alexander Moore, Sr, - See New York Organ Donation pin
— Winston Alexander Moore, Sr dejgumi ore

— Winston Alexander Moore, Jr, 32, passed away on August 11, 2016 in Fort
Lauderdale, Florida from injuries sustained in a car accident. Winston was
born in New York, New York on November 3, 1983, to Winston, Sr. and
Leslie-Anne Moore. Winston is a graduate of Spanish River High School
and also attended West Boca High School. While Winston's path did not
include a traditional career, it did include a long tenure as a Special
Olympics athlete with Broward County. Winston joined the Special
Olympics community at the age of 15, with the Tamarac Bulldogs
basketball team. Since then, Winston has gone on to olay and medal in
multiple sports to include: basketball, bowling, swimming, skiing, SOCCET,
softball and tennis. True to the Special Olympics motto, “Let me win. But
if | cannot win, let me be brave in the attempt", Winston is a Champion.
And he would let you know that he was 2 Champion, too. He often used
one hand to help himself and the other to help his friends. He was
blessed to have friends who became family, he gained many brothers,
sisters, MOMs and dads along his path and was always grateful. Winston
will be remembered for his laugh, his ability to touch people through his
smile, his love of sports, his love for the Special Olympics, traveling,
adventure and dancing his heart out. He was deeply loved and will be
greatly missed by his family and friends. Winston is survived by his
mother, Lestie-Anne Moore, sister, Charisse S. Moore; uncle, Anthony
Smith; cousins, Travis Smith, Joshua Smith, Justin Smith and Brianna
Smith; aunt, Enid Carpenter, cousin, Andre Gilgeous, cousins, Dean
Laffenden, Arianna Haffenden, Lloyd Haffenden and Camille Haffenden

_— Mid to Late January 2023 | With all the stalking, swarming and the hidden cameras, | tole
myself out joud that the only way to get through this situation was to get through the

situation.

Late January 2023: | took my Mac to the Apple store (in Charlotte South Park) to get wiped

and protected and purchased a Google Drive external hard drive to copy the files from the

japtop for backup

January 31, 2023: Received Notice from Lincoln at Dilworth Property Management

_ "Good Evening Neighbors! We hope you are doing well! As the mailroom door is

consistently being broken, and it is now beyond repair of our maintenance staff, the
one door will be closed off until our third party vendor can replace the door entirely.
There are still two doors for entry and exit. Deliveries can come through the leasing
office during oftice hours. We appreciate your understanding as We find a permanent
solution to the door being intentionally broken.”

Banfield Pet Hospital appointments at Charlotte SouthPark

—

February 10, 2023: The veterinarian pulled out a lot of Jax’s teeth in the top part of his

mouth. Jax must now eat soft food, instead of the Blue Buffalo that he traditionally ate.

— OF INTEREST: Instead of the traditional call from the Veterinarian’s office, the follow-
up call about the surgery | received an email instead which was strange, as this was the
first time that person wanted to help out

February 12, 2023 | Rihanna's FULL Appie Music Super Bowl LVI Halftime Show hie ff

we ork x : + ofa dealt ‘ set Gh bey . boa
“fs yhbs dy ery yok eared ea (fader sh

_ “Better wake Up and nothing is wrong 5:39."

February 14, 2023: Noticed a Charlotte-Mecklenburg Police Department suv Ford Explorer

vehicle parked in the garage ina parking space against a back wall.

— OF INTEREST: This is one of few apartment complex where there was not an
identifiable Police vehicle at the residence. Similar to Elevate at West Village, there was
not an identifiable Police vehicle at the residence.

February 22, 2023: Followed by Grey Jeep Wrangler with dark tinted windows to church on

Ash Wednesday at St. Gabriel Catholic Church - 3016 Providence Rd, Charlotte, NC 28211

— Of Interest: This is the day that my ears finally stopped burning and turning red.

OF INTEREST: In the end, there were three groups of individuals, their races were White,

Hispanic (to include my neighbors in Apartment A77 and their visitors on November 11, 2022)

and Black.

_- WEHICLES OF INTEREST:

_ The individuals that drove the vehicles below did not pose a threat, they had the
“opportunity to inflict physical violence” and did not take advantage of the
“opportunity to inflict physical violence”. These individuals consistently parked
their vehicles near my silver Honda Accord Coupe.

— Driven bya White man ~- Red Audi A4, no tint on the windows
— Drivenbya Hispanic man - White Mercedes Benz, 4 door Sedan possible
aC class with North Carolina tag - JELLY (?)
Case 1:24-cv-05533-UA | D "Filed 07/
1 533-UA Document 1 Filed 07/17/24 Page 77 of 136

CRITICAL BUSINESS INFILTRATION - STRIPE, INC.

As Payroll Program Manager at Stripe, Inc. | had full access to HR master data, Payroll master
data, Financial data and Benefits for all of Stripe, Inc. and its subsidiaries, to include, but not
the following: |
(ait mye ous yop a pe poatifins fre He cafes woe Pulhpe hh Do TREES tf \
yo deie gage hs cigar!)
— Personal identifiable information (PI)
_ Personal Health Information (PHI)
— Business Identifiable information (Blt)

-— Trade secrets, commercial or financial information that is privileged or confidential.
— Confidential information (Cl) te include Mergers & Acquisitions

yee FS

March 2023 | Stripe, Inc. tells employees it will decide on an iPO within the next year
— oinipe: [pawns cpmat ean PS Pf Be poke well Sep hOge o jean cave a ah mas
Gs ie yen Hn!
— Co-founders and brothers John Collison and Patrick Collison told employees Thursday
that they will seta goal of taking the company public or letting them sell shares via a
secondary transaction.
— Stripe, Inc. is considering a direct listing or private market transaction and has hired
Goldman Sachs and JPMorgan to advise on the deal.
_— As Payroll Program Manager, during this time | also started to utilize the PwC -
etal wep FOr cody forgets ee OH wiifiali., £0 understand the initial public offering
(IPO) process for Stripe, Inc.

March 2023 | United States Department of Treasury and internal Revenue Services (IRS) calls

— Ags Payroll Program Manager, | made calls to the United States Department of Treasury and/or
the Internal Revenue Service (IRS), to recover and/or seek a refund on behalf of Stripe, inc.

(with the Bureau of the Fiscal Service, ie yi pond Pecan “4 and could audibly
hear a call drop in the background, this occurred in March 2023 (on my phone
pype VAs,

_ The call was dropped after the recorded statement of ” This is a recorded line of the
United States Department of Treasury and/or the Internal Revenue Service”

March 2023 | State of California, Employment Development Division (CA EDD) calls

— As Payroll Program Manager, | made calls to the State of California Employment Development
Division (CA EDD) for Payroll Employer Quarterly Tax purposes, this occurred during the sam
time of the Silicon Valley Bank (SVB) crash
— Silicon Valley Bank (SVB) and First Republic Bank ("1
cote hfe foc bit Pde tas coh Eda Pk Hd

i eval
Case 1:24-cv-055 IIA Dac, Dos
33-UA Document 1 Filed 07/17/24 Page 78 of 136
of 136

March 2023 | State of Maryland, State of Maryland Comptroller’s Office and Baltimore County
calls
— Ag Payroll Program Manager, this coincided with the Stripe Tender Offer scheduled for March
2023. Additionally, | made calls with the State of California attempting to recovering ~$500K
on behalf of Stripe, INc., the State of Maryland in partnership with [bore ee a Corporate
Tax, 8 et State and Local Tax (SALT) and ve Pee ', Finance Operations and
Jey a, Real Estate ~$3.0M and the City of Baltimore

March 2023

yds tye pM abun pb thes

| Stripe, Inc.: Navigating a Tender Offer in 2023
Pape Bs . from insiders suggest that Stripe, Inc. tender offers will begin in April 2023
before settling one month later in May.

— OF INTEREST: AS the Payroll Program Manager, | ( op ce ME -) had access to
this information on March 3, 9023, this was not public. But this validities My
experience. .

_ Of Interest: | briefly looked at either the US Department of Treasury -
or hone Veaipral hs Poy i n igh bas a oon webpage or the
Internal Revenue Service (IRS) - 0.1. pi de sence Pealuiat bee

beavers il, 8S part of the tender Offer next day payment
requirements to the internal Revenue Service (IRS)

1-4 root] *
aru flit pied i Ss pode rt bats

Plans to Transition from Charlotte, North Carolina

— March6, 2023 - March 20, 2023: The stalkers upped the ante and started to use jaser
pointers through the vents in the Living Room, Bedroom, Bathroom, Office area and additional
unknown areas of the apartment. Specifically, unknown individuals shined laser points in my

eyes when | woke up from sleeping at 3:00M or 3:30am to wake me up.

_ Mid-March 2023: Had two (2) conversations with Brenda Cecelia Duenas Hill, KPMG Sector
Executive.

— Tuesday, March 21, 2023: Again, contacted the Charlotte-Mecklenburg Police Department tc
perform a search of may apartment due to possible hidden cameras, break-ins and to discuss
mischievous behavior within my side of the apartment complex.

— Tuesday, March 21st - Case Number 20230321155300

— Thursday, March 23, 2023: Again, contacted the Charlotte-Mecklenburg Police Department
to perform a search of may apartment due to possible hidden cameras, break-ins and to
discuss mischievous behavior within my side of the apartment complex. The Responding
Officer was Officer Jackson, and it took Officer Jackson two (2) hours to come to my
apartment after the initial call to the Charlotte-Mecklenourg Police Department.

— Thursday, March 23rd - Case Number 20230323101700
— NOTE: Why did Officer jackson say that | should “go and visit wisconsin?" This did n
make sense to me and the time and does not make sense now.
Case 1:24-cv-05533-UA Document 1 Filed 07/1712
e2 33-UA Document 1 Filed 07/17/24 Page 79 of 136
6

— Saturday, March 25, 2023: The leaders of each group made their presence known, as |
started to pack my apartment. | was able to see them clearly in the Lincoln at Dilworth - East
Morehead Street Parking Garage drive through.

— Drivenbya Hispanic - White Pickup truck without tint, | think that Jose, Maintenance
team of the Lincoln at Dilworth drove this truck with Texas tags

— Driven bya White Man - Olive Green pickup Truck, | think that this vehicle was a four
door Truck with tinted windows

— Driven by a Black man - Grey Jeep Wrangler with tinted windows (same vehicle that
followed me to church).

— NOTE: This guy let me see his face multiple times. He seemed to clean cut for
whatever was happening.

— March 28, 2023 Joa ise bag ayat oe ELD fecediy lear aba th: yy brs fee
4Six people — including three children — leyiect is he ct aches, and the suspected
attacker was killed by police within minutes of the first call of an active shooter.

— Audrey Hale, whom police identified as the shooter, had.bought seven firearms —
including the three guns used in the attack — legally and had been in treatment for an
emotional disorder, Nashville Police Chief John Drake said Tuesday.”

— March 30, 2023: There was 4 White guy in a Black Chevy Suburban, that followed me from
Lincoln at Dilworth to Pearl Street Park - 1200 Baxter St, Charlotte, NC 28202 with North
Carolina vehicle tag ~ SOLD.

— He walked into ©" ep A EE ECR OM ieejaiy - 1120 Pear! Park Way, Charlotte, NC
28204. The guy was wearing a golden yellow t-shirt, black sleeveless vest with quilted
diamonds, black pants and was bald-headed and his face was bright red after looking
at me. He made his presence known.

_ OF INTEREST: This guy made his presence known, he had the “opportunity to inflict
ohysical violence” and did not take advantage of the “opportunity to inflict physical
violence”. He was not a threat, from the expression on his face he was pissed off and
may know a jot more about what was happening and/or what was supposed to
happen to me.

— This guy watched me for more than 30 minutes. He was nota threat.

— March 30, 2023: Completed the move out process from bails Hat Utilized the
same system as Smyrna, Georgia, getting a U-HAUL truck and reserving movers from the U-
HAUL system. My stuff was moved into Life Storage - 4601 South Blvd, Charlotte, NC 28209.

— OF INTEREST: Contact Lyna Alfaro see message from March 31 as |} was moving out of
Lincoln at Dilworth.

_ While staying at the | ideas ten Nagel, phar! ollta, attempted to book a hote
reservation at the Seattle Marriott Waterfront but was unable to due to an error. See
Technology Abuse folder
- Case 1:24-cv-05533-U. a =
: 33-UA Document1 Filed 07/17/24 Page 80 of 136
6

voicemail.amr
Audio Recording 19 KB

—

— March 31, 2023: Upon arrival at Seattle-Tacoma Washington (SEATAC) airport, a teenage girl
with blonde hair video recorded Jax and | while riding the airport tram to get my luggage. |
made a hotel reservation at the Hotel Pineapple

Previous reasons for moving to Charlotte, North Carolina ~ ‘ bogie a tho yn Wad ses raj

dita

April 7, 2023 | YouTube Search - Lifeweaver" of the Overwatch Series
Overwatch 2 &1 (2023) All Origin Stories, |  ffeniyecn a ETE Std dene HOLY ee
Screenshot of interest: Active Threats - is this Stripe, Inc., paystack and Stripe, Inc. offices?

— Seattle, Dorado, Rio de Janiero, Numbani, Paris

— Enemies within Overwatch and enemies outside of Overwaich attacked
— Enemies blow up our headquarters

Character of Interest:

— Sombra - Hacker, manipulator, information is power ~ ooliticians, corporations, governments.
Someone noticed her.

May 4, 2023 | Meeting with Ingrid Jones on My Birthday

Again, Ingrid Jones did not offer help to Charisse S. Moore to survive stalking in Atlanta, Georgia
and Charlotte, North Carolina.

All Ingrid Jones could tell Charisse S. Moore on May 4, 2023, was that her therapy sessions were
“helping people” and that Charisse S. Moore could “survive a couple of naked pictures”.
ml

Case 1:24.cv-05533-UA Document 1 Filed 07/17/24
05533-UA Document 1 Filed 07/17/24 Page 81 of 136 /

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submited.

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enfoscamumt ara qorsumar protector efforts of a natianal wale end halp us
Kdentity trend and traok tne issuew that pnattar mos,

: | Affordable I your complaint is ebout an Affordable Connectivity Program {ACP} billing oF service issue, the
: : ss FOC may serve Your complaint on your provider, Your provider has 30 days lo send you &
\ Connectivity response lo your complaint.
4

Program Es

Case 1:24-cv-05533-UA: Document 1 Filed 07/17/24 Page 82 of 136

9. Moore County 2022 - Energy Grid Attack
December 3, 2022

Charisse S. Moore - wa lit orn Soritiofchions avnscic
— December 3, 2022 |: fous cant cats hitow ats) | Moore County, North Carolina
— This occurred approximately 1.5 hours from Charlotte, North Carolina, possibly near
where | got my North Carolina driver's license.

— "Less than two weeks prior to the Moore County substation incident, the FBI had
sent a report to private industry in which they stated that there had been an
increase in reported threats to electric infrastructure from people who espouse
"racially or ethnically motivated violent extremist ideology", with an aim of
creating ivi disor! i and inspiring further violence.

— in addition to the Moore County Sheriff's Department, the viii) oiotiie isie

He Of lave ibaa the {der 6 Siren ces Leng: Ste] i Hey and police
departments from all eleven municipalities in Moore County are participating in
[1]

the investigation. ~ The Office of Cybersecurity, Energy Security, and
Emergency Response (CESER) of the 1). 3. ect i ur icy is also reported to
be assisting.”
— AS AMATTER OF UNITED STATES SECURITY: As Program Manager at the
Mississippi Development Authority for the (ircscdy (ibickemey Sco ei votes Jee
‘ai fi. i763) which was a federally funded grant programs, under the finale
oho hoa dnawiia oer fol), as part of the American Recovery and
Reinvestment ‘Act (ARRA) of 2009, under the : chetsi Boo Eh ives
ache Mei hebben
— This occurred approximately 1.5 hours from Charlotte, North Carolina,
possibly near where | got my North Carolina driver's license and my last
name is Moore. | am a descendant of the Jamaica Maroons from *: i»
Hane ee -, Note that my last name is Moore. My Grand Uncle is |:

“iva. Alias, Governor-General of Jamaica, Vice Regal of the British Royal
Monarchy 1 reporting to eis ail li,
— AS AMATTER OF UNITED STATES SECURITY: Both : Cee ty Etro N
and “iv: leis Cistiesieny have asked about my work related to the inghesd
Peer gbi is na iiss fo at some pointin time. §: 0. vies had direct
reporting to me, Charisse S. Moore, as Program Manager of the vient
ES perp Yo par alae aga wih hatha,
— ASAMATTER OF UNITED STATES S SECURITY: oie. At COOrdinated

the initial phase of the» Dobe PAG ind POP RR Dba

pA ANE tb ors sb” at Texas Tech
University (TTU) with - Se pg Bae moo tes a | |) College of
Engineering, John Hopkins University and additional university across the United
States

- Case 1:24-cv-05533-UA Document 1_ Filed 07/17/24 Page 83 of 136

|
|

May 10, 2022 | Director GCHQ discusses how ‘whole of cyber’ approach is disrupting criminals |
Hi ton fpwnwnan cig OM Hiiiewesfdire ior Cys West ee
— "Speaking at CyberUK 2022 in Newport, Wales, Sir Jeremy Fleming has outlined how GCHQ
is combining defensive and offensive cyber capabilities to disrupt criminal activity on an L
"immense scale". He highlighted how GCHQ's National Cyber Security Centre (NCSC) is :
protecting the digital homeland, including the Active Cyber Defence programme which took |

down more than 2.7million online scams last year, and set out for the first time how the |

National Cyber Force (NCF) — a joint GCHQ and MoD partnership — has worked alongside the
NCSC and law enforcement to disrupt criminal cyber gangs." |

Both Misi oe che Peis Hilband Sais, rei, CHa in have asked about my work related to the
tjeilven | greg Tg Herter reer dy fia) at some point in time.

yeenda Cw cla inesic | al held a KPMG Technology Executive call and discussed | i'«-: without
Cpt Mian being able to leave the room. This is the first time that © iicri. @ 2 Moris |
waifones MLS 1S addressing this issue which is a known conflict with KPMG, to have people in
the room listening to Confidential Client calls.

As a former Deloitte Consulting, LLP and Ernst & Young, LLP HR Strategy & Transformation
Consultant, |, iuicie Meroe, am well aware of the Confidential nature of Client relationships.

_ Sedogtie: COneaalings, F229 Lesiarabossy, bbociig eri Bef WME ne

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Unsealed warrant provides closer look at NC power grid attack investigation

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By  toheon bpp, THe tes or ANd eh tei i ba ae Foe
February 02, 2024 at 6:01 pm EST

MOORE COUNTY, N.C. — When oni: “fies. took down two critical substations in Moore County
in December 2022, 45,000 people were left without power and one wey en vip dos

A year later, investigators! o....45: of a van of interest.

information on the investigation is scarce and law enforcement did not say why they were searching
for the van, but newly unsealed search warrants paint a clearer picture into what law enforcement

Case 1->4-cv-0553 n oe Te
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Page 84 of 136

has been looking into. Former FBI assistant director Chris Swecker reviewed some of the search
warrants to help explain what investigators might be thinking.

"The agencies will not feed information to the public unless it's in their best interest. They don't
give out details of investigations normally unless they can leverage the public to help them solve the
crime or identify a suspect,’ Swecker said.

Located near the substation in West End, a storage facility captured the van on camera entering and
leaving an unpaved driveway on the property. That driveway leads to unpaved trails and could offer
a path to the substation.

“1 observed video of a van enter the Pinnacle Storage parking lot on December 3, 2022 al
approximately 8:35 PM and travel down an unpaved driveway parallel to N.C. Highway 211 towards
the rear of Pinnacle Storage, an affidavit from an investigator reads.

Despite leading towards outdoor storage and another gate, employees said there are no records
showing the storage gate opening on the night of the attacks. The van was spotted entering and
leaving the facility twice on camera and didn't stay for long.

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Moore County Eneray Grid OF . .
eeu a ‘Attack :
o December 2022 : -  & Today?
Calendar Carlnage, North Carolina “
Home sun Mon Tue Wed : i Sat
. 7 . . . - . Dec 3, 2022 QAM 10 10 AM se mt 4
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fed anita ee Prey ka eee
omer jwas a Program Manager al the : :
Birthdays Mississippi Davelopment Auihonty tor : !
ihe Energy Efficlency Conservation )
us Holidays 4 5 6 7 glock Grant (EECBG] which was @ \ 10 }
ee | Tederally funded grant programs, under :
=: Sint Suggestions - the Uniled States Department of Energy - Starbucks - Neon. BAM

{DOE}, as part of the American '
Recovery and Relnvestment Act (ARRAY :

of 2009, under the President Barack H.

Obama adminis! ation. ‘
1 12 3 44 3 ins i ”

«Strip Lama descendant of the Jamaica
Maroons from Moore Town, Jamaica.
Note that my last name is Moore.

As a matter of International Security my
18 19 20 21 Grand Unele is Sir Palrick Allen, : 24
Gavernor-General of Jamaica, Vice

Her ee a : one tection i “ Regal of the British Royal Monarchy Christmas Eve
arlotle Mec! Jan... wer jar ToaMmINgG Pp. dala reporting 10 King Charles (.
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ore! 1y_substatl allack
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‘ May 2024 > christmas Day Christmas Day (abserve... New Year's Eve
Kwanzaa 2 Arianna Hafftenden... 24!
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Military Taclical Hold
New Year's Day
® a7 2B 29 30 87 | Andre Gliqeaus's Birth...

Falsification of Records related to the United States Department of Energy (DOE) and/or the State
of Mississipp!

Case 1:24-cv-0 etiam co ee
5533-UA Document 1 ' Filed 07/17/24 Page 85 of 136.

Daniel (Dan) Saucier was not the Bureau Manager of the Energy Policy, Planning and Research
Division in February 2011, as it did not exist.

brie tii sys halen. Labaltl

Further, as Bureau Manager / Program Manager of the: i" hy i
fey io} program from January 9011 - April 2012, Daniel (Dan) Saucier reported to me as Project

Manger. There was no Project Manager, Senior position available, as noted on Danie! (Dan)

Saucier’s LinkedIn profile - Fi.” fhwpapas Hs Sips ifyfebt ts 1s EM cE hdi A

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Mississippl Development Authorily Maunt Fiaavant, 3€
2 a years 10 months Dan Saucler

Associate al Allac

Bureau Manager - Energy Policy, Planning and Research slewport, ME

Feb 2071 - Nav old «3 yeurs 19 menthys
28 others named Dan Saucier in United

Projact Manager, Sr. Slaies are on Linkedin
Fab 201) - Sep ani2 lyest 3 months oT _
. Provide technical aasistance with the development and implementation of ARRA projects ( See others named Dan Saucier }

_

and programs for the Stale ol Mississipp!
- Respansible far the averall execution oi 50 grant projects under the Energy Fllicency

and Conservation Block Grart , budgeted far a total of $4.2M Add new skills with these

. Built relationships ai the focal unit of government, angineer and grant adminiatratar courses

levels

- Monitor all grantees and ensure that the rules and regulation telaled to ihe American ren Leadarship Upskilllng Ina
Recavery and Reinvestment... Zoom Economy:

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Legal Administrator m=, Aninsider's Guide to
Young Willams PC Today's Music Biz: 6

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» Responsible for the case analysis, rasearch and review af 250 Chiid Support cases on ( See all courses
pehall of the Slate of Mississippl —~
- Facilitated chent development and analysis far the Child Support Services division

- Planned and executed all case hearing documentation and filings. Worked as second

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chair on ail hearings

- Negotiated and secured setviament judgments between custodial parents and the Stave
of Mississippi

. Managed mulliple case joade working with judges, the Department ol..

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Law Clerk
-  Eragcogna Courtney. PLLE

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BARACK OBAMA

THE 44TH PRESIDENT OF THE UNITED STATES

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ARGUT THE WHITE HOUSE

PRESIDENTS

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UPDATE
July §, 2022

| Apple expands industry-
leading commitment to
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protect users from highly
targeted mercenary spyware

Apple is previewing a groundbreaking security capability that
offers specialized additional protection to users who may be at
risk of highly targeted cyberattacks from private companies
developing state-sponsored mercenary spyware. Apple is also
providing details of its $10 million grant to bolster research
exposing such threats.

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V-05533-UA Document 1 Filed-07/17/24 Page 89 of 136

March 30, 2023

Lindsey Dewhurst

Leasing & Marketing Manager
Lincoln at Dilworth

905 Kenilworth Avenue
Charlotte, NC 28204

RE: Lease Termination - Apt 479 Lincoln at Dilworth
Dear Lindsey,

This letter serves as notification that | will be vacating the Lincoln at Dilworth property located
at 905 Kenilworth Avenue, Charlotte, NC 28204, Apartment 479 on Friday, March 31, 2023. This

decision is not taken lightly, due to safety and security concerns it is necessary for me to
terminate my lease.

As discussed, during the past two weeks, the following incidents have occurred within my
apartment: ,

e Saturday, March 11th - Noticed green pin-dot laser light against my curtains at multiple
points throughout the day
Wednesday, March 1 5th - Awaken by a green pin-dot laser light on my face at 3:45 am.
Thursday, March 16th - During a meeting, noticed red pin-dot laser light against the wall
where my desk is step UP 4:00 pm - 4:30 pm
Friday, March 17th - Awaken by a bright camera flash between 3:30 am - 4.00 am
Saturday, March 18th - Green pin-dot laser light shined on my face at 7:30 am

Note that on Wednesday, March 22nd the apartment above me from 5:30pm - 6:20pm either
moved and/or constructed items that were loud and disruptive in nature.
e On Wednesday, March 22nd at 5:56pm 1! noticed the green pin-dot laser light against my
curtains.
e On Thursday, March 23rd at 3:15am | noticed the green pin-dot laser light against my
blanket near my face.

Contacted and meet with the Charlotte Mecklenburg Police Department to discuss the situation
e Tuesday, March 21st - Case Number 20230321155300
e Thursday, March 23rd - Case Number 20230323101700

Lease Termination Options were previously provided, at this time | will move forward with Option
3-Rent Responsible until Re-Lease. Note that my original lease agreement termination date is
June 30, 2023.
Case 1:24-0y-06553-UA ‘Document1 ciledd7/17/o4 Page 90 of 13
:24-cv-05533-UA Document 1 Filed 07/17/24 Page 90 of 136

As | both live and work from home, safety and security are of the utmost importance for me. lt is
unfortunate that the circumstances noted above have occurred.

if you have any questions or concems, feel free to contact me at the details listed below.

Best,

Charisse §. Moore

Charisse S. Moore
cydreis9@gmail.com
917-386-5745

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ase 1:24-cv-05533-UA Document 1. Filed 07/17/24 Page 91 of 136

Move Out Balance Statement
Charisse Moore
905 Kenilworth Ave Apt 479 | CHARLOTTE NC 28204
July 10, 2023

Charges Amount _|
3/1-3/3) Rarch 2023 Rent $2,248.00
3/1-3/31 Valet Trash $30.00
3/1-3/31 Pest Control $3.00
3/1-3/31 Pet Rent $20.00
12/25-1/25 Water, Sewer and Water Admin Fee $19.87
1/25-2/25 Water, Sewer and Water Admin Fee $19.28
2/26-3/31 Water, sewer gnd Water Admin Fee $22.93
April Rent $2,268.00
May Rent $2,268.00
6/1-6/27 Rent | $2,192.40
[Total Charges $9,111.08
Credits Amount
Security Deposit -§300.00
3/2 Payment -$2,340.87
4/2 Payment -$2,340.28
$4,981.15

Total Credits

[Total Due 54,129.93 |
Schedule of Payments:

Payment is due in full by Thursday, August 10, 2023

Terms of Payment
Payment is due In Full on or before the scheduled date. Payments must be made

in certified funds. Legal action will be immediately taken for the collection of the
unpaid debt described above i payment is not made in full on the scheduled date
Nonpayment ot the above deb! will negatively affect your rental and credit history.

This docu Ent was prep red by:
NA Wholzs

Kristen Hooper, Resident Kranager Date

CC: USPS, Email, Resident File

Per North Carolina Debt Collection Law, we are required ta state the following:
THIS IS AN ATTEMPT TO COLLECT A DEBT
‘Case'1:24-cv-05533-UA Di tt jo7/7/24
é v-05533-UA Document1 Filed 07/17/24 Page 92 of 136

Potential Trigger for 2023 Nashville Mass Shooting
Noh 12 ,We

tam the victim of a multi-year 1 +... geheme, my name IG ibe with
timelines from 2021 - Present, possibly earlier than the provided timeline.

Charisse S. Moore - yr MAE tipi ly a Fah ijn pag hi bieerh
— Charisse S. Moore is a UNITED STATES OF AMERICA CITIZEN

Scenic Productions
— Ryanne Duffie Saucier, Dan Saucier, Terry Duffie, Sharon Duffie

Vanderbilt University
— Tara Duffie

Potential trigger:

— Targeting in Orlando, Florida, Smyrna, Georgia and the Military Tactical hold in Charlotte,

North Carolina, pictures previously in my phone from the Pulse Mass Shooting in Orlando,
Florida. Look at the outfit of Aiden | Audrey Hale and my pictures from March 31, 2014.
The kids knew that | was being stalked by Ryanne Duffie Saucier, Dan Saucier, Terry Duffie,
Tara Roseanne Duffie, Vanderbilt University and additional known and/or unknown Co-
conspirators targeted me in Smyrna, Georgia, Charlotte, North Carolina.

2019 - 2021 | Charisse S. Moore - Orlando, Florida resident
— November 12, 2020 - Texted me and asked whether | would come to her house in Smyrna,
GA, for Thanksgiving. | stated that | would not come to Thanksgiving due to the COVID-19
pandemic. | stated that | was considering moving to Atlanta, GA.

— April 2021 - Visit to Atlanta, Georgia, to look for apartments in the Buckhead area Dan and
Ryanne (maybe more Dan). Ryanne Duffie Saucier spoke of Dan Saucier having COVID-19 in
March 2020 and not being able to get into hospital at Emory, as the focus was On Black
patients.

2021 - 2022 | While a resident at the ick Ap apartment complex in Smyrna,
Georgia, | believe that there were HIDDEN CAMERAS installed in my apartment and the following
activities took place:

— June 1, 2021 - Ryanne Duffie Saucier and ica on sent me text messages when | moved
to Smyrna, Georgia, that if | ever needed anything to please feel free to reach out.
yey athe acresides in Smyrna, GA with her two children and her husband, Derek, whc
serves as the Mayor of Smyrna.’
— Contact AT&! to obtain text messages from June 2021
— June, 2021 Welcome to Smyrna, Georgia (Atlanta, Georgia)
Case 1-2 A-cv- aay 4) Se , oe — -
05533-UA Document1 Filed 07/17/24 Page 93 - 136.

— {spent the weekend at Ryanne Duffie Saucier and Dan Saucier, as they were out of
town. Their babysitter for Elias was at their home in Smyrna, Georgia for the weekend,
with her boyfriend. The babysitter and her boyfriend (unfortunately, | do not remember

their names) slept upstairs and | slept where | usually slept, downstairs in the guest
room.

— The babysitter was 4 student at the University of Georgia, in Athens, Georgia. Dan
Saucier has a sister and nephew that also live in the Athens, Georgia area.

— The babysitter and | had multiple conversations about her attending a friends wedding
that celebrated the indian culture. At this same time, | may have shared a vision that |
had for a multi-cultural show to help people see that we have more in common than we
do differences.

— August 2021} Conservation about Ryanne Duffie Saucier joining Fox News

— Ryanne, Dan and | had a conversation about Ryanne Duffie Saucier joining the Fox
News team and how Fox News has changed. | was happy for Ryanne to join the Fox
News team and told her about an old friend that worked at Fox News and how
successful that person looked from her Linkedin. Ryanne and | then talked about
clothes that we wore at work. | specifically noted that | like to wear crew neck tops, so
that “there is no funny business”. Meaning focus on the work and be respectful of
myself and people's families. Ryanne looked at me kinda of strange, but | understand
because the comment came out of nowhere. | then switched the subject to tv shows
and movies and talked about the movie iio. | showed Dan and Ryanne have
pictures of my family (Sir Patrick Allen's family) and my Mom's home in Boca Raton,
Florida. My intention was to show the diversity of family, as Dan mentioned a couple of
times that he has no-racial siblings that he would like to meet from Mississippi.

Ryanne Duffie Saucier and Dan Saucier

— November & December 2021 | Spent the holidays with ware, Fb ht inv and leads
yt In Atlanta, GA, to include, Thanksgiving, Christmas and New Year's Eve.
— Halloween 2021 | Note that yar 04 ihe Tadeo) actively highlighted her son

wearing Minnie Mouse slippers to be “ust like his mom", in addition to Ryanne and Dan
allowing their son to come down the stairs and outside unclothed.

— NOTE: During this time, Ryanne Duffie Saucier mentioned ints woh Lae
“grooming” child abuse. Ryanne may have been referencing something to this
nature, | am not sure, a5 | did not ask and was not interested in the talking point.

- elyyhg deer ase yale callbarde Wied Mae bead beat poe

— November 2, 2021 | ur Lhe yuh asked me repeatedly to spend the night at
their house for unknown reasons. | lived approximately 10-15 minutes away from
Ryanne Duffie Saucier and Dan Saucier. Spent the night at Ryanne Duffie Saucier and
Dan Saucier’s house at Ryanne’s insistence. We (Ryanne Duffie Saucier and Charisse S
Moore) fell asleep downstairs on opposite sides of the sofa watching the last game in
the World Series, with the Atlanta Braves winning the World Series on November 3,
2021.

— November 5, 2021 | Hung out with Dan Saucier, Ryanne Duffie Saucier, Mechel
Case 1:24-cv- ey — -
: : v-05533-UA Document1 .Filed 07/17/24 “Page OA of 136

McKinley Hoffman - Realtor and her husband at Truist Park to celebrate the Atlanta
Braves winning the World Series
— OF INTEREST: eyed Eat ow Cypeding hy bondi gre aans Dido pebepetcy
ba ey aiydybs bathe ye ab geet RS yt !

— November 28, 2021 - December 3, 2021 - | offered to housesit for you FE
ance and Dan Saucier at their home 3335 Hidden Trail SE, Smyrna, Georgia, as there
was a series of issues at Elevate West Village in Smyrna, Georgia
- _. November 28, 2021 - Ryanne played the voice recording of the Mickey Mouse

impersonator for Elias with directions that they are going to Wa rs yp Wee in
Orlando after Thanksgiving 2021. She paid the actor, who actually acts as
Mickey in the Disney park $400 for a five minute call with Elias. | had the video of
when the guy called Elias on Sunday, November 28, 2021.

— December 25, 2021 || remember Sharon Duffie looking at Ryanne Duffie Saucier on
December 25, 2021, saying that Ryanne sleeps naked, Elias comes into the bedroom
and sleeps with her and that Dan sleeps in the spare room due to his sleep apnea. It
was a strange comment that came out of nowhere.

Daniel Saucier

Race: White male, of American Indian and Cajun descent
. Height: Tall (about 6'2 or 6'3)

. Build: Heavyset, 300 lbs

. Age: 43 years old

May 2022 | Smyrna, Georgia Targeted

Following up with you on being potentially stalked. On Thursday, May 12, 2022 -—| saw one (1) young
black man walking in the opposite direction of my morning walk with jax (7:05am - 7:25am):

- Race: Black male, dark skinned

. Height: Tall (about 6'0)

. Build: Skinny, 450-165 Ibs.

. Age: 20-27 years old

- Clothes: White baseball hat, white Raloh Lauren Bear long sleeve hoodie, white shorts that hit at
the knee, white sneakers, backside of underwear had some yellow in it

As we walked in opposite directions, when he approached my direction, | crossed into the median
grass area and continued to walk my dog. After the individual walked past me, | returned to my
original path and smelled weed from the man's walking path. He had a little black video recording
device in his hand, he looked in the Bobbie Sharma clothing store with it. As | made the loop around
the buildings (beginning at Five Guys to McCray’s Tavern to the Alexander Dentist office and back
to Elevate West Village), our paths crossed on opposite sides of the street, he said ‘Ht, pseudo
waved and pointed the black device my direction. | shared this information with Ingrid Jones, Rache
Luppino (friend) and Andre Gilgeous (cousin), each individual did not pay attention to issue.
“Case 1:24-cv-t 33.1 Tac oe Fe
v-05533-UA Document1 Filed 07/17/24 Page 95 of 136

2022 - 2023 | While a resident at thei apartment complex in Charlotte, North
Carolina, | strongly believe that there were HIDDEN CAMERAS installed in my apartment and the
following activities took place:

2022 - 2023 | Stripe, Inc.

— October 2022 | As Payroll Program Manager, My personal phone was used to conduct
business on behalf of Stripe, Inc. to include, but not limited to, calls to the following
organizations:

— Ultimate Kronos Group (UKG) - United States Payroll

— OF INTEREST: Contacted Gusto Payroll to gain access to Stripe, Inc. subsidiaries
reports

— OF INTEREST: Partnered with Finance Operations, Corporate Tax and SALT to resolve
State of Maryland Payroll Employer Quarterly taxes, Baltimore County and City of
Baltimore taxes for Helm Services

December 2022: 1, le bea y read the book int afok bia Th ep eed, Wek Hah 4

ey Veitns play oo, The name of the book, Betrayal Trauma, is enough to get anyone's attention.
Especially when former friends stalk you and leave threatening message.

- OF SIGNIFICANT IMPORTANCE: Fall 2021 | Remember Dan Saucier talking about people getting
shot while he was a child at home.

Military Tactical Hold within the Lincoln at Dilworth apartment complex:

For months and months (December 21, 2022 through March 31, 2023), everytime that \ took Jax out
for a walk, people lined their cars Up in the driveway at Lincoln at Dilworth, stood in the garage at
Lincoln at Dilworth, lined up on the walking path for Jax and/or followed down the elevator. There
was an unknown social media frenzy to me.

The elevator episodes were of particular interest as, each time that | pushed the button for the
elevator, the elevator went up to the fifth (Sth) floor prior to coming to the fourth (4th) floor. |
sensed that the men that were in the elevator were following me ana/or watched me take a shower .
and watched the video of me showering.

— December 2/7, 2022: There were four (4) vehicles that surrounded the exit of Lincoln at
Dilworth, when | went to walk Jax. VEHICLES OF INTEREST: Black Eerrari (this vehicle was
in the Lincoln at Dilworth parking garage in December 2022)
— NOTE: Aresident, white woman with blonde hair and a little Poodle stared at me in the
elevator and did not say a word.
— December 28, 2022: Ulta Beauty at 7314 Waverly Walk Ave, Charlotte, NC 28277

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cv-05533-UA. Document1 Filed 07/17/24 Page 96 of 136

— Doxxed while paying for Dolce & Gabanna - Light Blue. The cashier asked for my phone
number and screamed my phone number across the entire store.

— Banfield Pet Hospital appointments at Charlotte SouthPark
— February 10, 2023: The veterinarian pulled out a lot of Jax’s teeth in the top part of his
mouth. Jax must now eat soft food, instead of the Blue Buffalo that he traditionally ate.
— OFINTEREST: Instead of the traditional call from the Veterinarian’s office, the follow-
up call about the surgery | received an email instead which was strange, aS this was the
first time that person wanted to help out

— February 22, 2023: Followed by Grey Jeep Wrangler with dark tinted windows to church on
Ash Wednesday at St. Gabriel Catholic Church.
— Address: St. Gabriel Catholic Church - 3016 Providence Rd, Charlotte, NC 28211
_ Of Interest: This is the day that my ears finally stopped burning and turning red.

March 6, 2023 - March 20, 2023: The stalkers upped the ante and started to use laser pointers
through the vents in the Living Room, Bedroom, Bathroom, Office area and additional unknown
areas of the apartment. Specifically, unknown individuals shined laser points in my eyes when |
woke up from sleeping at 3:00M or 3:30am to wake me up.

March 2023 | As Payroll Program Manager, | made calls to the State of California Employment
Development Division (CA EDD) for Payroll Employer Quarterly Tax purposes, this occurred during
the same time of the Silicon Valley Bank (SVB) crash

— Silicon Valley Bank (SVB) and First Republic Bank (icra [farang lot bro matiyp Leo)

geoeonYZW2 [OA AGP ICO! yee bail fy Pee yo HT TY peels)

— During this time | also made calls to the United States Department of Treasury and/or the
Internal Revenue Service (IRS), to recover and/or seek a refund on behalf of Stripe, Inc. (with
the Bureau of the Fiscal Service, (2 2h! cy ged flyin (rcort) and could audibly hear a

call drop in the background, this occurred in March 2023 (on my phone fees Gs ).
— Thecall was dropped after the recorded statement of "This is a recorded line of the
United States Department of Treasury and/or the internal Revenue Service”

— March 2023] As Payroll Program Manager, this coincided with the Stripe Tender Offer
scheduled for March 2023. Additionally, | made calls with the State of California attempting
to recovering ~$500K on behalf of Stripe, Inc., the State of Maryland in partnership with

ey bei ety Corporate Tax, : ma Prope, State and Local Tax {SALT} and vores fee bord,
Einance Operations and tierce bey Real Estate ~$3.0M and the City of Baltimore

— Tuesday, March 21, 2023: Again, contacted the Charlotte-Mecklenburg Police Department tc
perform a search of may apartment due to possible hidden cameras, break-ins and to discuss
mischievous behavior within my side of the apartment complex.

— Tuesday, March 21st - Case Number 20230321155300
‘Case 1:24- (05533-UA Do. ee
a 24-cv 05533-UA Document1  Filed-07/17/24 Page 97 of 136

— Thursday, March 23, 2023: Again, contacted the Charlotte-Mecklenburg Police Department
to perform a search of may apartment due to possible hidden cameras, break-ins and to
discuss mischievous behavior within my side of the apartment complex. The Responding
Officer was Officer Jackson, and it took Officer Jackson two (2) hours to come to my
apartment after the initial call to the Charlotte-Mecklenburg Police Department.

— Thursday, March 23rd - Case Number 20230323101700

— March 28, 2023 | ivi bpp LE yy cic dy ete pha fog hh abotorwteany is fren
— Six people — including three children — wee: hie par iy en jicey, and the suspected
attacker was killed by police within minutes of the first call of an active shooter.
— Audrey Hale, whom police identified as the shooter, had bought seven firearms —
including the three guns used in the attack — legally and had been in treatment for an
emotional disorder, Nashville Police Chief John Drake said Tuesday.”

— March 30, 2023: There was a White guy ina Black Chevy Suburban, that followed me from
Lincoln at Dilworth to Pearl Street Park - 1200 Baxter St, Charlotte, NC 28202 with North
Carolina vehicle tag - SOLD.

— Hewalked into’ ery PP AL pO Ob VET 1120 Pearl Park Way, Charlotte, NC
98204. The guy was wearing a golden yellow t-shirt, black sleeveless vest with quilted
diamonds, black pants and was bald-headed and his face was bright red after looking
at me. He made his presence known.

— OF INTEREST: This guy made his presence known, he had the “qpportunity to inflict
physical violence” and did not take advantage of the “opportunity to inflict physical
violence”. He was nota threat, from the expression on his face he was pissed off and
may know a jot more about what was happening and/or what was supposed to
happen to me, Charisse S. Moore.

— This guy watched me for more than 50 minutes. He was not a threat.

— NOTE: he Ho olig hfone (formerly EMF Broadcasting, abbreviated
EMF) is an American iomgiol! Christian media ministry based in: auch,
poe 2, @ suburb of Meeivile. Educational Media Foundation - | believe this
maybe be related to the SOLD gentleman, per Wikipedia “The president and (':
of EME is Todd Woods, named to the position on March 21, 2023.[1] Woods
replaced Bill Reeves, who held the position from July 15, 2019, till March 21,
2023. Reeves replaced interim president and CEO Alan Mason, who himself
succeeded longtime head Mike Novak.[2]"

2019 | Restructuring Might Have Just Made Cumulus Media an interesting Bet
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pe orgies PMtph TTT EN Meech) [Rah ge

aug Re ag peapedir pb Fee iuieyagre GREER e asa pare

‘ cep eta th gtd Seay soho e cpt tha poy PR PE
ide GM be dh pet ws iil oly itd wp EME eS

: rad i ie oe tat bot yar l Poo owe Doc phage AE 4 ooh
foe lb tay Cac tebe phe posts yi! pita uP ae
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“Last year, when it filed for bankruptcy, the value of its assets was below the level of its debt. The
situation was SO bad that the debt was actually more than 100 times the value of the equity and
more than 25 times Ebitda. But it has made a conscious effort to reduce the gearing, divesting six
stations to Educational Media Foundation for approximately $25 million and using the money
primarily to pay off term loans. There are more such divestitures expected in the near future.”

NOTE: 8) oes. ado ha De Hee (formerly EMF Broadcasting, abbreviated EMF) is an
American iii! Christian media ministry based in | posight, Pade Dota @ suburb of beni
Educational Media Foundation - | believe this maybe be related to the SOLD gentleman, Per
Wikipedia “The president and (1. of EMF is Todd Woods, named to the position on March 21,
2023.[1] Woods replaced Bill Reeves, who held the position from July 15, 2019, till March 21, 2023.
Reeves replaced interim president and CEO Alan Mason, who himself succeeded longtime head
Mike Novak.[2]"

September 29, 2021| US Department of Justice, Southern District of Alabama, Interstate
Stalking

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— Perthe US Department of Justice, Southern District of Alabama, interstate Stalking
website, “In 1996 Congress passed an anti-stalking law as part of the Violence Against
Women Act (VAWA). Under this law it is a federal felony to cross state lines to stalk or harass

an individual if the conduct causes fear of serious bodily injury or death to the stalking victim
or to the victim's immediate family members. tis a federal felony to stalk or harass On
military or U.S. territorial lands, including Indian country (18 U.S.C. § 2261A). It is also a
federal crime to cross state lines or enter oF leave Indian country in violation of a qualifying
Protection Order (18 U.S.C. § 2262).

OF INTEREST:

— August 31, 2021 |! started |e dtl Pepa Le \ sessions for unresolved trauma
related to my brother Winston Alexander Moore, Jr’s death with Anne Mayfield in the Atlanta,
Georgia.

— June 26, 2021| Attended birthday party of Ryanne Duffie Saucier and Dan Saucier’s five (5)
year old child. In attendance at the party was Terry Duffie, Sharon Duffie, Skip Duffie (Terry
Duffie, Jr.) and children and parents from Ryanne Duffie Saucier and Dan Saucier child’s
school.

— NOTE: Ryanne Duffie Saucier's father Terry Duffie owns a Radio Station in Dothan,
Alabama Radio Station Owned by Terry Duffie (Father): 0 PP Ait Frey
Case 1:24-cv- se Sos . —
05583-UA Document 1°. Filed 07/17/24 Page 99 of 136

— Terry Duffie, Member of Alabama Broadcasters

— Vi ae

Professional website - 20:

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Association

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TV of Alabama (appointed py Sin ie

of Alabama to National Association of

— Linkedin -': Pea ee fine

— Founderof «or Doe php duyen Be Te He Be

— Founder of W) *°

— fxecutive Director of nebrasy relia

— Governor's Advisory Board of Educational
ew at : " bP dae

— Liaison for Governmental Aftairs for State
Broadcasters

— flected and Served

Contact Details

— Ryanne Duffie Saucier, Vice President of Legal Affairs at Fox News Stations (ie fl
ai ne peaoths ppg tbe i)
— Ryanne is the Vice President of Legal Affairs at Fox News Stations and was is in charge
of the Orlando, Gainesville and Tampa markets at Fox News Stations
— Ryanne Duffie Saucier was formerly employed by ° ‘yi, Mi, @S General Counsel
with directly reporting responsibility to Richard Denning
— fyi: eure Es psig yy Sy here ah ih ~|
ran Lie Balora, EME, GMb Pa pa ey ece
mo Gney cm
— |blocked Ryanne’s phone and email, as of January / February 2022
— Linkedin profile - He Jian Le highs cpap eH EP ES Pail
— Emailaddress - ‘vi wo eis st G8 redone | So abi re Peat OTT
— Email address - weted OPED Gaudet sb heib iy eit
— Dan (Daniel) Saucier, Real Estate Agent at Keller
— Danisa Real Estate Agent at Keller Knapp Realty
— {blocked Dan’s phone and email, as of January / February 2022
— Linkedin profile - ite, Hn bie jiflisfelati soa Ee ch es
— Email address -' Pah He dope cat, HB tori yigal Soe mi anid

Tara Roseanne Duffie, MA, DNP, PMHNP-BC

Professional website - Hint
— Ingrid Jones, Licensed Mental Health Counselor

4 iv wh »

9-4 Year Terms on the Associated Press Board of
(Representing the State of Alabama, Mississippi,

Abia!

Directors
Tennessee, Kentucky and Louisiana)

Psychiatric Mental Health Nurse Practitioner at Vanderbilt University

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(LMHC)

— Adjunct Professor at Nova Southeastern University and Broward College

— LinkedIn profile - jpananoe Wirhe DLs sea fteifts SiO hats.

— Email address ~- ei ye yh Why Hg ow oe Tey

— Personal website - li fais | Feary get ay

— Professional website: pif.) finere! wpa pace eroded hol elie fae
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— Instagram: i fhwenea an atypia papas Pai cant tt
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Licensed by State

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i eo de geri b etl Spot qied pap Sa

of Florida | MH10957

Address - 5850 Coral Ridge Drive, Suite 314, Coral Springs, FL 33076

Phone Number - i

Phone Number: o

|

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cv-05533-UA Document1 Filed 07/17/24 ‘Page 101 of 136

Lincoln at Dilworth Lease Termination - Apt 4... tT ¥ ~ i
Page 10f 2 @ Q Q 2 oO ®

March 30, 2023 |

Lindsey Dewhurst I
Leasing & Marketing Manager
Uncotn at Ditworth i
905 Kenilworth Avenue |
Charlotte, NC 28704

RE: Lease Termination - Apt 479 Lincoln at Dilworth i
Dear Lindsey, '

This lelter serves 4S notification that! will be vacating the Lincotn at Dilworth properly located
at 905 Kenilworth Avenue, Charlotte, NC 28204, Apariment 474 on Friday, March 31, 2023. This
decislan is not taken lightly, due to safely and security concems ills necessary forme to
terminate my lease.

As discussed, during the past wo weeks, the following incidents have occurred within my
apartment:
e Saturday, March 11th - Noticed green pin-dot laser light against my curtains at multiple
polnts throughout the day
e Wednesday, March 45th- Awaken by a green pir-dot laser light on my face at 3:45am.
© Thursday, March 16th - Quring a meeting, noticed red pin-dot laser Hight against the wall
where my desk Is step UP 4:00 pm - 4.30 pm
» Friday, March 17th - Awaken by a bright camera flash between 3:30 am- 400 am
e Saturday, March 18th- Green pin-dot lager light shined an my face at 7:30 am

Nole that on Wednesday, March 22nd the apariment above me from 5:40pm - 6:20pm either
moved and/or constructed tems that were \oud and disruptive In nature.
« On Wednesday, March 22nd at 5:56pm | noticed the green pin-dat laser light agalnst my
curtains.
«On Thursday, March 23rd al a15am | noticed the green pin-dot laser light againsl my
blanket near my face.

Contacted and meet with the Charlolte Mecklenburg Police Department to discuss the situatlon
e Tuesday, March 21st - Case Number 20230321155300
«Thursday, March 24rd - Case Number 2023032310170

Leage Termination Options were previously provided, at this {ime | will move forward with Option
3- Rent Responsible until Re-Lease. Note that my original lease agreement termination date is
June 30, 2023.

As | both five and work from home, safety and security are of the utmost importance for me. itis
unfortunate that the circumstances noted above have occurred

If you have any questions of concerns, feel {rea to contact me al the details listed below.
Best,

(Charisse 5. Moore

Charlase 5. Moore

cydreis@agrnail.comn
917-386-5745
Case 1:24-cv-05533-UA Document1_ Filed 07/17/24 Page 102 of 136

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Page 104 of 136

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About this location

Your estimated cane tl

Atlanta GA, Georgia

From your IP address

Your general area is estimated from your IP address. An
\P address Is assigned to your device by your internet
service provider, and it's required to connect to
websites and online services.

©” To get results for a specific area, include a

location in your search
Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 105 of 136

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Case 1:24-cv-05533-UA Document 1 Filed 07/17/24 Page 106 of 136

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OFFENDING COMMAND:

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se 1:24-cv-05533-UA Document'1 Filed 07/17/24 | Page 107 of 136
2/21/24, 6:26 AM

Re: Internal Movement - Transfer Request

From CharisseSM 8@proton.me <CharisseSM8@proton.me>

To leastern@stripe.com
cc jackieo@stripe.com

Date Wednesday, May 31st, 2023 at 6:07 PM

Hi Lea,
Thank you for working on this issue on my behalf.

Best,
Charisse

On Wed, May 31, 2023 at 2:54 PM, Lea Stern <ice wrote:

Hi Charisse,

Thanks for reaching out. | wanted to acknowledge your note and let you know | am reviewing your request
with the business. | will get back to you shortly on this.

Best,
Lea

On Tue, May 30, 2023 at 9:A2PM <i eee hu wrote:

| Lea,
! Hope that you enjoyed the Memorial Day holiday.

Reaching out to you in regards to my request for an internal transfer to the New York City area. Per
Alessandro's email below, Alessandro and David have reviewed the request and have declined the

. transfer.

- As noted via emails with Jackie, | have worked with my medical professional to create a Relocation

. Strategy due to ongoing stalking. This relocation strategy would involve moving to the New York City
area where | will have the support of friends and family, as this issue persists.

Note that my request to move to New York City is a matter of my personal safety and security. | did not

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24-cv-05533-UA Document1 . Filed 07/17/24 Page 108 of 136

2j21f24, 626 AM

ask for a financial impact as part of my request. | asked to move to the New York City area. It's
unfortunate that financial impacts were considered prior to my personal safety.

Please let me know if there is flexibility on moving forward with the internal transfer to the New York City
| area and/or next steps is there is not flexibility.

: Best,
Charisse S. Moore

On Fri, May 26, 9023 at 2:03 PM, <ilins gee ue ea te wrote:

Hi Alessandro,

Per your email below, my understanding is that my transfer request has been declined, by yourself
and Dave.

Thank you for providing insights into the decision making framework for the transfer request.

As noted below, | will reach out to Jackie and/or Lea (Jackie is out of the office returning June 1st) on

next steps after the Memorial Day holiday weekend.

Best,
Charisse S. Moore

On Thu, May 25, 2023 at 4:51 PM, Alessandro Giagodi <.tL oli yeu wie wrote:
Hi Charisse,

All well here thanks, and good to hear from you.

Dave and | have discussed your personal request to transfer to the NYC area. For context, when
reviewing these requests, Our goal is to ensure that any personal transfers are justified by the needs
of the business, including cost considerations. In this case, unfortunately there is no business need
justifying the cost implications for a move to the NYC area. 1 know this is likely disappointing, but
unfortunately we can’t move forward here.

| understand you have been in touch with Jackie and Lea regarding your leave of absence and |
would encourage you to follow up with them to touch base on what next steps might look like from
here if needed.

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Case 1-24-cv-05633.UA  Document1 Filed 07/17/22 | Pace 1
cv-05533-UA Document 1 Filed 07/17/24 Page 109 of 136.

2/21/24, 6:26 AM

Regards,
Alessandro

On Wed, 24 May 2023 at 16:12, <Lia hoe ML oh ist wrote:
Hi Alessandro,
Happy Wednesday! Hope that you and the team are doing well!

In parallel with the leave of absence, i would like to request a transfer as | plan on moving to
| New York City.

, Please let me know what information is required to initiate this process.

Best,
: Charisse
|

Sent from Proton Mail for iOS

Lea Stern

® People Partner

- leastern@stripe.com

—mneunigarastacronns aa2MoQnH7anwsntravernsTaostaowegnagSAT GT Page 3 of 3
Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 110 of 136
2/21/24, 6:21 AM

Re: Leave of Absence continued

From CharisseSM8@proton.me <CharisseSM8@proton.me>
To jackieo@stripe.com
cc leastern@stripe.com

Date Thursday, May 25th, 2023 at 11:52 AM

Confirmed! Thank you Jackie!
Hope that you enjoy your time off.

Best,
Charisse

On Thu, May 25, 2023 at 11:50 AM, Jaclyn Opritza <jguk eo oe ui> wrote:
Just confirming that our team has sent this letter and last 4 paystubs on a different thread - thanks again
for your patience Charisse!

“yi@nroesy sem wrote:

On Thu, May 25, 2023 at 5:36AM <:.:
- Lea,

Following up en Jackie's email below. Can you reach out to the People Operations team and ask that
’ they send the Letter of Employment to me at this email address?

‘It's critical that | receive the Letter of Employment this morning. Please let me know if this is possible.
Best, -

- Charisse Moore

On Wed, May 24, 2023 at 5:31 PM, daclyn Opritza <:;
Hi Charisse,

cigc> wrote:

Thanks for your patience - there are some issues with the Workday access, but instead one of our
team members is pulling a verification letter for you as well your last four paystubs and will be
sending those to you directly with me on CC shortly. Thanks again and sorry for that delay!

In addition, heads up that after tomorrow | will be OOO from 5/26 through 5/31, returning June 1.

https: mail proton. n.mefu/S/XJECHrRP1ncHZ25HXCYACSBrXMUgIORS.. .McuTYoS1iwSmsk7- -2hp5Whmachm3s JgDEn4FOBOIMWaHSINILFPSZAUAAE= Page 1of9

Case 1:24-cv-05533-UA Document 1 Filed 07/17/24 Page 111 of 136 /

2/24/24, 6:21AM

mceou for any questions on this!

While I'm out, don't hesitate to reach out to }:
-Jackie

On Wed, May 24, 2023 at 12:03 PM <j ik eco
' Jackie,

As a People Partner, are you able to provide me with a Letter of Employment?

| would like to have this document prior to everyone going out of office for the Memorial Day
. holiday.

Let me know.
' Best,

: Charisse

On Wed, May 24, 2023 at 9:24 AM, <."
Jackie,

o> wrote:

Thank you for reaching out to the People Operation team to prioritize the external Workday link
request.

{n regards to the transfer process, | will reach out to Alessandro this morning on this request.
Best,

Charisse

On Tue, May 23, 2023 at 2:37 PM, Jaclyn Opritza <):
Charisse,

sere wrote:

Thanks for letting me know - I'm so glad Ingrid is supporting you. As for Workday, | filed a
ticket with our team to get you access using this email address yesterday - let me ping them
right now to see if they can prioritize this.

For personal relocation requests, these require your manager's input and OG approval
before we can proceed. Is this something you have spoken to Alessandro about? If not, |
- racommend you reach out to him to discuss, including context around when and specifically

sepama.proton me)u/6)XiFGerRPToeHZ26uH6YECEBFKMUGIGAS. GUT YODtiWSINSK7-znpsWemachmes4g0Fn4FOB0\mish SNIFPSSAGANSS Page 2 of 9
Case 1:24-cv-05533-UA Document1 © Filed 07/17/24 Page 112 of 136
2/2124, 6:21AM

where you hope to move as a first step so you can have an open conversation about the
request. Let me know if you have any other questions,

Jackie

On Tue, May 23, 2023 at 10:42AM <..
Hi Jackie,

- Following up on the note below, can you provide the external link to Workday, so that | can
- download a Letter of Employment and paystubs?

1 found an apartment that | would like to move forward on the application process and will
: need to provide the information above. Thank you!

. Charisse

' On Mon, May 22, 2023 at 4:45 PM, <:.
Hi Jackie,

i'm glad to hear that you received the message from Ingrid. To keep you in the loop,
Ingrid will provide the Medical Leave Certification to the Larkin Company in the coming
days. .

In parallel with the leave of absence, | would like to request a transfer as | plan on
moving to the New York City area. Please let me know what information is required to
initiate this process. ,

Additionally, can you provide the external link to Workday, so that I can download a
Letter of Employment and paystubs?

Than! you in advance!

Best,
. Charisse

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Case 1:24-cv-05533-UA  Document1 Filed 07/17/24 “Page 113 of 136
2/91/24, 6:21AM

. On Mon, May 22, 2023 at 4:22 PM, Jaclyn Opritza aioe
po Hi Charisse,

pou.coi> wrote:

Thanks so much for the email - | just checked and yes, there is a VM from her (I
missed this last week, apologies) and I've just listened and will let her know I've
received. Let me know if there's any other questions you have as you work through
the leave process as well.

Best,
Jackie

On Mon, May 22, 2023 at 11:24 AM <:,::
_ Jackie,

DiS Gboruon oes wrote:

Happy Monday! Hope that you are doing well.

This afternoon | spoke with Ingrid Jones, who noted that she called you and left a
» message for you. Can you confirm whether you received Ingrid’s message?

, Best,
: Charisse

- On Thu, May 11, 2023 at 10:05 AM, <2 har
'. Jackie,

Thank you for confirming. | have responded to Cassandra’s email and initiate
the process within the Larkin portal.

Let me know if you have questions or concerns.

’ Bast,
Charisse

Sent from Proton Mail for iOS

On Wed, May 10, 2023 at 6:14 PM, Jaclyn Opritza <i Joebs ie >

https:/fmail. proton.me/u/5/XjF CdrRP1gcHZ26wXGYdCsBrkmugiQAS..McuT Ya9tiwSmsk7-ZhpsWemQChm3SJgDFn4FOBOImWAHSINILF PSZAUA == Page 4 of 9

Case 1:24-cv-05533-UA Document. Filed 07/17/24 . Page 114 of 136

2/21/24, 6:21AM

wrote:
Hi Charisse,

| can confirm that we've discussed Larkin's approach to confidentiality with
the relevant stakeholders, and we're comfortable moving forward with

Larkin here. Again, if you have any other questions, do feel free to let

Casandra from Larkin know as you kick off the process.

Best,

Jackie

Joe> wrote:

On Wed, May 10, 2023 at 11:15AM <2):
Jackie, —

! | would appreciate if you reach out to Jen Zale and discuss Larkin’s ability.
: to confidentially handle Pll and PHI data for matters such as stalking.

‘Let me know if this is possible.
Best, ©
- Charisse

Sent from Proton Mail fer iOS

' On Wed, May 10, 2023 at 12:46 PM, Jaclyn Opritza
: | dig tea @e as sii wrote:

.Charisse,

Thanks for your reply, and for clarifying that you will be acting on your
own behalf during this process. For next steps in the leave process, if
you do want to’ pursue a medical leave, you will need to engage with

: - Larkin. | can assure you that Larkin has been a trusted and vetted
| partner handling hundreds of Stripe leaves without incident over its
long engagement with us, and they use a secure portal for handling all
user data. If you have any questions about that, Casandra Holt, one of
Stripe's Larkin representatives who has reached out to you via email,
can also help answer.

https:/{mail. proton.mefu/5/xjFCdrRP1gcHZ25wXGYdCs8rXmuqiQAS...McuT Yo91iwSmsk7-ZhpSWbmQChm3sJgDFn4FOR OimWqHSINILF p&2AUAA== Page Sof 9

Case 1:24-cv-05533-UA Docunient1 Filed 07/17/24 Page 115 of 136
2/21424, 6:21AM

For next steps, please do reply to Casandra as soon as possible (by
end of week) to get the process started and, if helpful, to get any
more information you may need to understand how they prioritize
security during the LOA process.

Best,

Jackie |

On Wed, May 10, 2023 at 6:13AM <:.0ocg 80008
Jackie,

Thank you for calling Monday evening to discuss the email thread
’ below. As previously noted, | have had and/or continue to have
communication challenges via phone, text and email.

1 will use this leave of absence time to address the stalking issue by
> partnering with Ingtid on‘a safety plan, to include relocating to New
York. ,

| As.previously discussed, | will act on my behalf. Ingrid is a partner in
"this issue and is able to provide a holistic view of this situation

. based on my prior experiences and her work as a Licensed Mental

_ Health Counselor.

: : In regards to reaching out to Larkin, is it possible to handle this
leave of absence internally versus using the vendor? |.have

_ concerns with maintaining confidentiality with my Pll and PHI data
: and Larkin. Please reach out to Jen Z for additional details here.

Ingrid has been cc'd on the email thread as there issues contacting
Ingrid directly last week. oo

i > Let me know if you have questions or concerns.

Best,
_ Charisse

Sent from Proton Mail for iOS

https://mail. proton.me/u/5/XjFCdrRP1gcHZ25wXGYdCs8rXnugiQAS...McuT Yo liwSinsk7-ZhpsWbmQChm3SJgDFn4 FORO mWaHSINiL FpS2AUAAq= Page 6 of 9
Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 116 of 136
2/21)24, 6:21 AM
“On Mon, May 8, 2023 at 11:16 AM, Jaclyn Opritza

1 ik: Jum coni> wrate:
Hi Charisse,

Thank you so much for reaching out, and I'm glad to hear you'll
be pursuing a leave of absence to take care of yourself. I'm
happy to speak with Ingrid about that as needed. To be clear, are
you allowing Ingrid to act as a representative on your behaif with

Stripe and our leave administrator, Larkin? If you could confirm

that, that would be greatly appreciated and will help us facilitate

your leave. As a reminder, in order to initiate your leave, you or

Ingrid should reach out to Larkin at

© Otrtiial pte s hs afescore and they will help you
through it step by step.

Best wishes, and let me know if you have any other questions,
Jackie ~
On-Mon, May 8, 2023 at 6:17AM <izuerecouly

: wrote:
BE | Jackie,

As previously discussed, | have the option to continue to utilize
a leave of absence to deal with my personal matter. -

At this time, | will use another four weeks of leave witha
tentative return on Monday, June 5, 2023.

Ingrid Jones will reach out to you early this week to discuss
: this matter further.

Please use the contact information below and this email

address if you need to reach me directly.

: / | Best,
> Charisse

attps://mail.proton.me/u/5/X/FCdrRP1gcH225wXG YdCs@rXmugiQAS...McuT YoS iwSmsk7-ZhpSWhmQChm3sJaDFn4FOROIMWGHSINILF p52AUAAR= Page 7 of 9

Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 117 of 136

415-940-6805
. - Sent from Proton Mail for iOS
Jackie Opritza
People Team

Stripe

heh

Jackie Opritza

People Team
Stripe
pay oh Leet

Jackie Opritza

People Team
Stripe

Jackie Opritza -

People Team

Jackie Opritza

https:/{mail. proton.me/u/5/Xj/FCdrRP1gcHZ25wXGY¥dCsarXmuaiGas., McuTYo9liwSmsk7-Zhp5WbmG@ChmaSJgDFn4FOROimWqH3INiLEp5zAUAAs=

2/21/24, 6:21AM

|.
Page 8 of 9 |
bo

Case 1:24-cv-05533-UA Document 1- Filed 07/17/24 Page 118 of 136 :

2/21/24, 6:21AM

People Team

Jackie Opritza

People Team
Stripe

Jackie Opritza

People Team
Stripe

https://mail.proten MPM/SIXIFCArRP 1 acH225WXGYACSBrXmugiGAS...McuTYo9 liwSmsk7-ZhpSWbm@Chm3S.JgDFn4FOBOimWGHAINILFDS7AUAAS= Page 9 of 9
Case 1:24-cv-05533-UA Document Filed 07/17/24 Page 119 of 136.

“Tw aca Ona

2/21/24, 6:28 AM

Hi Casandra,

Happy Wednesday! Hope that you are doing well.

Following up on your emai! below, please provide next steps with the claim.
Best,

Charisse

Sent from Proton Mail for iOS

On Mon, Jun 12, 2023 at 12:11 PM, Casandra Holt <:hesi iy bie bie cone wrote:

Hi Charisse

Thank you for getting the Attending Physicians form back to us. After further review, it looks like the doctor is
considered a certified healthcare provider under the Federal Medical Leave Act (FMLA). FMLA considers
qualified healthcare providers as Podiatrists, dentists, clinical psychologists, optometrists, and chiropractors
(limited to treatment) authorized to practice in the State and performing within the scope of their practice as
defined under State law; Nurse practitioners, nurse midwives, clinical social workers and physician assistants
who are authorized to practice under State law and who are performing within the scope of their practice as
defined under State law. Unfortunately. FMLA does not recognize licensed medical health counselors as qualified
healthcare providers.

Right now I am in the process of reviewing further information and next steps for your claim. I should have an
update today or by the latest 1-2 business days. Please let me know if you have any questions or need to schedule
a time to chat.

Best,

https://mail.proton.me/u/s/xjFCdrRP1gchZ25wXG YdCs8rXmuqiQA...4M4U6wuPSVPVPV 1XXPhOsqnTEASWDLOnPFOD4BqyjkYvCRsSROHwSGhg== Page 4 of 20

€ase 1:24-cv-05533-UA Document1 Filed 07/17/24’ Page 120 of 136

2/21/24, 6:28 AM

Casandra Holt

Leaves and Claims Administrator

The Larkin Company

cholt@ thelarkincompany.com

httos://calendly.com/cholt-dju/call-2

241 Perimeter Center Parkway Suite 700 Atlanta GA, 30346

Ph: 650 938-0933 | Fax: 650 938-0943 | Toll Free: 866 923-3336

From: 2) 8 Sk bil
Sent: Thursday, June 8, 2023 7: 42 PM
To: Casandra Holt <i sts b>

Subject: RE: Leave of Absence: Check I In

Hi Casandra,

https://mail.proton.me/u/5/XiFCdrRP'1gcHZ 25wXGYdCs8rXmuqiQA...4M4U6wuPSVPVPV1XXPbOsqpTEASWDLOnPFOD 4Bq¥jkY¥vCRsSROHWSGN == Page 5 of 20

Case 1:24-cv-05533-UA ‘Docuiment1 Filed 07/17/24 Page 121 of 136
2/21/24, 6:28 AM

Hope that you are doing well.

As previously noted, attached is the Attending Physician’s Statement. Please review and let me know if you

have any questions or concerns.
Best,

Charisse S. Moore

Sent from Proton Mail for iOS

On Tue, Jun 6, 2023 at 6:11 PM, Casandra Holt <2): folie Kiwi a oo wrote:

It has been updated. Absolutely, it has been my pleasure.

Best

Casandra Holt

Leaves and Claims Administrator

The Larkin Company

https://calendly.com/cholt-dju/call-2

211 Perimeter Center Parkway Suite 700 Atlanta GA, 30346

Ph: 650 938-0933 | Fax: 650 938-0943 | Toll Free: 866 923-3336

https.//mail proton.me/u/5/XjFCdrRP1gcHZ25wXGYdCsarxmugiQA _4M4U6wuPSVPVPV1XXPbOsqpT EASWDLOnPFOD4BaY]kY¥vCRsSROHWSGhg== Page 6 of 20

Case 1:24-cv-05533-UA .-Document1 Filed O7/17/24 Page 122 of 136
2/21/24, 6:11AM

Re: Charisse Moore - Leave of Absence docs

From CharisseSM8@proton.me <CharisseSM&8@proton.me>

To ingrid@changetogrow.com

Date Wednesday, May 31st, 2023 at 5:53 PM

Hi Ingrid,

| just finished reading through the rest of the emails. And am providing responses to your numbered
responses. Please note that | called and left a voicemail may for you apologizing before | sent the first email.

1. Incapacity - You are correct, that | had symptoms that were disruptive to my life.

2. Thank you for your consideration with providing support to highlight to my job that | take this issue
seriously. With this type of information | would only highlight what happened during the May 8th through
Sune 5th time period. Technically my job should not see this form only the Leave of Absence vendor.

3, In an ideally world there would be space to just write “as stated before, | know you are committed to your
wellbeing and wanted to give your job the understanding that what you have taken the steps necessary to
deal with the issue at hand and that you would continue to do so (moving to New York, creating a support
network. etc)” This statement alone is perfect.

I'm sorry again for reading things so wrong!

| just don’t want the world to know that | struggle.

Charisse

Sent from Proton Mail for iOS

On Wed, May 31, 2023 at 5:31 PM, <1):

Hi Ingrid,
Just reading through your responses and called you about this email.

| owe you a big apology, after reading the rough your responses | see that | read things completely wrong!

netpsifinal.proton.mefo/6/EkOGOX@ALINjalfV42_eTNUSICH7SHIGAk..DSNJOBYS4VOW/TSZPIYGO4O 16U-r¥¢E95"0|_SV78_KAHEVEnIN CORLISS Page 1 of S
Case 1:24-cv-05533-UA ' Document1 Filed 07/17/24 Page 123 of 136
2j21/24, 6:11AM
| thought that you were telling me that | needed to find a new provider via the form. | was shocked
because | feel like we both invested in this mental health partnership. Now reading your response | see

that | was the asshole! I’m completely mortified and sincerely apologize to you. | fucked up. | would not
use you for “matter of fact”.

Can we still meet next Wednesday at 11am to talk things through?
Please let me know.

Best,
Charisse S. Moore

I'm know that | most likely owe you an apology on the other items too, but your feelings are important to
me. | apologize again!

Sent from Proton Mail for iOS

On Wed, May 31, 2023 at 3:01 PM, Ingrid Jones <:i:

Charisse,
Here are the reasons for my responses to each point:

4. In order to be diagnosed and justify your request, the symptoms you are having need to be disruptive
in your daily life, which they were (hence why you are requesting time off), but as requested | will
amend this section.

2, Even though we didn’t meet on a scheduled session, | consider our “check-ins” as a form of meeting
for follow up. | was also referring to future sessions; | felt that it was important for your job to know that
your wellbeing is something you take seriously and that if anything, you are willing to take the steps
necessary to continue being that way (again, | was trying to give justification for your request). | will
amend this part as well.

3. | based my response on your request to have sessions again with me. At no point lam stating that
you can’t be the driver of setting up your sessions nor that you are obligated to have treatment
(because you know you are the one who determines how often and if we méet); as stated before, |
know you are committed to your wellbeing and wanted to give your job the understanding that what
you have taken the steps necessary to deal with the issue at hand and that you would continue to do so
(moving to New York, creating a support network. etc). As requested, | will also amend this section.

hetpsssmalproton.me[u/S]EkOGOx9a0IN}qlIV42_dTNusICh7sHtGAk,, DSNSOBYG4VOWITSZPJY a4 i6u-rYcEOsrO]_SV79_KAHFiypinVeOeeCA== Page 2 of 5
~ Case 1:24-cv-05533-UA . Document1 Filed 07/17/24 Page 124 of 136°

2/21/24, 6:11 AM

I'm sorry to hear that you will need a new provider in the future, but |! understand. My goal while filing
out the paperwork was not only to help you in making sure you had enough “evidence” to justify your
time off and get paid; but also in addressing your supervisor's concerns about your wellbeing and your
ability to return to work (as you know, they were concerned about your claims of stalking etc.). | see
now that what you needed was for me to be a “matter of fact” only.

| thought about calling you to address this issues but | figured since you chose to write me an email, it
was more than appropriate to respond the same way.

| will bill you for the sessions we had and send you an updated form by the end of the day.

1 wish you all the best in your future endeavors!

Kind Regards,
Ingrid Jones, LMHC

: on May 31/2023, at 12:17 PM, CharisseSM8@proton.ihe wrote:
Ingrid,
~ Thank you for providing the updated forms to support my leave of absence.
- After reviewing your responses, | have the following questions and/or concerns:

Section 3 incapacity

— incapacity detined as “physical or mental inability to do something or to manage one's affairs.”
During the time period of May 8, 2023 through June 5, 2023, 1 have been and will continue to
be able to manage my affairs - | needed time off to be able to do so as | do not have a support
system. Please amend the selection of Yes to No.

— Treatment - The document states that we met weekly, sometimes twice a week which is

‘incorrect. Here are the dates that we met - April 28th, May 4th and May 22nd.

— Continuing Treatment - These sessions / conversations were for a point in time issue. | have
been and will continue to be the driver of setting up sessions when needed. Thankfully, | have
all of the tools that | need. Please amend your response her from Yes to No.

Based on your responses, my understanding is that | will need a new provider in the future. Again, |
have all of the tools that ! need to move forward. Thank you for your time.

https://mail.proton.me/u/5j/EkOGOx9aGINiqltV42_dTNugICh7sHtGAk...DSNJOBYG4VOW|T3ZPJYQ04016u-rYcEosrOj_Sv/8_kAHFiyphhvcoBedAQ== Page 3 of 5
Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 125 of 136

please send me a bill for the three sessions noted above.

above.
Best,

Charisse S. Moore

On Tue, May 30, 2023 at 11:23 PM, Ingrid Jones <,)5);

Charisse,

ee Auer Wrote:

ent

contact me if you have any questions.
Kind Regards,

Ingrid Jones, LMHC

> On May 24, 2023, at 3:42 PM, CharisseSM8@proton.me wrote:
. a oo
> Hi Ingrid,

>

> Attached are the Larkin Company Medical Leaver Certification and Fitness For Duty
Certification. As discussed on Monday, please let me know if you are able to fill out the
documents and return them to me.

nttps://mail.proton.me/u/S/EkOGOx9a0INiqlfV42_dTNu9ICh7sHtGAk... DSNJOBYG4VOW]T3ZPJYQ04Q16u-rYcEasrOj_Sv79_kAHFjyphhvc0BedAQ==

2/2124, 6:11AM

Please provide an updated Medical Leave Certification form based on the notes above. Additionally,

Let me know if you have any questions or if it is easier to quickly connect and talk through the notes

Attached, please find the paperwork regarding your leave of absence. Please don't hesitate to

Page 4 of 5

Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 126 of 136

2/21/24, 6:11AM

>

> If you are able to this by tomorrow, it would be greatly appreciated as the Larkin group will be
out of the office on Friday for Memorial Day. |
>

> Thank you!

>

> Best,

> Charisse

> <Charisse Moore - Larkin Fitness For Duty Certificate.pdf><Charisse Moore - Larkin Medical
Leave Certification Form.pdf> :

https://mail. proton .mefu/5/EKOGOx9adINiglfV42_dTNugICh7sHtGAk...DSNJOBYG4VOWjT3ZPY¥Qo4G@1bu-rycEasrO]-Sv79_kAH Fiyphhved8edAQ== Page 5 of 5
re Se
:24-cv-05533-UA Document 1 Filed 07/17/24 Page 127 of 136

3. My brother 2016 - Too Many Coincidences
July 25, 2016

— December 1, 2015 | Dan Saucier and Ryanne Duffie Saucier move to Atlanta, Georgia
— Ryanne Duffie Saucier moved to Atlanta, Georgia prior to Dan Saucier as Ryanne Duffie
Saucier started a new job at Cumulus Media and found a house in Smyrna, Georgia in
the Atlanta, Georgia suburbs.
— May4-6, 2016 | Spent Birthday with Dan Saucier and Ryanne Duffie Saucier

— Dan Saucier and Ryanne Duffie Saucier gave me a $25 Starbucks gift card for my
birthday.

— July 20, 2016 | Chick-Fil-A Restaurant Conversation

— |wentto Chick-Fil-A for lunch and while standing in line there weee two people in front
of me who were having a conversation. They were talking about a siblings one with a
developmental! delayed disability and the other than was “normal” neurotypical. They
said that the neurotypical sibling died, leaving the developmental delayed sibling living.
This was always My worst fear for Winston Jr. and |, | always sacrificed my life so that
Winston Jr. could have a better life - money, time, relationships and living location.
Orlando was the perfect distance to come back and help him if needed. Little did |
know what would happen to Winston Jr. days later.

— This conversation always stuck with me and | discussed it with heer fe
Bape Ll al Hee fila aed} hay

— NOTE: Chick-Fil-A picture from May 4-6, 2016 trip to The Saucier's house

— July 24, 2016 | Wirw ten: Mees quder Weeds, hi Was hit by a car at 9:30pm in Fort Lauderdale,
FL.
— OF INTEREST: |, ° Potts ey lived in the Sanford, Florida (Orlando,
Florida) area at the time.
— July 25, 2016 | See Text Message below from Leslie-Anne Haffenden-Moore at 2:05 AM

— Charisse - “Have the doctors given you an update on Winston (Alexander)?

— Leslie-Anne Hatfenden-Moore - “With Dr right now. Broken ribs on left side (back)
6,7,8,9, SO that’s why the tiny intubated him. BP appears to be good, but even though
he is out he is still agitated making the machine go off. No bleeding on the brain.
Lacerations on his face with stitched and blood from where his skin was stripped from
his face. He is on heavy meds to help the machine breathe for him. They have just
moved him to ICU. ICU 21 is his room#. I'll know more in the morning when the Trauma
DR sees him." —

— July 25, 20716 | Brenda Cecelia Duenas Hill has a baby

RH otrondhy fears Laven ei gon, Alexander Hill is born.

— July 25, 2016 - August 8, 2016 | Boundaries Crossed by Ingrid Jones

— NOTE: rouse Pe gee el ts asked multiple times to come
to the hospital to help provide support as Winston Jr. was in the hospital for two (2)
weeks.) oo F000" partnered with toe ge pte ge Seger yg

-. to trap Winston Alexander Moore, Jr's smells for yoodoo and the 2022 -

1
Case 1:24-¢ . 55 3 \ “Filed 07/17/24 Pt
v-05533-UA Document 1 Filed 07/17/24 Page '128 of 136

June 2024 Unauthorized Non-Consented Psychology, Business and Technology
Social Media experiment.
— August 4, 2016 | 7 South Florida men indicted in mob sweep
_— Posted at 3:47 PM, Aug 04, 2016 and last updated 6:03 AM, Aug 05, 2076

— "NEW YORK (AP) — Nearly four dozen suspects, including the reputed Mafia boss in
Philadelphia and an old-school mobster in New York, were arrested on Thursday ina
massive case charging them with wanting to break knees and commit other crimes that
sound like something from a Martin Scorsese movie.

— Seven of the suspects were South Florida residents, including: Craig Bagon, 56, of
Boca Raton, Pasquale Capolongo, 67, of West Palm Beach, Carmine Gallo, 38, of Delray
Beach, Wayne Kreisberg, 39, of Parkland, s.ecc | vhopa iis 84 of Boca Raton,
Bradley Sirkin, 54, of Boca Raton, and Frank Trapani, 63, of Boca Raton.

— Anindictment filed by federal prosecutors in Manhattan accused the defendants of
extortion, loansharking, casino-style gambling, sports gambling, credit card fraud and
health care fraud. It said they formed a syndicate operating in New York,
Massachusetts, Pennsylvania and Florida.

— Among those charged was loom IDG! afoj eins, the flamboyant alleged head of the
Philadelphia mob who is known for beating murder charges in past cases. Also named
in the indictment was - HHH wey! al roll, identified as a longtime member of the

oP organized crime family in New York City.

_— Prosecutors said 329 of those charged were arrested on Thursday. During the arrests,
agents recovered three handguns, a shotgun, gambling paraphernalia and more than
$30,000 in cash.

— The indictment “reads like an old school Mafia novel, where extortion, illegal gambling,
arson and threats to 'whack' someone are carried out along with some modern-day
crimes," such as credit card skimming, said Diego Rodriguez, head of the rh Pay

— One count accuses the 72-year-old Darrello of ordering a beatdown in 2011 ofa
panhandler he believed was harassing female customers outside his restaurant in the
Bronx, telling a cohort to "break his ... knees.” The panhandler was "lacated and
assaulted with glass jars, sharp objects and steal-tipped boots, causing bodily harm,"
the court papers say.

— Afterward one of his cohorts was recorded saying, “Remember the old days in the
neighborhood when we used to play baseball? ...A ball game like that was done," the
papers say.

— Prosecutors also detailed how in 2013, Parello ordered retaliation against a man who
stabbed a member of his crew outside a Bronx bar. After an associate agreed to
"whack" the attacker, Parrello cautioned him to "keep the pipes handy and pipe him,
pipe him, over here (gesturing to the knees), not on his head," the papers say.

— Merlino, 54, was implicated in a health care fraud scheme with Parrello and others that
got corrupt doctors to bill insurers for unnecessary and excessive prescriptions for
Case 1:24-cv-0553 pe
| v-05533-UA Document 1” Filed 07/17/24 ‘page 129 of 136

expensive compound creams in exchange for kickbacks.
_— In Massachusetts, five alleged associates of the New York-based 50 2 crime
family were arrested on extortion-related charges as part of the sweep.”
August 4, 2016 | Asked to Travel for Deloitte Consulting, LLP

— oi. >. in Atlanta, Georgia
August 9, 2016 | Delta Airlines - Flight from Orlando, Florida to Atlanta, Georgia was delayed
by five (5) hours due to air traffic control issues and/or other unknown Delta Airlines issues. |
remember receiving 20,000 miles due to the issue that air traffic control issue caused.

— i nt Peay are pry

cathy asin

— Delta computers crash, causing delays and cancellations. Experts say it shouldn't
have happened. Heike ffi wee Hyp pope fhe ffivial bicetie Noun jp db a
pap, abreast oe pgp heh bea ete ebtea ihn “ye hoy’ mr cli He i

ofl yhe  abi

A

— Behind each of the four big players in the U.S. airline industry —— American, United,
Delta and Southwest — there is a tangled computer system pieced together after
decades of mergers that married mismatched networks.

— Just what went wrong with Delta Air Lines’ system Monday that caused hundreds of
cancellations and delays is still being sorted out. Was it a power outage, as Delta says?
Or was it more likely an internal computer glitch, as Georgia Power, the utility at Delta's
Atlanta hub, says?

— Ineither case, aviation and computer specialists say, it shouldn't have happened.
Computer systems and their electric power sources should have foolproof backups,
they Say.

— Tens of thousands of passengers were delayed as Delta canceled 451 of its nearly
6,000 daily flights by mid-afternoon Monday. The airline warned that more
cancellations and delays were likely to follow as it struggled to revive its computer
network.

— NOTE: iets and csi bh EO live in 3335 Hidden Trail Road SE,
Smyrna, Georgia 30080 not that far from Downtown Atlanta, where | stayed during a
client trip to Nielsen.

August 9, 2016 | Monarchy Butterfly at Marriott in Atlanta, Georgia - | was an orange

monarchy butterfly like the one in my phone on the 41st Floor of the Marriott.

August 10, 2016 | Deloitte and Nielsen - | was in the Nielsen office and my Mom called me at

9:00am EST and said that | needed to come back to South Florida. | compiled a small deck

and asked for Brian Proctor to join the project. After compiling the deck, | burst into tears,
asked my colleagues if they needed anything else and then headed back to the hotel and
headed to the airport.

August 11, 2016 | Brenda, Anthony Smith and Social Media - i

| ‘g Passing

me dng itis (ony a, .and possibly su Scat) freng ee ih lt) posted about
Winston Jr. passing on Facebook and. 8 0 may asi tal call me at 7:30am to
say that she was sorry to hear about Winston Jris passing. 8 > yh
Case 1:24-cv-0 ” Documen Fil : >
ase 1:24 5533-UA Document1 Filed 07/17/24 Page 130 of 136

then turned the conversation to taking
— NOTE: 0" ne fens
Jr's funeral on behalf of: oe . +, Matthew Kraus (my Coach),
Brian Proctor, Kathy O'Hara, Clint Cummings, Steve Cardillo, HR Transformation
and the Orlando office
— NOTE: °° OO - ha Pye gh eh hs . i. asked multiple times to
come to the hospital to help provide support as Winston Jr. was in the hospital
for two (2) weeks.

the BRCA test for Breast cancer.

5 vos, attended Winston Alexander Moore,

— NOTE: oo pana Greg tbe always asks about Pook cr and
eythane ma yetty whenever he calls me.

— NOTE: rciyy fede & wreath started to track Charisse S. Moore's location
after vec fle syd Mien ah aD death.

— Attendees at Winston Alexander Moore, Jr.s funeral - 0) phy Gey

soba de yg ab oiiha t pity Gavy rit being SP q eye tat oe toavicia ds yee sey
: Y te ! toe . \ : |
pienso PP Peedigpites ) apy SEES

Cpabaeee hy easily ai.
— OF SIGNIFICANT IMPORTANCE: Sr or vy UB oy PLS
poodle iy wayehey leeierli SEL ia, ferret ye pop ited
md cone cio hack d Charisse 5S. Moore's phone during the time of
this event
— Massive federal mob bust with 46 arrests unearths expansive network
among East Coast crime families 000 {ieee Layla a }

: cage te que tes os vie . { tl L | md age . oe
‘ pL Oe peor visas poi aul awd Aes phe ths ig aedp la e =

palin nays paohwenk aren | wah ey) The: pavivhec
Concurrently, things happened with Wayne Kreisberg and sto voplacie) , someone
that my Mom used to work with and powerful people in Boca Raton and Philadelphia.
bo - reached out to attend Winston Jrés funeral and | declined inviting her as
wo tory had a tendency to cause conflict with Melissa, Wayne and myself. Katey at
the time could be harsh with her words. | have not spoken to Katey since 2009,
because she got into a fight with a random club at a club in Alphabet City in New York.
_ OF INTEREST: At the time of Winston Jrés death, | had not talked to’ sey
since 2008 when | briefly lived with her in New York, as yo caused a fight
with a random couple ina club in Alphabet City.
— October 2016 |" «i oat DH and |, Charisse S. Moore had a conservation
at the Deloitte Consulting, LLP office in Lake Mary, Florida that focused on
coe anh who we (jane! rift and l) both reported too. The
reporting chain of command (for lack of a better term) at the Deloitte
Consulting, LLP Lake Mary office was - Hp taliban Creag, onlay,
_... 4. and Matthew Kraus, as Our outside advisors.
Horie; Was tried to get me to go to Clint and report on
TE because Maralou stated that Steve talked poorly about
me.
— NOTE: This is direct contrast to the Thank You card that’ 69° ° te
sent to my home on July 31, 2017 that stated the following:
‘Case 1:24- 055 ient1 124 Page 131
24-cv-05533-UA Document1 Filed 07/17/24 - Page 131 of 136.

— "Charisse, As atop performer of our practice, | wanted to take a
minute to thank you for your hard work and dedication over the past
year. | especially want to thank you for all your hard work and effort
on the Clarivate project. Keep up the great work. nt

— NOTE: 2016|)o8 (ut had a conflict with a gentleman named David
Wergles who was a part of our Labor Workforce practice. |: Soa he,
left Deloitte Consulting, LLP shortly after Maralou Billig joined the Firm,
due to Maralou Billig. | liked i: tl vette and could not understand why
Maralou Billig could not get along with °’ mpi Shove

— August 9, 2016 | Eight Individuals Charged In Multimillion- Dollar Compounding Pharmacy
Fraud Scheme

Hp Pana Ee BMP IT 8 Gaba fet ak ae ep bea vhatiadieds,
Siecle Aah eH my
— Brian A. Temple, MD, was concerned about practicing medicine in the State of
Florida, as his ex-wife Charisse S. Moore informed he that Florida had Medicare
fraud issues at the time.
— The Drug Enforcement Administration (DEA) regulates the prescribing and
distribution of controlled medications such as narcotics and sedatives.
Therefore, in order to prescribe controlled substances, a physician or mid-level

practitioner needs to have an active license

— August 31, 2021 | |, Charisse S. Moore started iu! oahuiign VEAL apy fic!) sessions for
unresolved trauma related to my brother Win: i atosciahe: Whoa, i’ death with Anne
Mayfield in the Atlanta, Georgia, not for sex addiction.

— NOTE: That! asked taut l Fete, bic asd paciabcl | boa Couinselan about the EMDR

treatment that she utilized for her trauma related to the Majorie Stoneman Douglas

Shooting that her daughter Daniella was present at the time of the shooting. i!
lac, Pic chnnel woeik | Asc outhes tot did not want to utilized the EMDR treatment
with me because fits! bas Pepper) fal cobb oily is not trained in
EMDR.

— OF SIGNIFICANT IMPORTANCE: When | moved to Atlanta, Georgia, | wanted

treatment for unresolved trauma related to my brother WMiyp cg eee ie og Bee

(7: death and looked up EMDR and found jive) rset boa ie ds
After researching pect pte itat vary Ea) online, | found a therapist in
the Atlanta, Georgia area named Anne Mayfield.
— Anne Mayfield is trained in) aii io) veh ioe Topper GAR
— People are focused on sexual addiction, which is not my problem.
— My problem is that my brother wesc phowaiydes More, ‘|, died, my
father Winston Alexander Moore, ST. died and it's hard to death with a lot
of before the age of 40.
Beeexorider Moore, Jr, 32, passed siety om August 11, 2016 in Fort

di forida from Injuries sustained i@-aar scotdant. Winston was bom

New York, New York an November 3, 1983, to ‘Winston, Sr. and Leslla-Anne

Moore. neton is a graduate of Spanish River High School and also attended
ast Boga High Schou! While Winston's path did not include a traditional

caret, Held Include a fong lenure as a Special Clymples athlete with Broward

County.

Winston joined the Special Olympics community at the age of 15, with the
Tamarac Bulldogs baskelball team. Since then, Winston has gone on fo play
and medal in multiple sports to include: basketball, bowling, swimming, skiing,
soccer, softball and tennis. True fo the Special Clympics motto, “Let me win.
But if | cannol win, let me be brave in the attempt”, Winston Is a Champion.
And he would jet you know thal he was a Champion, too.

Winston often used one hand to help himself and the other to help his friends.
He was blessed to have friends who became family, he gained many brothers,
sisters, moms and dads along his path and was always grateful. Winston will
be remembered for his laugh, his ability to touch people through his smile, his
love of sports, his love for the Speclal Olympics, traveling, adventure and
dancing his heart out.

He was deeply loved and will be profoundly missed by his family and friends.
Winston is survived by his mother, Leslie-Anne Moore; sister, Charisse S.
Moore: uncle, Anthony Smith; cousins, Travis, Joshua, Justin and Brianna

Smith; aunt, Enid Carpenter; cousin, Andre Gilgeous, cousins, Dean, Arianna,

Lloyd, Marcia, Laurel and Camille Haffenden and many other family members.

SCRIPTURE

“And we know that in all things God works for the good of those who lave him,
who have been called according to his purpose. For those God foreknew he
also predestined to be conformed to the image of his Son, that he might be the
firstborn among many brothers and sisters. And those he predestined, he also
called; those he called, he also justified, those he Justified, he also glorified.”
Romans 6:28-30

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VICE * #
Gathering Hyttity .....cssssssssssssssssectsee sere sesereseetereeess Here | Am Lord?

Opening Prayer .....sesesssscsssesanssemeecseeetitceticesetsenses

First REAGING .-scnaneniemeenineninntinnnnnnerneenn Eefieaibates 3:1-15

Responsorial PSI ...cccccsscsesseesniececunasesneceeeenen 18 Lord Ie My Shepard,
Pealm 23
Second Reading ....-sccccsessssescersssseseiarssssnessenienseserseeseseseate ROMANS B:18-30

vue you, Lard my Gad, | put my trust
Psalm 29

Rasponsorial POdIM ........-se ene

GOSPEL csscsssssssesserscssseetesnarsceossonsteasscasseecenaenneneceestuaanitosstestestsanenenstend John 14:1-4

HOTTY s.sscssessnsseecceccceetsstrstteeuscnisaanstnsensercentecesicceeees PARNBE Jerry Morris

Communion HyMi o...sssccssseesnesennee “Make Me an Instrument of Your Peace”
Concluding Rit@S....assssccsccsnesesseessscetteeriiesessesseessonsasen: POUL Jerry Mortis
Concluding Hytiih vssssesssssssssssserseessersssccrtessteetsecasarnassees HOW Great Thou Art”
WORDS OF REMEMBERANCE
Leslie-Anne Moore

Charisse S. Moore

ae

siveeyaeeue Father Jerry Moria:
Case 1:24-cv-05533-UA Document 1 Filed o7/17/24 : Page 133 of 136 oo

Stalking Text Message review
October 24, 2021 at 7:40:58PM - 7 of 97

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Case 1:24-cv-05533-UA Document1 Filed 07/17/24 Page 134 of 136
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Page 135 of 136

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Document 1

05533-UA

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Case 1:24-cv-05533-UA Document1 Filed 07/17/24; Page 136 of 136

